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                             No: 2024-2256




UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT




       LARRY GOLDEN

             Pla inti.ff-Appellant



             v.



       The United States

             Defendant-Appellee




       ON APPEAL FROM THE UNITED STATES COURT OF


     FEDERAL CLAIMS IN GOLDEN v. THE UNITED STATES


           [DEFENSE THREAT REDUCTION AGENCY]


         IN 1:2023cv00811-EGB; JUDGE ERIC BRUGGINK




           PLAINTIFF-APPELLATE'S MOTION FOR

                         ORAL ARGUMENT




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                                             January 1 8 , 2025
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APPELLANT WILL ARGUE EMINENT DOMAIN AND

TAKING PATENT LICENSES                                                                                                                                                                                       1



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              Scope of Section 1498(a)                                                                                                                                                                       2

              28 U.S.C. § 1498(a) is "its own independent cause of action"                                                                                                                                   3



APPELLANT WILL ARGUE THE SPECIFICATIONS OF THE

THREE INITIATIVES: THE DHS S&T CELL-ALL INITIATIVE;

THE DOD DTRA iTAK, ATAK & WinTAK CBRNE INITIATIVES;

and, THE DOD JPEO-CBRND INITIATIVE, ARGUED IN THIS

CASE WAS FIRST REQUESTED IN THE DHS SBinet INITIATIVE . . . . . . . . . . • • . . . • • . . . . . • • .4




              Technology · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · : · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · · 5



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and, THE DOD JPEO-CBRND INITIATIVE, ARGUED IN THIS

CASE ARE COVERED IN APPELLANT'S PATENTS . . . . .-. . • . . . . . . . • • . • . . . . . . . . . . • . . . . . . . . . . . . . . • 6



               Golden's Patents' Written Support for His Claimed Anti-

              Terrorism Inventions . . . . • . . • . • . . . . . . . . . . . • . . • • • . . . . . . . . • . . . . . . . . . . . . . . . • • . . . . • • • • . . • . . . . . . • . . . . • • . 6



APPELLANT WILL ARGUE THE SPECIFICATIONS OF THE

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and, THE DOD JPEO-CBRND INITIATIVE, ARGUED IN THIS

CASE ARE COLLECTIVELY COVERED IN APPELLANT'S

PATENT CLAIMS . . . . . . . . . . • . . • • . . . . . . . . . . . . • . . . • . . . . . . . • . . . . • . . . . . . • • • . . . . . . • • . . . . • . . . . . . . . . . . • . . . . . . . • . . . 7



               Claims 1-12 of Golden's Patent No. 9,589,439 . . . . . . . . . . . . . . . . . . . • . . . . • • • . . . . • . . . . . . . . . . . . • . . . 8



APPELLANT WILL ARGUE THE SPECIFICATIONS OF THE

THREE INITIATIVES: THE DHS S&T CELL-ALL INITIATIVE;

THE DOD DTRA iTAK, ATAK & WinTAK CBRNE INITIATIVES;

and, THE DOD JPEO-CBRND INITIATIVE, ARGUED IN THIS

CASE ARE INDIVIDUALLY COVERED IN APPELLANT'S

PATENT CLAIMS . . . . . . . . . . . . . • . . . . . . . . . . . . . . . . . . • . . . . . . . . . . . . . . . . . . . • . . . . . • • . . . . . • . . . . . • . . . • • • . . . . . . . . • . . 10



               Claim 23 of Golden's Patent No. 9,589,439                                                                                                                                                   10

               Claims 1-10 of Golden's Patent No. 10,984,619 . . . . . . . . . . . . • • • . . . . . . . . . . . . . . . . . . . . . • • . . . . . . . 11



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               Claim 1 of Golden's Patent No. 11,645,898                                                                                                                                           12



APPELLANT WILL ARGUE THE DEVICES DEVELOPED IN THE

THREE INITIATIVES: THE DHS S&T CELL-ALL INITIATIVE;

THE DOD DTRAATAK CBRNE INITIATIVES; and, THE DOD

JPEO-CBRND INITIATIVE, ARGUED IN THIS CASE ARE FOR

THE GOVERNMENT . . . . . . . . . . . . . • . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . • • • . . . • • • . . • • . • . . . . • . . . . • . . . . . 13



               "For the Government"                                                                                                                                                               13

               "Authorization or Consent"                                                                                                                                                          14



APPELLANT WILL ARGUE TEN FEDERAL JUDGES WHO HAS

REVIEWED GOLDEN'S PATENTED INVENTIONS COMBINATIONS

ALL AGREE THE GOVERNMENT IS THE "SINGLE ENTITY' WHO

ALLEGEDLY INFRINGED GOLDEN'S PATENTS UNDER 28 U.S.C.

§ 1498(a)                                                                                                                                                                                          16



               The United States Court of Federal Claims in Golden • US,

               Case No. 13-307C; determined Direct Infringement by or for

               the Government, arises when there's a combined Mobile Device;

               CPU; CBRNE Detector/Sensor; and/or Unmanned Aerial Vehicle                                                                                                                         17

               Since Judge Bruggink's Decision in Golden • Us Case No. 13-307C;

               Nine Federal Judges Infer the United States Directly Infringed

               Golden's Patented Inventions Combinations                                                                                                                                          19



APPELLANTWILLARGUE THE GOVERNMENT ADMITS ITS

OWN LIABILITY . . • • • • • . . . . . . . . . . . . • . . • . . . . . . • . . . . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . • • . . . . • . . . . . . . . . . . • . . . . . . • • 20



               Google Tensor "CPU" . • • . . • . . . . . . • . . . . . . . . . . . . . . • • • . . . . . . . • . . . . . . . • • • . . . . . • . . • • • • • . . • • • . . . • • • . . . . 20

               DHS S&T "Cell-Alf' . . . . • • . . . . . . . . • . . . • • . . . . . . . . . . . • . . . . . . . . . . . • • . . . • . • . . . . . . . . . . . • . . . • • . . . . . • . . . . 21

               DoD DTRAATAK-CBRNE Plugin Sensors                                                                                                                                                   22

               DoD "JPEO-CBRND" . . • . . . . . . . . . . . . . . . . . . . . . . . . . • . . • . . . . . . . • • • . . . . . . . . . . . . . . . . . . . . . . . . . . . . • . • • . 23

               The Fifth Amendment of the United States Constitution . . . . . . . . . . . . . . . . . . . . . . . . • • . . . . . • • 24

               U.S. Supreme Court . . . . . . . • • . . . . . . . . . . . . . . . . . . . . . . • • . . . . . . . . . . . . . . . . • . . . . • • • . . . . . . . . . . . . . . . . • . . . . 24



APPELLANTWILLARGUE THE GOVERNMENT'S

WORSENING OF EARLIER CONDITIONS . . • . . . . . . . . . . . . . . . . . . . • . . . . . • . . . . • . • • • • . . . . . . . . . . . . . • . . 25



CONCLUSION . . . . . . • . . . . . . . . . . . • . . . . • . . . . . . . . . . . . . • . . • . . . . . . . • . • . . . . . . . • . . . . . . . . . . . . • . . . . . . . . . . . . . . . . . . . . . 29



               28 U.S.C. $ 1498(a) is "its own independent cause of action" . • . . . . . . . . . . . . . . . . . . . . . . • • • • 29

               The Fifth Amendment of the United States Constitution . . . . . . . . . . • . . . . . . . . . . . . . • • . . . . . . . 30

               U.S. Supreme Court . . . . . . . . . . . . . . • . . . . . . . . . . . . . • • . . . . . . . . . . . . . . . • • . . . . . . . . . . . • • . . . . . . . . . . . . . . . . . . 30




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                   APPELLANT WILL ARGUE EMINENT DOMAIN AND

                                   TAKING PATENT LICENSES



Standard for Review


        On June 25, 1 9 1 0 , Congress passed "An Act to provide additional protection for owners


of patents of the United States" (1 9 1 0 Act), stating in pertinent part:


    "[t]hat whenever an invention described in and covered by a patent of the United

    States shall hereafter be used by the United States without license of the owner

    thereof or lawful right to use the same, such owner may recover reasonable

    compensation for such use by suit in the Court of Claims."


        Dubbed the "Government Use Statute," the 1 9 1 0 Act created a means for patent owners


to obtain money damages for the government's use of patented inventions while at the same time


not restricting the government's use. W.L. Gore & Assocs., Inc. • Garlock, Inc., 842 F.2d 1275,


1283 (Fed. Cir. 1988) ("The patentee takes his patent from the United States subject to the


government's eminent domain rights to obtain what it needs from manufacturers and to use the


same."), abrogated on other grounds by eBay Inc. v. MercExchange, L. L. C. , 547 U.S. 388, 391­


94 (2006).


        Congress styled the 1 9 1 0 Act under the theory of eminent domain, as the government's


taking of a license to use a patented invention would be for the benefit of the public. Crozier, 224


U.S. at 305 ("[I]n view of the public nature of the subjects with which the patents in question are


concerned and the undoubted authority of the United States as to such subjects to exert the power


of eminent domain, the statute, looking at the substance of things, provides for the appropriation


of a license to use the invention, the appropriation thus made being sanctioned by the means of


compensation for which the statute provides.").


       As stated in Calhoun v. United States, "when a patented device or invention is made or


used by or for the United States, [the government] ipso facto takes by eminent domain a


compulsory compensable license in the patent; the patentee obtains his Fifth Amendment just


compensation for that taking through his action [in the USCFC] under § 1498." 453 F.2d 1385,


1391 (Ct. Cl. 1972). The takings clause of the Fifth Amendment states that "private property


[shall not] be taken for public use, without just compensation." [U.S. Const. amend. V.]


       Congress passed the 1 9 1 8 version of the "Government Use Statute" that clarified the


government's assumption of liability for a contractor's unlawful use or manufacture of a patented




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invention and limited a plaintiff's sole remedy to monetary compensation. Act of July 1, 1 9 1 8 ,


Pub. L. No. 65-182, 40 Stat. 704, 705; Zoltek V, 672 F.3d at 13 1 6 .


        Section 1498(a) took its present form in 1949, and retains the bedrock principles


established in 1 9 1 0 and 1 9 1 8 of (1) defining the government's unlawful use or manufacture of


patented articles as a Fifth Amendment taking of a license to use a patented invention, (2)


providing government contractor immunity from patent infringement litigation, and (3) limiting


available remedies to monetary damages. Act of May 24, 1949, Pub. L. No. 81-72, § 87, 63 Stat.


89, 102. Section 1498(a) provides in pertinent part:


    "[w]henever an invention described in and covered by a patent of the United States

    is used or manufactured by or for the United States without license of the owner

    thereof or lawful right to use or manufacture the same, the owner's remedy shall be

    by action against the United States in the United States Court of Federal Claims for

    the recovery of his reasonable and entire compensation for such use and

    manufacture . . . For the purposes of this section, the use or manufacture of an

    invention described in and covered by a patent of the United States by a contractor,

    a subcontractor, or any person, firm, or corporation for the Government and with

    the authorization or consent of the Government, shall be construed as use or

    manufacture for the United States. 28 U.S.C. § 1498(a)."



Scope of Section 1498(a)


       As § 1498( a) infringement actions are grounded in eminent domain and not defined by


statute, the scope of what constitutes the unlawful taking of a license to use a patent is a creature


of case law. As such, the basis for the USCFC's jurisdiction over infringement actions must be


linked to the government's taking ofa patent license through its "use or manufacture" of the


patented invention "without license of the owner thereof or lawful right." Decca Ltd. ». United


States, 640 F.2d 1156, 1166-67 (Ct. CI 1980). [Exhibit A]


       In contrast, the Patent Act-the statutory basis that governs the processes for issuing and


enforcing patents before the United States Patent and Trademark Office (USPTO) and the district


courts defines patent infringement as a statutory tort in 35 U.S. C . § 271. See, 35 U.S .C. §


271(a)-{c), (e)-{g); see also Decca, 640 F.2d at 1 1 6 6 ("Because section 1498 authorizes the


Government to take a license in any United States patent, the Government is never 'guilty' of


'direct infringement' ofa patent insofar as 'direct infringement' connotes tortious or wrongful


conduct."). Before the enactment of § 1498, the government would routinely contest the Court of


Claims' jurisdiction to hear patent actions, as such actions traditionally sound in tort. Sean M.


O'Connor, Taking, Tort, or Crown Right?-The Confused Early History o
                                                                   f Government Patent



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Policy, 12 J. Marshall Rev. Intel!. Prop. L. 145, 165-67 (2012). The Supreme Court also heard


some congressional reference cases on the government's patent infringement. See, e.g., James v.


Campbell, 104 U.S. 356, 357 (1882).


         In Horne v. Department ofAgriculture, the Court held that the Takings Clause imposes a


"categorical duty" on the government to pay just compensation whether it takes personal or real


property. Chief Justice Roberts, writing for the Court, noted the long history of private property


being secured against uncompensated takings by the government, beginning with the Magna


Carta some 800 years ago. In further support, Roberts cited a Supreme Court opinion from the


late nineteenth century:


    "Nothing in this history suggests that personal property was any less protected

    against physical appropriation than real property. As this Court summed up

    in James v. Campbell, 104 U.S. 3 5 6 , 3 5 8 (1882), a case concerning the alleged

    appropriation of a patent by the Government:

          "[A patent] corifers upon the patentee an exclusive property in the patented

          invention which cannot be appropriated or used by the government itself,

          without just compensation, any more than it can appropriate or use without

          compensation land which has been patented to a private purchaser."


         Section 271(a) of the Patent Act provides: "whoever without authority makes, uses, offers


to sell, or sells any patented invention, within the United States or imports into the United States


any patented invention during the term of the patent therefor, infringes the patent." In contrast,


J 498(a) only references patented inventions "used or manufactured by or for the United States"


as potentially infringing acts.




28 U.S.C. § 1498(a) is "its own independent cause of action"


         In Zoltek Ill, the Federal Circuit further narrowed§ 1498 by holding that direct


infringement under§ 1498(a) with respect to the United States' use or manufacture of a patented


invention was predicated o n § 271(a) of the Patent Act. See Zoltek Corp. v. United States (Zoltek


Ill), 442 F.3d 1345, 1350 (Fed. Cir. 2006), abrogated by Zoltek V, 672 F.3d 1309, 1322--23 (Fed.


Cir. 2012) (en bane); see also NTP, Inc. v. Research in Motion, Ltd., 4 1 8 F.3d 1282, 13 1 6 (Fed.


Cir. 2005) ("[D]irect infringement under section 271 (a) is a necessary predicate for government


liability under section 1498."); Motorola, Inc. v. United States, 729 F.2d 765, 768 n.3 (Fed. Cir.


1984).




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       However, in the 2012 en bane decision Zoltek V, the Federal Circuit abrogated Zoltek Ill,


holding that establishing conduct falling within the definition of direct infringement codified in


35 U.S.C. § 271(a) is not a predicate to finding infringement under§ 1498(a). Instead, the court


concluded that the scope of§ 1498(a) is "linked to the scope of the patent holder's rights as


granted by the patent grant in title 35 U.S.C. section 154(a)(l)." Zoltek V, 672 F.3d at 1323. In


contrast to the statutory definitions of infringement in § 271, § 154(a)(l) defines the patent grant


issued by the USPTO as:


    "[T]he right to exclude others from making, using, offering for sale, or selling the

    invention throughout the United States or importing the invention into the United

    States, and, if the invention is a process, . . . the right to exclude others from using,

    offering for sale or selling throughout the United States, products made by that

    process, referring to the specification for the particulars thereof. 35 U.S.C. §

    154(a)(l)."



       In Zoltek V, the appellate court emphasized that§ 1498(a) is "its own independent cause


of action" with three elements to trigger government liability: (1) the invention must be claimed


in a patent; (2) it must be "used or manufactured by or for the United States," meaning each


limitation of the claims must be present in the accused product or process; and (3) the "use or


manufacture" of the patented invention must be done without license or lawful right-i.e., "use


of an invention that, if done by a private party, would directly infringe the patent." 672 F.3d at


1321, 1323.




APPELLANTWILLARGUE THE SPECIFICATIONS OF THE THREE INITIATIVES:

  THE DHS S&T CELL-ALL INITIATIVE; THE DOD DTRA iTAK, ATAK & WinTAK

   CBRNE INITIATIVES; and, THE DOD JPEO-CBRND INITIATIVE, ARGUED IN

        THIS CASE WAS FIRST REQUESTED IN THE DHS SBinet INITIATIVE



              SBinet was a program initiated in 2006 for a new integrated system of

    personnel, infrastructure, technology, and rapid response to secure the northern and

    southern land borders of the United States. It was a part of Secure Border Initiative

    (SBI), an overarching program of the United States Department of Homeland

    Security (DHS) to organize the four operating components of border security: U.S.

    Customs and Border Protection (CBP), U.S. Immigration and Customs

    Enforcement, United States Citizenship and Immigration Services, and the United

    States Coast Guard. DHS announced the program's cancelation on Jan. 14, 2 0 1 1 .

              SBinet replaced two former programs, America's Shield Initiative and the

    Integrated Surveillance Intelligence System. Both of these programs had similar

    goals, but were scrapped due to mismanagement and failure of equipment. To avoid

    such problems, DHS decided to have development of SBinet managed by a single



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private contractor. Boeing, holding the primary contract, has subcontracted many

portions of the design, development, implementation, and maintenance of the

program, with Boeing handling the majority of the management aspects.

       Boeing was required to design, develop, test, integrate, deploy, document

and maintain the optimum mix of personnel, technology, infrastructure, and

response capability to defend 6,000 miles of border. Boeing was required to

manage every aspect of the implementation ofSBinet; their job even includes less

intuitive tasks, such as recommending new paradigms for the way Border Patrol

Agents operate, training maintenance personnel to repair their products, and

guiding construction of facilities to house additional CBP offices required for

SBinet. Additionally, Boeing was required to integrate their program into

previously existing infrastructure and equipment systems wherever possible.

       Border patrol agents began using the system in December 2007, and the

system was officially accepted by DHS in February 2008. Boeing was awarded

further contracts to upgrade software and hardware, which it expected to have done

by the end of 2008.


Technology

       Tower system: Towers were meant to be set up along the border, with

varying surveillance and communications equipment depending on the climate,

terrain, population density, and other factors. Towers were slated to include radar,

long-range cameras, broadband wireless access points, thermal imaging

capabilities, and motion detectors. SBinet was meant to also include some ground

sensors for seismic detection as well.

       Command centers: All of the information received by sensors were meant to

go to command centers, where a "common operating picture" would have been

compiled by CBP and shared with other agencies. The common operating picture

would have appeared on computer screens as a geospatial map, where border

entries are tracked in real time. Command center personnel were supposed to be

able to click on a given entry, view the entry, and assess the threat using the long­

range cameras on the towers. They will then dispatch Border Patrol agents

accordingly.

       Border Patrol response: Border Patrol agents were meant to carry PDAs

with GPS capabilities, to allow the command center to track the location of agents

interdicting illegal entries and watch the encounter in real time on the common

operating picture. Additionally, the PDAs were supposed to have advanced finger

print identification technology, to allow Border Patrol agents to identify an

individual at the interdiction site immediately and the ability to view and control

tower cameras from their PDA. In addition, Border Patrol agents will be given

laptops in the patrol car that will provide them the information necessary to

effectively and safely approach a given threat. [Specifics for the DHS S&T Cell­

All initiative, and the DoD DTRA iTAK, ATAK & Win TAK CBRNE initiatives]

       Airborne sensors: Airborne sensors on unmanned aerial vehicles (UAVs)

were meant to fill in gaps in the "virtual fence" in remote areas where building and

maintaining towers is impractical. Boeing may employ a small UAV that a lone

person can launch called the Skylark, made by Elbit Systems. [Specifics for the




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  DHS S&T Cell-All initiative; the DoD DTRA iTAK, ATAK & WinTAK CBRNE

  initiatives; and, the DoD JPEO-CBRND initiative]

         Construction strategy: The towers that will initially be placed in the pilot

  section will be mobile, so that they can be moved around to discover optimal

  placement. Once the optimal placement is determined, they will be replaced with

  permanent towers, and the mobile towers will be reused to begin construction on

  the next section of SBinet in a similar manner. At completion, Boeing estimates

  that it will use approximately 1,800 towers to create its "virtual fence" along the

  borders.

         The fate of SBinet had been in question since DHS Secretary Janet

  Napolitano ordered an assessment of the project in January 2010 and in March

  2010 froze additional funding for anything beyond already begun initial

  deployments. On Jan. 14, 2 0 1 1 , DHS said it would redirect funding originally

  intended for SBinet-including fiscal 2011 SBInet funds-to the new border

  security technology effort. [Exhibit B]




APPELLANT WILL ARGUE THE SPECIFICATIONS OF THE THREE INITIATIVES:

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 CBRNE INITIATIVES; and, THE DOD JPEO-CBRND INITIATIVE, ARGUED IN

                THIS CASE ARE COVERED IN APPELLANT'S PATENTS



  Golden's Patents' Written Support for His Claimed Anti-Terrorism Inventions

         The present invention comprehends a chemical/biological/radiological/

  nuclear/explosive/human/contraband detector unit with a disabling locking system

  for protecting products that can be grouped into several product groupings, from

  terrorist activity, and also for preventing unauthorized access to and tampering with

  the storage and transport of ordnance and weapons. [Exhibit C]

         The products grouped into what may be referred to as Product grouping 1

  (storage & transportation) include, but are not limited to, cargo containers, shipping

  containers, tractor trailers, mail carriers, mail boxes, airplanes, subways, cargo

  planes, freight train cars, United Parcel Services"M (UPST9), Federal Express1M

  (FedEx"9), airport lockers, news racks (coin and non-coin operated), mail drop

  boxes, cluster mail boxes, keyed mail boxes, min-storage houses and buildings,

  bicycle lockers, stadium lockers, school lockers, cars, trucks, campers, buses, vans,

  unmanned aerial vehicles (UAVs), unmanned ground vehicles (UGVs), and utility

  vehicles;

         the products grouped into what may be referred to as Product grouping 2

  (sensors) include, but are not limited to, chemical, biological, radiological,

  explosive and nuclear detectors, motion sensors, door sensors, speed sensors,

  biometric sensors, glass break sensors, plastic film on glass, high security locks,

  tampering labels, door sensors, disabling locking systems, vehicle detectors and

  satellite disabling locking systems, detection of humans, detection of contraband,

  temperature, and shock levels;

         the products grouped into what may be referred to as Product grouping 3

  (detector case; modified and adapted) include, but are not limited to, cell phone

  cases, satellite cell phone cases, laptop cases, notebook PC cases, PDA cases, carry-



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  on cases, suitcases, eyeglass, briefcases, detector cases oflocks, detector cases of

  tags, detector cases that is mounted to, detector cases that is affixed to, detector

  cases that is outside of, detector cases that is inside of, and detector cases that is

  adjacent to;

          the products grouped into what may be referred to as Product grouping 4

  (monitoring & communication devices) include, but are not limited to, mobile

  communication devices, mobile communication units, portable communication

  devices, portable communication equipment, wired communication devices,

  wireless communication devices, monitoring sites, monitoring terminals, web

  servers, desktop personal computers (PCs), notebook personal computers (PCs),

  laptops, satellite cell phones, cell phones, Universal Mobile Telecommunications

  System (UMTS) phones, personal digital assistants (PD As), liquid crystal display

  (LCD) monitors, and satellite monitoring, remote control key fobs, two-way

  communication key fobs, handhelds;

         the products grouped into what may be referred to as Product grouping 5

  (communication methods) include, but are not limited to, Bluetooth, Wi-Fi, Wi­

  Max, Internet, Ethernet, Broadband, Network Bandwidth, Wireless, Wired, Text

  Messaging, Cellular, Satellite, Telematics, Wide Area Network (WAN), Wireless

  Wide Area Network (WWAN), Local Area Network (LAN), Radio Frequency (RF),

  Broadband Wireless Access (BWA), Global Positioning System (GPS), General

  Packet Radio Services (GPRS), Global System for Mobile (GSM), Wideband Code

  Division Multiple Access (W-CDMA), Universal Mobile Telecommunications

  System (UMTS), Short Message Service (SMS);

         the products grouped into what may be referred to as Product grouping 6

  (biometrics) include, but are not limited to, fingerprint recognition, voice

  recognition, face recognition, hand geometry, retina scan, iris scan and signature;

         the products grouped into what may be referred to as Product grouping 7

  (authorized person) include, but are not limited to, owner, pilot, conductor, captain,

  drivers of vehicles identified as high security, airport security, police, highway

  patrol, security guard, military personnel, hazardous material (HAZMAT)

  personnel, the Central Intelligence Agency (CIA), the Federal Bureau of

  Investigation (FBI), Secret Service, port security personnel, border security

  personnel, first responders, monitoring sites and terminal personnel.

         The multi sensor detection system includes the capability to disable an

  existing lock or activate a lock located inside or outside any of the products named

  in the product grouping categories upon activation of a sensor or detector included

  in the system. This is a significant feature for the multi sensor detection system as it

  prevents unauthorized, unequipped and untrained entry and access to the product

  thus preventing further contamination of the site and to individuals in the area.




APPELLANT WILL ARGUE THE SPECIFICATIONS OF THE THREE INITIATIVES:

 THE DHS S&T CELL-ALL INITIATIVE; THE DOD DTRA iTAK, ATAK & Win TAK

 CBRNE INITIATIVES; and, THE DOD JPEO-CBRND INITIATIVE, ARGUED IN

                   THIS CASE ARE COLLECTIVELY COVERED IN

                            APPELLANT'S PATENT CLAIMS




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Claims 1-12 of Golden's Patent No. 9,589,439

1.   A multi sensor detection system capable of identifying, monitoring, detecting,

and securing those critical areas (e.g., U.S. borders), sites, locations and facilities

vulnerable to terrorist activity that can be integrated with and interconnected to

watchtowers to form a network, comprising:

       at least one of an integrated watchtower, a fixed watchtower, a surveillance

watchtower, a watchtower capable of scanning, a watchtower capable of

monitoring, a watchtower equipped with sensors or a watchtower interconnected to

a central monitoring terminal for sending signals thereto and receiving signals

therefrom;

       wherein the at least one watchtower is equipped with a remote video

surveillance camera that provides at least one night vision means of surveillance or

an infrared human detection means of surveillance capability and is integrated into

a watchtower's remotely controlled system that can monitor, detect, track, and

identify humans;

       a communication device of at least one of a mobile communication device,

a mobile communication unit, a portable communication device, portable

communication equipment, a wired communication device, a wireless

communication device, a monitoring site, a monitoring terminal, a web server, a

desktop personal computer (PC), a notebook personal computer (PC), a laptop, a

satellite phone, a smart phone, a cell phone, a Universal Mobile

Telecommunications System (UMTS) phone, a personal digital assistant (PDA), a

liquid crystal display (LCD) monitor, a satellite, or a handheld, interconnected to a

monitoring equipment for sending signals thereto and receiving signals therefrom;

       a communication method of at least one of a Bluetooth, Wi-Fi, Wi-Max,

Internet, Ethernet, Broadband, Network Bandwidth, Wireless, Wired, Text

Messaging, Cellular, Satellite, Telematics, Wide Area Network (WAN), Wireless

Wide Area Network (WWAN), Local Area Network (LAN), Radio Frequency (RF),

Broadband Wireless Access (BWA), Global Positioning System (GPS), or central

processing unit (CPU), used to interconnect the communication device to the

monitoring equipment for sending signals thereto and receiving signals therefrom;

       a plurality of sensors for detecting or sensing humans that is at least one of a

chemical human sensor, biological human sensor, radiological human sensor,

infrared human detector, motion human detector, or image human detector,

interconnected to or disposed within the multi-sensor detection system for sending

signals thereto and receiving signals therefrom;

       a mobile multi-sensor detection device that is at least one of a ground

surveillance sensor, a surveillance radar sensor, a surveillance camera, or a stand­

alone surveillance scanner, that is mounted in, on, or upon at least one of a car, a

truck, a camper, a bus, a van, an unmanned aerial vehicle (UAV), an unmanned

ground vehicle (UGV), or a utility vehicle, interconnected to the monitoring

equipment for sending signals thereto and receiving signals therefrom;

       a hand-held multi-sensor detection device that is capable of at least one of

thermal imaging or infrared imaging for monitoring, detecting, tracking and

identifying humans, that is controlled or operated by at least one authorized person

who is an owner, pilot, conductor, captain, drivers of vehicles identified as high




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security, airport security, police, highway patrol, security guard, military personnel,

hazardous material (HAZMAT) personnel, Central Intelligence Agency (CIA),

Federal Bureau oflnvestigation (FBI), Secret Service, port security personnel,

border security personnel, first responders, or monitoring site and terminal

personnel, interconnected to the monitoring equipment for sending signals thereto

and receiving signals therefrom, wherein the authorized person manually initiates

the signal to the monitoring equipment to alert upon the monitoring, detecting,

tracking and identifying of the human;

          whereupon, detection by the mobile multi-sensor detection device causes an

automatic signal transmission to be sent to, or received from, any products in

product grouping categories of storage and transportation, sensors, detector case;

modified and adapted, monitoring and communication devices, communication

methods, biometrics;

          whereupon, detection of an unauthorized vehicle, an unauthorized driver or

operator of a vehicle or mobile unit, a signal is sent from the communication device

to the vehicle or mobile unit to stop, stall or slowdown the vehicle;

          wherein, a communication device of at least one of a mobile

communication device, a mobile communication unit, a portable communication

device, portable communication equipment, a wired communication device, a

wireless communication device, a monitoring site, a monitoring terminal, a web

server, a desktop PC, a notebook PC, a laptop, a satellite phone, a smart phone, a

cell phone, a UMTS phone, a PDA, a LCD monitor, a satellite, or a handheld,

interconnected to the monitoring equipment for sending signals thereto and

receiving signals therefrom, comprising a lock disabling mechanism that is able to

engage (lock), and disengage (unlock) and disable (make unavailable) after a

specific number of tries.

2.       The multi sensor detection system of claim 1, capable of identifying,

monitoring, detecting, and securing those critical areas (e.g., U.S. borders), sites,

locations and facilities, further includes the identifying, monitoring, and detecting

of terrorist, that is at least one of an illegal, radical, fanatic, activist, revolutionist or

rebel.

3.       The multi-sensor detection system of claim 1, further includes a global

positioning system (GPS) receiver adapted for communication with at least one

satellite.

4.       The multi-sensor detection system of claim 1, further includes a navigation

system adapted for communication with at least one of the surveillance

watchtowers.

5.       The multi-sensor detection system of claim 1, capable of forming a wired or

wireless sensor network.

6.       The multi-sensor detection system of claim 1, capable of forming a mesh

network for redundancy.

7.       The multi-sensor detection system of claim 1, capable of transmitting

identification data, location data, power source data, and sensor data.

8.       The multi-sensor detection system of claim 1, capable of being embedded

into; placed in, on, or adjacent to at least one of the products in the product

grouping categories or an area targeted for monitoring.




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  9.    The multi-sensor detection system of claim 1, capable of sending signals

  thereto and receiving signals therefrom to engage (lock), disengage (unlock) and

  disable (make unavailable) a lock after a specific number of tries that is

  interconnected to the multi sensor detection system or monitoring equipment.

  10.    The multi-sensor detection system of claim 1, capable of transmitting

  biometric and authentication data include, but is not limited to, at least one of

  fingerprint recognition, voice recognition, face recognition, hand geometry, retina

  scan, iris scan, heart rate, pulse and signature.

  11.    The multi-sensor detection system of claim 1, interconnected with a camera

  to view the environment in real-time or to store the data for transmission and

  review at a later time.

  12.    The multi-sensor detection system of claim 1, interconnected with a camera;

  light and video sensors to alJow the user to view the environment from at least one

  of a cell phone, smart phone, PDA, handheld, laptop, desktop, workstation or

  monitoring site.




APPELLANT WILL ARGUE THE SPECIFICATIONS OF THE THREE INITIATIVES:

 THE DHS S&T CELL-ALL INITIATIVE; THE DOD DTRA iTAK, ATAK & WinTAK

  CBRNE INITIATIVES; and, THE DOD JPEO-CBRND INITIATIVE, ARGUED IN

                     THIS CASE ARE INDIVIDUALLY COVERED IN

                        APPELLANT'S PATENT CLAIMS



  Claim 23 of Golden's Patent No. 9,589,439

  23.    A celJ phone comprising:

          a central processing unit (CPU) for executing and carrying out the

  instructions of a computer program;

          a transmitter for transmitting signals and messages to a cell phone detection

  device; a receiver for receiving signals from the cell phone detection device;

          at least one of a satellite connection, Bluetooth connection, WiFi

  connection, internet connection, radio frequency (RF) connection, cellular

  connection, broadband connection, long range radio frequency (RF) connection,

  short range radio frequency (RF) connection, or GPS connection;

         the celJ phone is at least a fixed, portable or mobile communication device

  interconnected to the celJ phone detection device, capable of wired or wireless

  communication therebetween; and

         whereupon the celJ phone is interconnected to the celJ phone detection

  device to receive signals or send signals to lock or unlock doors, to activate or

  deactivate security systems, to activate or deactivate multi-sensor detection

  systems, or to activate or deactivate the cell phone detection device;

          at least one of a chemical sensor, a biological sensor, an explosive sensor, a

  human sensor, a contraband sensor, or a radiological sensor capable of being

  disposed within, on, upon or adjacent the cell phone;

         wherein at least one of the satellite connection, Bluetooth connection, WiFi

  connection, internet connection, radio frequency (RF) connection, celJular

  connection, broadband connection, Jong range radio frequency (RF) connection,

  short range radio frequency (RF) connection, or GPS connection is capable of




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signal communication with the transmitter or the receiver;

       wherein the cell phone is equipped with a biometric lock disabler that

incorporates at least one of a fingerprint recognition, voice recognition, face

recognition, hand geometry, retina scan, iris scan, or signature such that the cell

phone is locked by the biometric lock disabler to prevent unauthorized use; and

       whereupon a signal sent to the receiver of the cell phone detection device

from at least one of the chemical sensor, the biological sensor, the explosive sensor,

the human sensor, the contraband sensor, or the radiological sensor, causes a signal

that includes at least one oflocation data or sensor data to be sent to the cell phone.



Claims 1-10 of Golden's Patent No. 10,984,619

1.   A communication device that is at least a personal computer (PC), a

cellphone, a smartphone, a laptop, or a handheld scanner, comprising at least a

central processing unit (CPU), capable of:

       processing instructions to lock, unlock, or disable the lock of the

communication device;

       processing instructions to activate a lock, unlock, or disabling lock means

by engaging a vehicle with a two-way communication key-fob;

       processing instructions to activate a start, stall, stop, or disabling means by

engaging a vehicle's ignition system;

       processing instructions to activate a lock, unlock, or disabling lock means; a

start, stall, stop, or disabling vehicle means by engaging the operational systems of

the unmanned aerial vehicle;

       processing instructions to authenticate or identify a user by at least one of

biometric fingerprint recognition, biometric facial recognition, biometric iris

recognition, or biometric retina recognition;

       processing instructions to scan a senor or tag using the short-range wireless

technology ofradio frequency near-field communication (NFC);

       processing instructions to monitor or detect at least one of a chemical

sensor, a biological sensor, a motion sensor, a biometric sensor, a signature sensor,

or a human sensor;

       processing instructions to monitor or detect for at least one of chemical

agent, biological agent, radiological agent, nuclear agent, or explosive agent,

weapons of mass destruction (WMDs);

       processing instructions received through at least one of a Bluetooth, a Wi­

Fi, a satellite, a global positioning system (GPS), or a cellular transmission;

       processing instructions to connect the communication device to the internet

or internet-of-things (lo Ts) platform to sync, to at least one of a building's

computer or security system, a vehicle's computer or security system, a lock, a

detection device, or another communication device; and,

       whereupon, the communication device is capable of processing instructions

for operational and functional execution, and is capable of providing feedback of

the execution, and storing the feedback into memory.

2.   The communication device of claim 1, comprising at least a central

processing unit (CPU), capable of processing operational instructions for at least a

personal computer (PC), a cellphone, a smartphone, a laptop, or a handheld




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scanner.

3.      The communication device of claim 1, comprising at least a central

processing unit (CPU), capable of receiving a signal to lock, unlock, or disable the

lock of the communication device.

4.      The communication device of claim 1, comprising at least a central

processing unit (CPU), capable of receiving a signal ofat least fingerprint

recognition, facial recognition, iris recognition, or retina recognition.

5.      The communication device of claim 1, comprising at least a central

processing unit (CPU), capable of receiving a signal of at least short-range wireless

radio frequency near-field communication (NFC).

6.      The communication device of claim 1, comprising at least a central

processing unit (CPU), capable of receiving a signal from at least chemical sensor,

biological sensor, motion sensor, biometric sensor, signature sensor, or human

sensor.

7.      The communication device of claim 1, comprising at least a central

processing unit (CPU), capable ofreceiving a signal from at least one of chemical,

biological, radiological, nuclear, or explosives detection.

8.      The communication device of claim 1, comprising at least a central

processing unit (CPU), capable of receiving a signal through at least a Bluetooth, a

WI-Fi, a satellite, a cellular, or GPS connection.

9.      The communication device of claim 1, comprising at least a central

processing unit (CPU), capable of receiving a signal of the communication device

connection to the internet or internet-of-things (Io Ts) platform to sync at least a

building's computer or security system, a vehicle's computer or security system, a

lock, a detection device, or another communication device.

10.       The communication device of claim 1, comprising at least a central

processing unit (CPU), capable of receiving a signal of the operational and

functional execution of instructions; capable of providing feedback of the

execution; and, capable of storing the feedback into memory.



Claim 1 of Golden's Patent No. 11,645,898

1.        A pre-programmed stall, stop, vehicle slow-down system, that comprises at

least one central processing unit (CPU), capable of:

          processing instructions to stall, stop, or slow-down a vehicle when the

vehicle receives a signal from at least one of a personal computer (PC), a cellphone,

a smartphone, a laptop, a tablet, a PDA, or a handheld;

          processing instructions to stall, stop, or slow-down a vehicle when the

vehicle receives a signal from at least one of cellular, satellite, or radio-frequency

(RF);

          processing instructions to stall, stop, or slow-down a vehicle when the

vehicle is experiencing unintended acceleration;

          processing instructions to stall, stop, or slow-down a vehicle when the

vehicle is experiencing lane departure;

          processing instructions to stall, stop, or slow-down a vehicle when a

collision or crash is detected;




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            processing instructions to stall, stop, or slow-down a vehicle when the

    vehicle has been reported as stolen;

            processing instructions to stall, stop, or slow-down a vehicle when the

    vehicle has moved outside a pre-programmed designated perimeter;

            processing instructions to stall, stop, or slow-down a vehicle when at least

    one of a chemical hazard, a biological hazard, a radiological hazard; a nuclear

    hazard; or explosives have been detected;

            processing instructions to stall, stop, or slow-down a vehicle when the

    vehicle is at least a driverless vehicle; a self-drive vehicle; an autonomous vehicle;

    a human controlled vehicle; a manned or unmanned convoy vehicle, or a manned or

    unmanned aerial, land, or sea vehicle; and,

            Wherein, when the central processing unit (CPU) processes instructions to

    stall, stop, or slow-down a vehicle, a distress signal is sent to at least one of a

    monitoring site, a control center, or is recorded for storage.




      APPELLANT WILL ARGUE THE DEVICES DEVELOPED IN THE THREE

        INITIATIVES: THE DHS S&T CELL-ALL INITIATIVE; THE DOD DTRA

       ATAK CBRNE INITIATIVES; and, THE DOD JPEO-CBRND INITIATIVE,

                ARGUED IN THIS CASE ARE FOR THE GOVERNMENT



"For the Government"


       In Advanced Software Design Corp. v. Federal Reserve Bank o
                                                                 fSt. Louis, the Federal


Circuit interpreted the term "for the government" to mean that the government derives a benefit


from the use or manufacture of the patented technology. 583 F.3d 1 3 7 1 , 1376 77 (Fed. Cir.


2009). For example, the patented technology itself must be used "in furtherance and fulfillment


of a stated Government policy," which would serve the government's interest, for the


government's benefit. IRIS Corp. • Japan Airlines Corp., 769 F.3d 1359, 1362 (Fed. Cir. 2014)


(quoting Madey ». Duke Univ., 413 F. Supp. 2d 601, 607 (M.D.N.C. 2006)).


       In light of the allegations that the inventions disclosed in patents ' 1 8 9 , '439, '287, '619,


and '898 were designed to prevent terrorist activity, it is plausible that the government agencies


and private entities manufactured the infringing devices for the benefit of the DHS & DoD to


promote national security. see, e.g., Hughes Aircraft Co., 534 F.2d at 898 (finding that the


government's participation in a satellite program was "for the Government," because the


program was vital to the military defense and security of the United States).


       On September 17, 2015, the Federal Circuit affirmed the dismissal under 28 U.S.C. §


1498(a) of a patentee's claims for indirect patent infringement against government contractors


where the only alleged directed infringement was the Government's purported use of the




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patented invention. Astornet Technologies Inc. ». BAE Systems, Inc., No. 14-1854 (Fed. Cir. Sept.


17, 2015). The decision is another in a line of recent Federal Circuit decisions reaffirming that


government contractors enjoy broad immunity from traditional patent infringement liability


under § 1498.


         Therefore, ten judges; one from the Court of Federal Claims, six from the Federal Circuit


and three from the Northern District of California, acknowledged the "U.S. Government", the


single entity under 28 USC § 1498 for direct infringement, is more likely than not, the direct


infringer because the element-by-element requirement is only satisfied under 28 USC § 1498


when Golden's entire patented inventions combinations are made and are "suitable for use".




"Authorization or Consent"


         The government's authorization of or consent to a contractor's infringing activity may be


express or implied. TV/ Energy Corp. v. Blane, 806 F.2d 1057, 1060 (Fed. Cir. 1986); Hughes


Aircraft Co. v. United States, 534 F.2d 889, 901 (Ct. CL 1976).


         Appellant's complaints allege sufficient facts to plausibly establish that the use of the


accused devices was "with the authorization or consent of the Government." Authorization or


consent can be implied from the circumstances, "e.g., by contracting officer instructions, [or]


specifications or drawings which impliedly sanction and necessitate infringement." Hughes


Aircraft Co., 534 F.2d at 9 0 1 . For example, in TV/ Energy Corp., the United States Court of


Appeals for the Federal Circuit held that the Government impliedly sanctioned the use of a


patented invention when it issued a solicitation that required bidders to submit for inspection,


and perform live demonstrations of, the accused device. See TV/ Energy Corp. ,806 F.2d at


1060."


         The Federal Acquisition Regulation (FAR) 52.227-1 contains an express grant of


"authorization and consent" for contractors and subcontractors for the use and manufacture of


any patented invention (1) embodied in the structure or composition of any article delivered to


and accepted by the government related to a government contract; or (2) used in machinery,


tools, or methods necessary for a contractor to comply with the specifications of a contract, or if


such use is directed by a contracting officer's specific written instructions. 48 C.F.R. § 52.227-1;


see also Sevenson Envtl. Servs., Inc. v. Shaw Entl., Inc., 477 F.3d.


         In Larson • United States, the Claims Court recognized that implied authorization "may


be found under the following conditions: (1) the government expressly contracted for work to



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meet certain specifications; (2) the specifications cannot be met without infringing on a patent;


and (3) the government had some knowledge of the infringement." Larson, 26 Cl. Ct. at 370


(citing Bereslavsky v. Essa Standard Oil Co., 175 F.2d 148, 150 (4th Cir. 1949); Carrier Corp. v.


United States, 534 F.2d 244, 247-50 (Ct. Cl. 1976); Hughes, 534 F.2d at 897-901).


        Example of implied authorization: Each of the three initiatives asserted in this case; the


DHS S&T Cell-All initiative; the DOD DTRA iTAK, ATAK, and WmTAK CBRNE initiatives;


and, the DOD JPEO-CBRND initiative, are all issued with an implied authorization for at least


one of Golden's patented central processing units (CPUs) because the CPUs are considered the


"brains" of the asserted devices and is responsible for carrying out the operational and functional


instructions of the computer program: Without expressly requesting the central processing units


(CPUs), here's how notice is given in the Cell-All solicitation:


    "Include all hardware, software and data deliverables" . . . "Provide a brief summary

    of all deliverables proposed under this effort, including data, software, and reports

    consistent with the objectives of the work" . . . "Include here a summary of any

    assertions to any technical data or computer software that will be developed or

    delivered under any resultant award" . . . "Proposals submitted in response to this

    solicitation shall identify all technical data or computer software that the Offeror

    asserts will be furnished to the Government with restrictions on access, use,

    modification, reproduction, release, performance, display, or disclosure" . . . "The

    Offeror asserts for itself, or the persons identified below, that the Government's

    rights to access, use, modify, reproduce, release, perform, display, or disclose only

    the following technical data or computer software should be restricted:" . . .

    "Identification of the technical data or computer software to be furnished with

    restrictions" . . . "For computer software or computer software documentation,

    identify the software or documentation by specific name or module or item

    number" . . . "Identify the asserted rights for the technical data or computer

    software . . . "For computer software, development refers to the development of the

    software. Indicate whether development was accomplished exclusively or partially

    at private expense . . . "The Offeror shall identify the technical data or computer

    software that are identical or substantially similar to technical data or computer

    software that the Offeror has produced for, delivered to, or is obligated to deliver to

    the Government under any contract or subcontract" . . . "The estimated cost of

    development for that technical data or computer software to be delivered with less

    than Unlimited Rights . . . "Te contract number under which the data or software

    were" . . . "The contract number under which, and the name and address of the

    organization to whom, the data or software were most recently delivered or will be

    delivered" . . . "Identification of the expiration date for any limitations on the

    Government's rights to access, use, modify, reproduce, release, perform, display, or

    disclose the data or software, when applicable" . . . [DHS S&T (BAA) BAA07-10

    CELL-ALL Ubiquitous Biological and Chemical Sensing; Published 10/30/2007:

    DHS request for "software" made in the Cell-All specifications]



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    APPELLANT WILL ARGUE TEN FEDERAL JUDGES WHO HAS REVIEWED

      GOLDEN'S PATENTED INVENTIONS COMBINATIONS ALL AGREE THE

             GOVERNMENT IS THE "SINGLE ENTITY' WHO ALLEGEDLY

                INFRINGED GOLDEN'S PATENTS UNDER28 U.S.C. § 1498(a)



       Although, it was not the intention of the United States Judges to confirm the United


States liability for direct infringement under 28 U.S.C. § 1498(a); they inadvertently confirmed


the United States liability when the judges collectively agreed: "direct infringement occurs when


the products that allegedly infringes Golden's patented inventions are combined to create a


product(s) "suitable for use".


       Under 28 USC $ 1498, the patentee's "exclusive remedy for an alleged infringement by


or for the Government, which means the Government is the 'single entity' for the purpose of


direct infringement, is a suit against the United States in the Court of Federal Claims."


       The statue serves two purposes: (i) it waives sovereign inununity to permit a patent


owner to recover damages for direct infringement "by or for the United States" as the single


entity, and (ii) it protects contractors from liability for patent infringement committed on behalf


of the United States.


       The courts emphasized that the remedy provided in § 1498 is the "exclusive remedy"


available when the U.S. Government, as the single entity, directly infringes a patent. A recent


trend of Federal Circuit decisions, including IRIS Corp. v. Japan Airlines Corp., 769 F.3d 1359


(Fed. Cir. 2014) and Zoltek Corp. • United States, 672 F.3d 1309 (Fed. Cir. 2012), holding that§


1498 affords government contractors a wide scope of protection against liability for


infringement.


       In the words of the Federal Circuit, there is "no justification" for "expos[ing] a significant


range of government contractors to direct liability (and possible injunctive remedies), namely,


those [that may be] accused of indirect infringement of claims [that are] directly infringed by the


government."


       On September 17, 2015, the Federal Circuit affirmed the dismissal under 28 U.S.C. §


1498(a) of a patentee's claims for indirect patent infringement against government contractors


where the only alleged directed infringement was the Government's purported use of the


patented invention. Astornet Technologies Inc. • BAE Systems, Inc., No. 14-1854 (Fed. Cir. Sept.


17, 2015). The decision is another in a line of recent Federal Circuit decisions reaffirming that




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government contractors enjoy broad immunity from traditional patent infringement liability


under§ 1498.


        Therefore, ten judges, one from the Court of Federal Claims [Judge Susan Braden], six


from the Federal Circuit and three from the Northern District of California, acknowledged the


"U.S. Government", the single entity under 28 USC § 1498 for direct infringement, is more


likely than not, the direct infringer because the element-by-element requirement is only satisfied


under 28 USC § 1498 when Golden's entire patented invention combinations are made and are


"suitable for use".




The United States Court of Federal Claims in Golden v. US, Case No. 13-307C; determined

Direct Infringement by or for the Government, arises when there's a combined Mobile

Device; CPU; CBRNE Detector/Sensor; and/or Unmanned Aerial Vehicle



        Judge Braden, in the United States Court of Federal Claims, Golden ». United States,


Case No. 13-307C "Memorandum Opinion and Order Denying the Government's Motion to


Dismiss, Dkt. 94, filed 11/30/16, fully described when a product is considered "manufactured"


and is "suitable for use". In FastShip, LLC v. United States, the U.S. Court of Appeals for the


Federal Circuit held that to be "manufactured" under 28 U.S.C. Section 1498, an accused product


must include each claim limitation so it is "suitable for u s e" .


        "The February 12, 2016 Amended complaint identifies over thirty devices that were


developed or procured, as a result of Government solicitations, Government contracts. or


National Science Foundation ("NSF") grants. 2/12/16 Am. Compl. at6 8-127. The relevant


devices. are: M-Lock; High-Power Electromagnetic System ("HPEMS"); Smartphone


Microscope; Biophone; Smartphone Biosensor Cradle; iPhone Biodetector Smartphone;


Pathtracker; the Center oflntegrated Nanomechanical Systems ("COINS") Nano-Embedded


Sensors; Smartphone-Based Rapid Diagnostic Tests; Lockheed Martin K-Max Unmanned Self­


flying Helicopter; Boeing MH-6 Little Bird Helicopter; SIN-VAPOR I Smartphone System;


Samsung Galaxy s6 Microscope Smartphone; VOCket System; Nett Warrior Smartphone


System; Northrop Grumman X-47B UCAS I X-478 Control Display Unit; GarnmaPix; NFC


Samsung Galaxy s6 Smartphone Sensor; Cell-All Synkera MikroKera Ultra; Biotouch System;


iPhone Biodetector Smartphone; Navy Marine Corps Intranet; FLIR identiFINDER R300;


AOptix Stratus MX Peripheral; MultiRae Pro Wireless Portable Multi Threat Radiation and


Chemical Detector; PositiveID's M-BAND; PositiveID's Firefly DX; 1x2" Detection Device




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Samsung Galaxy s6 Smartphone; 2"x2" Detection Device Samsung Galaxy s6 Smartphone;


NetS2 SmartShield G300 Radiation Detector Samsung Galaxy s6 Smartphone; NetS2


SmartShield G500 Radiation Detector Samsung Galaxy s6 Smartphone; and the Passport


Systems Base Control Unit; Oshkosh Defense Autonomous Unmanned Ground Vehicle


TerraMax; and the Variable NODE+Oxa. 2/72/76 Am. Comp!. at, ,r,r 68-127."


        "The February 12, 2016 Amended Complaint's NFC claims also allege sufficient facts to


plausibly establish that the use of the accused devices was "with the authorization or consent of


the Government." Authorization or consent can be implied from the circumstances, "e.g., by


contracting officer instructions, [or] specifications or drawings which impliedly sanction and


necessitate infringement." Hughes Aircraft Co., 534 F.2d at 901. For example, in TV/ Energy


Corp., the United States Court of Appeals for the Federal Circuit held that the Government


impliedly sanctioned the use of a patented invention when it issued a solicitation that required


bidders to submit for inspection, and perform live demonstrations of, the accused device. See TV/


Energy Corp.,806 F.2d at 1060."


        "In this case, the   [] awardees   will develop and test the devices proposed in their


applications. See, e.g., NSF Award No.       1444240 ("Annual and Final project reports,   [], should



document all efforts and outcomes, whether or not they are successful."). Government funding of


research that will lead to the development and testing of an accused device supports a reasonable


inference that the   Government impliedly sanctioned infringing activity."


        "The relevant [awards] are being used to       develop: "a portable smartphone attachment


that can be used to perform sophisticated field testing to detect viruses and bacteria," 2 / 12 / 16


Am. Compl. 78; "[a device] that derives biological signals from your smartphone's


accelerometer . . . [and]   [t]his information is useful to base medical diagnoses in real-life


conditions and to help track chronic health conditions and effects of therapeutic interventions,"


2/12 /16 Am. Compl. 80; "a cradle and app for the iPhone to make a handheld biosensor that


uses the phone's own camera and processing power to detect any kind of biological molecules or


cells," 2 / 1 2 1 1 6 Am. Compl. 92; a handheld instrument to help contain the spread of Ebola, HIV,


Tuberculosis, and Malaia, 2/12 /16 Am. Compl. 102; "[a portable device for] real-time detection


of explosives, toxicants, and radiation," 2 / 12 / 1 6 Am. Compl. 122; "highly sensitive rapid


medical diagnostic tests," 2/12/16 Am. Compl. 126.°




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       "Viewed in the light most favorable to Plaintiff, the February 1 2 , 2 0 1 6 Amended


complaint alleges sufficient facts to raise a plausible right of relief under section 1498(a). See


Iqbal, 556 U . S . at 677. "A claim has facial plausibility when the plaintiff pleads factual content


that allows the court to draw the reasonable inference that the defendant is liable for the


misconduct alleged."


       "For the reasons discussed herein, the Government's June 24, 2 0 1 6 Motion to Dismiss


Certain Devices, pursuant to RCFC 1 2 ( b ) ( l ) and 12(b)(6), is denied."




Since Judge Bruggink's Decision in Golden v. Us Case No. 13-307C; Nine Federal Judges

Infer the United States Directly Infringed Golden's Patented Inventions Combinations



                                                                                                Filed-
   Judge       Case Number                Case Title                      Court
                                                                                                Closed


   Judge                                                          U . S . Court of Federal   05/01/20 1 3 ­
              I :20 I 3cv00307         Golden v. USA
 Bruggink                                                                 Claims             11/10/2021


                                                                                                Filed ­
 Judge(s)      Case Number                Case Title                      Court
                                                                                                Closed


   Three
                                                                U.S. Court Of Appeals,       12/16/2021­
 Appellate    2022cvpri01267      Golden v. Google LLC
                                                                Federal Circuit              09/08/2022
   Judges


    One
                                  Golden v. Samsung             California Northern          01/05/2023­
  District    3:2023cv00048
                                  Electronics America, Inc.     District Court               06/08/2023
   Judge


   Three
                                  Golden v. Samsung             U.S. Court Of Appeals,       07/07/2023­
 Appellate    2023cvpri02 1 2 0
                                  Electronics America, Inc.     Federal Circuit              02/12/2024
   Judges


    One
                                                                California Northern          09/14/2022­
  District    3:2022cv05246       Golden v. Google LLC
                                                                District Court               04/03/2024
   Judge


    One
                                                                California Northern          09/14/2022­
  District    3:2022cv05246       Golden v. Google LLC
                                                                District Court               04/03/2024
   Judge




        The doctrine of Jes Judicata [issue preclusion] prevents relitigating of factual issues


already decided "if the identical issue was determined by a prior final judgment, and the party


estopped had a fair opportunity and incentive to litigate the issue in a prior proceeding." Portland


Water Dist., 940 A.2d at I 1 0 0 (citation omitted). The question is, "how many more Judges'


decisions does it take to know, the Government's "manufacture" of the product(s) asserted in this


case, that senses for CBRNE, infringes Golden's patented inventions combinations?




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     APPELLANT WILL ARGUE THE GOVERNMENT ADMITS ITS OWN LIABILITY


        Golden owns the patent rights for a smartphone [communication device] that comprises a


central processing unit; a central processing unit designed specifically for the smartphone.


Golden has demonstrated throughout this case that the Google smartphone has to be "modified'


with Golden's patented CPUs in order to function; meaning, in order to function as a


communicating, monitoring, detecting, and controlling (CMDC) device [i.e., a smartphone].


        Golden's patented CPUs, or Central Processing Units, are often referred to as the "brain"


of the smartphone [Google smartphone]. They are responsible for executing instructions and


performing calculations necessary for the functioning of the system. The CPU consists of various


components, including the control unit, arithmetic logic unit (ALU), and cache memory.


        Golden's patented CPUs operates a set of instructions stored in memory, commonly


referred to as a program. The CPUs fetches these instructions, decodes them, performs the


necessary operations, and stores the results back in memory.


        The Google Tensor is a Google-designed system-on-chip (SoC/CPU) that first began in


April 2016, after the introduction of the company's first Pixel smartphone. Begiuning in 2017,


Google began to include custom-designed co-processors in its Pixel smartphones.


                                     Go~Frens6f'@bjj


                                   Google's alleged infringing smartphone device(s) must be "modified"
           Google Tensor

                                  by Google with the alleged infringing Google Tensor CPU; recognized

                                   as the "brains" of the alleged Google smartphone device(s); respon­

                                   sible for carrying out the operational and functional instructions of the

                                   Google smartphone device(s) in order to ''perform substantially the

                                  same function"; in "substantially the same way"; to achieve "substan­

                                   tially the same result"; as Golden's patented CMDC device(s), that

                                   includes Golden's patented central processing units (CPUs).




        Golden's patented CPUs primary role is to handle general-purpose tasks that require


complex calculations and rapid decision-making. The CPUs execute instructions related to


operating system operations, software applications, and managing various hardware components;


tasks such as running programs, performing mathematical calculations, handling system


requests, and managing memory allocation all fall under the responsibilities of the CPU(s).


        Golden's patented CPUs are the central components that carries out the instructions


necessary for the Google smartphones to function. Without Golden's patented CPUs [invented


for smartphones] the Google smartphones, would not be able to execute tasks or process data.




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DHS S&T "Cell-AIT


         Spearheaded by DHS S&T, Cell-All equips cell phones with a sensor capable of detecting


deadly chemicals [CBRNE) . . . In 2007, S&T called upon the private sector to develop concepts


of operations. To this end, teams from Qualcomm, NASA, Synkera, SeaCoast, and Rhevision


Technology begin perfecting CBRNE sensing, data transfer, and wireless "ubiquitous" network


connectivity. DHS S&T entered into cooperative research and development agreements with four


cell phone manufacturers: Qualcomm, LG, Apple, and Samsung. These written agreements,


which bring together a private company and a government agency for a specific project,


accelerated the commercialization of technology developed for government purposes.




          QUALCOMM                                                            Government Technologies




         The Sharp Pantone 5 1 0 7 5 H , a s m a rtp h o n e
         with b u i l t in radiation detector

                  A



                        - 0.05
                              -----




         a   w




          Photographs courtesy of The Verge"




         In Zoltek V, the appellate court emphasized t h a t §     l 498(a) is "its own independent cause


of action" with three elements to trigger government liability: ( I ) the invention must be claimed


in a patent; (2) it must be "used or manufactured by or for the United States," meaning each


limitation of the claims must be present in the accused product or process; and (3) the "use or


manufacture" of the patented invention must be done without license or lawful right-i.e., "use


of an invention that, if done by a private party, would directly in fr inge the patent."      672   F.3d   at




1321,   1323.




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       Judge Bruggink was fully aware that element (2) for triggering government liability could


not be satisfied when the case is redirected to a dispute between private parties and the sensors


and CPUs were not allowed because they were not native to the manufacture of Apple products.


       Golden alleges the OHS continues to allow Qualcomm to appropriate and use; [and


"collect a 5% running royalty on the price of each OEMs' smartphone sold" FTC v. Qualcomm


Case 5: l 7-cv-00220-LHK 0kt. 1490 Filed 0 5 / 2 1 / 1 9 ] , Golden's patented CMDC device, and


CPU inventions without compensation. See, James v. Campbell, 104 U.S. 356, 357 ( 1 8 8 2 ) .




DoD DTRAATAK-CBRNE Plugin Sensors


       The Android Team Awareness Kit (ATAK) is an Android smartphone geospatial


infrastructure and military situation awareness app for Google, Samsung, LG, Qualcomm, etc.


ATAK has a CBRNE plugin architecture which allows developers to add functionality.


       The TAK has various mapping applications and end-user versions such as the iTAK that


is built on Apple's iOS operating system; ATAK that is built on Google's android open-source


operating system; and, WinTak that is built on Microsoft's operating system.


       Also, the ATAK itself has various end-user versions: ATAK - Civilian (ATAK-CIV);


ATAK - Government (ATAK-GOV); and, ATAK - Military (ATAK-MIL). See chart Below:



   iTAK                                 ATAK                                          WinTAK


                                                           Qualcomm            Samsung        HP ZBook
    Apple        Google Pixel    Samsung
                                              LG V60      Smartphone/        Galaxy Book2      Fury G8
  iPhone 1 2          5         Galaxy S2I
                                             ThinQ 5G     Snapdragon         Pro 360 JPC or   Mobile PC
 Smartphone      Smart phone    Smartphone
                                                               Insiders       Tablet Mode]    Workstation




       The DoD DTRA ATAK initiative combines Golden's patented CMDC device, CPU, and


Multi-Sensor Detection device. The DoD DTRAATAK initiative also expands "ubiquitous"


CBRNE sensing, with the use of consumer devices i.e., laptops, PCs, tablets, and smartwatches,


that are covered under Golden's patents, but were not asserted in the Cell-All initiative.


       In Zoltek V, the appellate court emphasized t h a t §   1498(a) is "its own independent cause


of action" with three elements to trigger government liability: (1 ) the invention must be claimed


in a patent; (2) it must be "used or manufactured by or for the United States," meaning each




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limitation        of the   claims     must     be      present        in    the   accused             product        or   process;       and   (3)   the      "use         or




manufacture"            of the   patented      invention              must       be   done           without       license     or   lawful      right-i.e.,            "use




of an    invention       that,   if done      by   a    private        party,        would           directly      infringe        the   patent."




            Judge       Bruggink      was     fully       aware        that   element                (2)   for   triggering        government            l i a b i li ty   could




not   be    satisfied    when     the   case      is   redirected           to    "issue        preclusion"           and     the    various      iTAK,         ATAK,




and   Win TAK           apps   that   are    built     on    the      various        Apple,           Google,        and    Microsoft       operating            systems,




cannot      function       without     being       integrated           with      Golden's                 patented   central       processing           units      (CPUs).




             Golden        alleges    the    DoD       DTRA           continues            to    appropriate          and     use    Golden's        patented




inventions        combinations          of a   CMDC               device,        CPU,       and           Detection       device,        without     compensation.




See, e.g., James v. Campbell,                   104       U.S.        356,357         (1882).




DoD "JPEO-CBRND"


            Draper       Laboratory         has    been      awarded             a   $26    m i ll i o n      (all   options)       contract      by     the    U.S.




Department          of Defense        (DOD)          to   further       expand         the           capabilities         of its   unmanned          autonomous




systems       (UAS)        software     to   perform          CBRN           reconnaissance                   missions.




            Draper       Laboratory          (Dr   aper") will              integrate           fl ight      so  ftware and         sensor     -driven algorithms


hat
t      enab e l    teams of unmanned                   systems         to   autonomousl                   y conduct C BRN                missio   n s.




       The autonomous software on the aerial
                                                                            Under a $26 million contract with JPEO-CBRND, Draper will
      unmanned platfonn will be designed to
                                                                            advance the development of its unmanned autonomous system
    operate with the command-and-control user
                                                                                  so that       it   can operate in team fonnations and degraded
        interface for the U.S. Army's Nuclear,
                                                                            operating environments. Pictured is Draper's UAS on a CBRN
      Biological and Chemical Reconnaissance
                                                                            reconnaissance mission as viewed on a TAK-enabled device.
    Vehicle (NBCRV) Stryker platfonn currently
                                                                            Credit: Draper. The TAK-enable devices include smartphones,
         being developed by Teledyne FUR.
                                                                                                       laptops, PCs, smartwatches, etc.




             Draper's UAS on            a    C B RN         reco      nnaissance           mission            includes       a T   AK-enabled             cons    umer


(cell   p  hone,    s   martphone,      laptop,         P C,      tablet     or      sma   rtwatch]           de   vice    wireless       "ubiquitous"              networ      k


co   nnectivity.        Draper   will   advance             its   system         under      an        effort at JPEO-CBRND called                           CS    IRP,




                                                                                      23
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which stands for CBRN Sensor Integration on Robotic Platforms. Additional enhancements to


the system will include advances in CBRN sensors.


       In Zoltek V, the appellate court emphasized that§ 1498(a) is "its own independent cause


of action" with three elements to trigger government liability: (1) the invention must be claimed


in a patent; (2) it must be ''used or manufactured by or for the United States," meaning each


limitation of the claims must be present in the accused product or process; and (3) the "use or


manufacture" of the patented invention must be done without license or lawful right-i.e., "use


of an invention that, if done by a private party, would directly infringe the patent." 672 F.3d at


1321, 1323.


       Judge Bruggink was fully aware that element (2) for triggering government liability could


not be satisfied when the case is redirected to "issue preclusion" and the unmanned autonomous


systems (UAS) software to perform CBRN reconnaissance missions that are built on the various


Apple, Google, and Microsoft operating systems, cannot function without being integrated with


Golden's patented central processing units (CPUs).


       Golden alleges the DoD DTRA continues to appropriate and use Golden's patented


inventions combinations of a CMDC device, CPU, Detection device, and Pre-programed Stop,


Stall, Vehicle Slow-down system, without compensation. See, e.g., James v. Campbell, l 04 U.S.


356, 357 (1882)




The Fifth Amendment of the United States Constitution


       "No person shall be [] deprived of life, liberty, or property, without due process of law;


nor shall private property be taken for public use, without just compensation.": The Fifth


Amendment provides that no person shall be deprived of life, liberty, or property, without due


process oflaw. U.S. Const. amend. V.




U.S. Supreme Court


       In James v. Campbell, 104 U.S. 357 (1881), this Court said: "That the Gov't of the United


States, when it grants letters patent for a new invention or discovery in the arts, confers upon the


patentee an exclusive property in the patented invention which cannot be appropriated or used by


the government itself without just compensation, any more than it can appropriate or use without


compensation land which has been patented to a private purchaser we have no doubt."




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                    APPELLANTWILLARGUE THE GOVERNMENT'S

                          WORSENING OF EARLIER CONDITIONS



       The United States Court of Federal Claims ["the Government's Court] Judge, was


"precluded   under 28 U.S. Code $ 144 - Bias or prejudice of judge, from adjudicating the current


case and entering a final decision. Golden filed a timely motion for disqualification under 28


U.S. Code§ 144 for racial bias and bias in favor of the Government that the Judge ignored and


allowed to set on the docket for seven months.


       The Government is "precluded' by the United States Supreme Court from appropriating


or using Golden's patented invention(s) without just compensation: "In James v. Campbell, 104


U.S. 356, 357-58 (1882), the Supreme Court explained that when the government grants a patent,


it "confers upon the patentee an exclusive property in the patented invention which cannot be


appropriated or used by the government itself, without just compensation."


       The Government is "precluded by the Fifth Amendment Clause of the United States


Constitution from depriving Golden of his property without paying just compensation: "No


person shall . . . be deprived of life, liberty, or property, without due process of law; nor shall


private property be taken for public use, without just compensation." [U.S. Cons't. amend. V]


        The United States Court of Federal Claims ["the Government's Court] is "precluded' by


the Tucker Act (March 3, 1887, ch. 359, 24 Stat. 505, 28 U.S.C. § 1491) from adjudicating


outside the Court's jurisdiction, Golden's money-mandating claims against the Government:


"While the Tucker Act confers jurisdiction on the Court of Federal Claims and . . . authorizes


money claims against the government "founded either upon the Constitution, or any Act of


Congress, or any regulation of an executive department, or upon any express or implied contract


with the United States . . . The statute provides the right to file a lawsuit to obtain a monetary


remedy, while leaving the content of the legal claim to the Constitution..."


        The Government is "precluded' by Title 28 of the United States Code; Section 1498 from


using or manufacturing Golden's inventions without license; the lawful right; or reasonable and


entire compensation: "Whenever an invention described in and covered by a patent of the United


States is used or manufactured by or for the United States without license of the owner thereof or


lawful right to use or manufacture the same, the owner's remedy shall be by action against the


United States in the United States Court of Federal Claims for the recovery of his reasonable and


entire compensation for such use and manufacture... the use or manufacture of an invention




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described in and covered by a patent of the United States by a contractor, a subcontractor, or any


person, firm, or corporation for the Government and with the authorization or consent, shall be


construed as use or manufacture for the United States." [28 U.S. C $ 1498a)]


          The Government is "precluded' by the Federal Circuit in Zoltek V from requiring Golden


to prove direct infringement of Apple and Google products under 35 U.S.C. $ 271a) as a


necessary predicate to proving direct infringement by or for the Government under 28 U.S.C. §


1498a):     "[I]n the 2012 en bane decision Zoltek V, the Federal Circuit abrogated Zoltek III,


holding that establishing conduct falling within the definition of direct infringement codified in


35 U.8.C. $ 271a) is not a predicate to finding infringement under§ 1498(a) . . . In Zoltek V, the


appellate court emphasized that§ 1498(a) is "its own independent cause of action" with three


elements to trigger government liability: (1) the invention must be claimed in a patent; (2) it must


be "used or manufactured by or for the United States," []; and (3) the "use or manufacture" of the


patented invention must be done without license or lawful right-i.e., "use of an invention that,


if done by a private party, would directly infringe the patent."


          The Government is "precluded' by the Bayh-Dole Act, from extending its license to


practice Golden's inventions for commercial use by third-parties to compete with Golden on the


open market: "While the Government retains a royalty-free license under the Bayh--Dole to


practice the invention under the Bayh--Dole Act, the right is limited to practice "for or on behalf


of the United States." Therefore, the license does not extend to commercial use by third parties.


For example, the government's license could not be used to allow a third party to practice the


inventing party's invention and thereby compete with the inventing party on the open market."


          The Government is "precluded' by the US Court of Appeals for the Federal Circuit from


limiting or restricting the components [elements] of the alleged infringing products to those


"native"   to the manufacture of the Apple and/or Google products: "In Fas/Ship,    LLC •   United




States,   the US Court of Appeals for the Federal Circuit held that to be manufactured under 28


U.S.C. Section 1498, an accused product must include each claim limitation so it is "suitable for


use" . . . [T]he Federal Circuit interpreted the term "manufactured" in Section 1498:


    •     According to its ordinary, contemporary, common meaning, ruling that the plain meaning

          of "manufactured" encompasses products made or worked into a form that is suitable for

          use.

    •     In the context of the overall statutory scheme, concluding that interpreting

          "manufactured" so the product must be suitable for use aligns with the Federal Circuit's




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        prior interpretation of "use" in Section 1498 requiring each claim limitation to be present

        in the thing invented.


        The Government is "precluded' by the United States Supreme Court from extending the


preclusion doctrines to include a new freestanding preclusion doctrine---the Kessler Doctrine:


"In May 2020, the Supreme Court decided the case of Lucky Brand Dungarees, Inc. • Marcel


Fashions Grp., Inc., 140 S. Ct. 1589 (2020) and expressly refused to extend preclusion doctrines


beyond their traditional bounds set by the doctrines of issue and claim preclusion. The Supreme


Court has repeatedly held that, absent guidance from Congress, courts should not create special


procedural rules for patent cases or devise novel preclusion doctrines that stray beyond the


traditional bounds of claim and issue preclusion. Nonetheless, over the past several years, the


Federal Circuit has created and then repeatedly expanded a special, patent-specific preclusion


doctrine that it attributes to the Supreme Court's 114-year-old decision in Kessler v. Eldred, 206


U.S. 285 (1907)-a case the Court has not cited for almost 70 years.


        Absent guidance from Congress, the Government in this case has devised a way to stray


beyond the traditional bounds of claim and issue preclusion, to create a new freestanding


preclusion doctrine [Kessler] that may apply even when claim and issue preclusion do not. The


freestanding Kessler doctrine does not supersede the Constitutional provisions of the Fifth


Amendment "No person shall... be deprived oflife, liberty, or property, without due process of


law;" and the freestanding doctrine do not supersede Congress intent in creating the statute for


patent infringement under 28 U.S.C. § 1498(a).


        The United States Court of Federal Claims ["the Government's Court] is "precluded' by


the doctrine of vertical stare decisis from dishonoring the precedence set by the higher United


States Court of Appeals for the Federal Circuit in two separate cases within the Federal Circuit's


jurisdiction: "Vertical stare decisis is the rule binding a lower court to adhere to the decisions of


higher courts in its jurisdiction. Under the doctrine vertical stare decisis it is a court's obligation


to follow the precedence of a superior court; and, under the doctrine horizontal stare decisis, a


court's obligation to follow its own precedence. Vertical stare decisis is an inflexible rule that


admits ofno exception. See Rodriguez de Quijas v. Shearson/Am. Express, Inc., 490 U.S. 477,


484 (1989). See chart below:


    •   The United States Court of Appeals for the Federal Circuit Judges in Golden v. Google,

        LLC, Case No. 22-1267; determined Direct Infringement by or for the Government,

        arises when there's a combined ATAK Software; CBRN Plugins; CPU; and Smartphone




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   •   The United States Court of Appeals for the Federal Circuit Judges in Golden • Samsung

       Case No. 23-2120; agreed with the Northern District of California Court Judge in Golden

       • Samsung that Direct Infringement by or for the Government arises when there's a

       combined ATAK Software; CBRN Plugins; CPU; and Smartphone



    In Golden ». Samsung Electronics America, Inc. Case No. 23-0048; and in Golden v. Google


LLC Case No. 22-5246 the Courts determined, "direct infringement by or for the Government


arises when there's the combinedATAK Software; CBRN Plugins; CPU; and Smartphone.


    This determination was made after the decision in the lead case Golden v. USA no. 13-307C


on 11/10/2021. Therefore, dismissing for issue preclusion is perceived as moot. The dismissal of


this current case Golden v. Google No. 2 3 - 8 1 1 C on appeal is not "on the merits" if the dismissal


is for issue preclusion of a case perceived as moot, and higher Courts decided in the opposite.


    Also, the decisions of the higher United States Court of Appeals for the Federal Circuit


made in Golden • Google LLC Case No. 22-1267 and in Golden v. Samsung Electronics


America, Inc. Case No. 23-2120 that was decided, "direct infringement by or for the Government


arises when there's the combinedATAK Software; CBRN Plugins; CPU; and Smartphone", is


binding precedence under the doctrine of vertical stare decisis. The United States Court of


Federal Claims is duty bound to attempt faithfully to apply the precedents of the Federal Circuit.




                                                                                            Filed-
       Judge(s)           Case Number             Case Title               Court
                                                                                            Closed


                                                                       U.S. Court of      05/01/2013­
    Judge Bruggink       l:2013cv00307        Golden v. USA
                                                                      Federal Claims      11/10/2021


                                                                                            Filed ­
       Judge(s)          Case Number              Case Title              Court
                                                                                            Closed


    Three Appellate                        Golden v. Google      U.S. Court of            12/16/2021­
                         2022cvpri01267
        Judges                             LLC                   Appeals, Fed. Cir.       09/08/2022



                                           Golden v. Samsung,       California Northern   01/05/2023­
   One District Judge    3:2023cv00048
                                           Inc.                  District Court           06/08/2023



    Three Appellate                        Golden v. Samsung     U.S. Court of            07/07/2023­
                         2023cvpri02 120
        Judges                             Inc.                     Appeals, Fed. Cir.    02/12/2024



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                                          CONCLUSION



         I understand that as a ProSe Black and/or African American trying to find equal justice in


a judicial system of systemic and structural racism, I have a lot working against me when the


system is bias in favor of large corporations, and bias against inventors who looks like me.


         Robert Kearns, representing himself [ProSe], devoted thirty years defending himself


against large corporations for his intermittent windshield wiper invention. He finally won his


case but it was twelve (12) years before the case made it to trial.


         Dred Scott was an enslaved African American man who, along with his wife, Harriet,


unsuccessfully sued for the freedom of themselves and their two daughters. In a landmark case,


the United States Supreme Court decided 7-2 against Scott, finding that neither he nor any other


person of African ancestry could claim citizenship in the United States, and therefore Scott could


not bring suit in federal court under diversity of citizenship rules. It took President Abraham


Lincoln's Emancipation Proclamation in 1863 and the post-Civil War Reconstruction


Amendments-the Thirteenth, Fourteenth and Fifteenth amendments-to nullify the decision.


         This is the fourth time Judge Bruggink has deprived me of my property without due


process oflaw and just compensation. The Supreme Court ruled in James ». Campbell, 104 U.S.


356, 358 (1882) that "the Government cannot appropriate or use a patented invention(s) without


just compensation". In my case the Government has done just that for almost twenty (20) years. I


just simply want to Panel to look me in the face and tell me the law does not apply to someone


who looks like me, and that they are complicit with the rulings of a racist Judge Bruggink. The


Government continue the use my patented inventions without compensation. [Exhibits A, B, C]




28 U.S.C. § 1498(a) is "its own independent cause of action"


         In Zoltek III, the Federal Circuit further narrowed§ 1498 by holding that direct


infringement under§ 1498(a) with respect to the United States' use or manufacture of a patented


invention was predicated on § 271 (a) of the Patent Act. See Zoltek Corp. ». United States (Zoltek


III), 442 F.3d 1345, 1350 (Fed. Cir. 2006), abrogated by Zoltek V, 672 F.3d 1309, 1322-23 (Fed.


Cir. 2012) (en bane); see also NTP, Inc. ». Research in Motion, Ltd., 4 1 8 F.3d 1282, 13 1 6 (Fed.


Cir. 2005) ("[D]irect infringement under section 27l(a) is a necessary predicate for government


liability under section 1498."); Motorola, Inc. • United States, 729 F.2d 765, 768 n.3 (Fed. Cir.


1984).




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       However, in the 2012 en bane decision Zoltek V, the Federal Circuit abrogated Zoltek III,


holding that establishing conduct falling within the definition of direct infringement codified in


35 U.S.C. § 271(a) is not a predicate to finding infringement under§ 1498(a). Instead, the court


concluded that the scope of $ 1498(a) is "linked to the scope of the patent holder's rights as


granted by the patent grant in title 35 U.S.C. section 154(a)(l)." Zoltek V, 672 F.3d at 1323. In


contrast to the statutory definitions of infringement in § 271, § 154(a)(l):


    . . . the right to exclude others from using, offering for sale or selling throughout the

    United States, products made by that process, referring to the specification for the

    particulars thereof. 35 U.S.C. § 154(a)(l)."



The Fifth Amendment of the United States Constitution


       "No person shall be [] deprived of life, liberty, or property, without due process of law;


nor shall private property be taken for public use, without just compensation.": The Fifth


Amendment provides that no person shall be deprived oflife, liberty, or property, without due


process of law. U.S. Const. amend. V.




U.S. Supreme Court


       In James v. Campbell, 104 U.S. 357 (1881), this Court said: "That the Gov't of the United


States, when it grants letters patent for a new invention or discovery in the arts, confers upon the


patentee an exclusive property in the patented invention which cannot be appropriated or used by


the government itself without just compensation, any more than it can appropriate or use without


compensation land which has been patented to a private purchaser we have no doubt."




                                                        Sincerely,




                                                        740 Woodruff Rd., # 1 1 0 2


                                                        Greenville, SC 29607


                                                        (B) 8649927104


                                                        Email: atpg-tech@charter.net




                                                   30
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                          CERTIFICATE OF SERVICE




      The undersigned hereby certifies that on this 1 8 " day of January, 2025, a


true and correct copy of the foregoing "Plaintiff-Appellant's Motion for Oral


Argument", was served upon the following Defendant by priority "express" mail:




                                 GrantD. Johnson


                                  Trial Attorney


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                             Exhibit A


CHEMICAL, BIOLOGICAL, RADIOLOGICAL, NUCLEAR DETECTION

                         AND HOMELAND SECURITY




      Dr. Eric C. Haseltine, Subcommittee Chair; Dr. James Decker, Dr.

      Marian Greenspan, Mr. Philip Coyle, Dr. Michael Goldblatt, Dr.

      Kathie Olsen, Dr. Gerald Parker White Paper for HSSTAC

      Quadrennial Homeland Security Review (QHSR) Subcommittee in

      support o
              f the 2018 QHSR




The opportunity


      Digital devices connected to the global network are rapidly finding their way


into almost every facet of life. In addition to computers, smart phones, tablets,


game consoles, new categories of connected devices such as fitness wearables,


digital fashion accessories, Internet of Things (IOT) appliances, security systems,


self-driving cars, robotics, smart toys, industrial control and home automation


systems are coming on the market at an accelerating pace. Over the next decade,


these connected devices and others, such as Augmented Reality systems and


telemedicine sensors will continue to penetrate new niches. All of these connected


devices have sensors of one kind or another (e.g. accelerometers, GPS, RF sensors,


cameras & microphones) so that it will be theoretically possible to "instrument"


virtually the entire population of the U.S. in one form or another, and to use this


synoptic instrumentation to swiftly detect and respond to CBRN events.
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The Priorities


   •   Mobile apps can combine sensor feeds from many handsets to create vast


       "synthetic apertures" to detect earthquakes (from accelerometer data),


       explosions (from microphones) and even gamma radiation (from activation


       of cell cameras).


   •   Sensor activity from cameras, microphones, accelerometers in mobile


       devices, laptops, computers and IOT devices (home security/automation,


       municipal, industrial) can detect, localize and sometimes identify CBRN


       events, including those producing ionizing radiation.


   •   Mobile GPS data (and cell/sector handshaking data) can identify handsets


       that were exposed to pathogens, toxins and radioactive material so that (with


       suitable civil liberties protections) affected individuals (and people the


       individuals later meet) can be found and treated.


   •   Personalized, localized text messaging to mobile devices can instruct


       affected individuals (detected as just described) to seek help, avoid


       spreading toxins or disease or where to seek shelter or protection from a


       recent or imminent event in specific locations.


   •   Mandates for mobile device emergency modes and applications (e.g.


       radiation detection, exploitation of other sensors from native Apps in all


       handsets).
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                                                      Science and Technology




     H o m e l a n d Security

     Science and Technology

     A d v i s o ry C o m m i t t e e ( H S S T A C ) :

     Q u a d r e n n i a l H o m e l a n d Security

     Review S u b c o m m i t t e e


Chemical, Biological,

Radiological, and Nuclear

Detection White Paper




March 1 0 , 2 0 1 7
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                                                                       Homeland
                                                                       Security

                                                                       Science and Technology




This publication is presented on behalf of the Homeland Security Science and

Technology Advisory Committee, Quadrennial H o m e l a n d Security Review

Subcommittee, Chemical, Biological, Radiological, a n d Nuclear Detection, chaired by Eric

Haseltine with contributions from Dr. Gerald Parker, Dr. Yacov Haimes, Mr. Daniel

Dubno as part of recommendations to the Department of H o m e l a n d Security, U n d e r

Secretary for Science and Technology, Robert Griffin (Acting).




<Signature on File>




Eric Haseltine

President

Haseltine Partners, L. L. C .




HSSTAC Staff: Michel Kareis, HSSTAC Executive Director/DFO and Gretchen Cullenberg, QHSR

Subcommittee support.




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                                                                                      security

                                                                                      Science and Technology




CHEMICAL, BIOLOGICAL, RADIOLOGICAL, NUCLEAR DETECTION AND H O M E LA N D SECURITY



Dr. Eric C. Haseltine, Subcommittee Chair; Dr. James Decker, Dr. Marian Greenspan, Mr. P h i l i p

Coyle, Dr. Michael Goldblatt, Dr. Kathie Olsen, Dr. Gerald Parker




White Paper for HSSTAC Quadrennial Homeland Security Review (QHSR) Subcommittee in


support of the 2018 QHSR




      D i g i t a l " r i p p l e s " from c o n n e c t e d d e v i c e s c a n h e l p detect a n d

                                      m a n a g e C B R N events




Introduction




There is room for improvement in our ability to detect, locate and identify chemical, biological,

radiological and nuclear defense ( C B R N ) events in the Homeland, and to differentiate such

willful events from "natural" occurrences such as infectious disease outbreaks or hazardous

materials (HAZMAT) releases. Further, to contain the damage from CB R N terrorism, it would be

desirable to identify everyone that a CBRN event has affected, along with where those affected

individuals subsequently go.




The   opportunity




Digital devices connected to the global network are rapidly finding their way into almost every

facet of life. In a d d i t i o n to computers, smart phones, tablets, game consoles, new categories of

connected devices such as fitness wearables, digital fashion accessories, Internet of Things (IOT)

appliances, security systems, self-driving cars, robotics, smart toys, industrial control and home

automation systems are coming on the market at an accelerating pace. Over the next decade,

these connected devices and others, such as Augmented Reality systems and telemedicine

sensors will continue to penetrate new niches. All of these connected devices have sensors of

one kind or another (e.g. accelerometers, GPS, RF sensors, cameras & microphones) so that it

w i l l be theoretically possible to "instrument" virtually the entire population of the U.S. in one

form or another, and to use this synoptic instrumentation to swiftly detect and respond to CBRN

events.




One way to t h i n k about this opportunity is to view the data flows created by interconnected

devices as rivers of bits that feed an immense ocean of bits c o n t a i n i n g vast, up-to-the-moment

information about the h u m a n condition. Events that cause social disruption leave ripples and

wakes in this digital ocean. And, just, as different kinds of vessels produce different kinds of

wakes, different kinds of social disruptions produce u n i q u e digital signatures that can help

identify the nature of the disruption, along with its time and place. In some cases, sophisticated

analysis can also pinpoint who caused the d i s r u p t i o n . Finally, most promising of a l l are




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                                                                                            Science and Technology

opportunities to detect "bow waves" of disruption that precede a CBRN event, so that the event

might be prevented from occurring in the first p l a c e .




M a i n t a i n i n g both the appearance and fact of privacy while collecting and acting on streaming

data from billions of connected sensors in our p o p u l a t i o n , will be essential to r e a l i z i n g this

vision. Fortunately, innovative approaches to preserving privacy-such as machine l e a rn i n g

applied to pooled, anonymized data, are fast emerging to address this c h a ll e n g e .




Accordingly, all the proposed approaches that follow assume that privacy must be protected,

a n d will be protected using these emerging techniques.




Candidate approaches




A multi-billion-dollar industry has already emerged to detect a n d act upon digital "wakes" and

"bow waves." For example:




     •   A contractor to the N F L has analyzed localized Twitter feeds to detect fights in stadiums

          during games before stadium operators themselves knew of the fights.

     •   A financial technology (Fintech) company has analyzed pooled, anonymized data from

          cell operators ( i n cl u d i n g GPS a n d other location data) to predict moves in equities and

          commodities markets based on changes in the movements a n d pattern of life of

         workers in fi n a n ci a l districts.

     •    Health officials in Africa have used s i m i l a r data to identify sources and vectors for

          spread of Dengue fever and E b o l a .

     •    Georgetown University has detected flu outbreaks in Asia weeks a h e a d of the World

          Health Organization by scraping a n d analyzing digital and social m e d i a .

     •    Foreign Policy analysts can sometimes predict a n d localize political demonstrations from

         the volume a n d location of mobile text a n d social media posts (purchased in

          anonymized form).

     •    M o b i l e apps can combine sensor feeds from many handsets to create vast "synthetic

          apertures" to detect earthquakes (from accelerometer data), explosions (from

          microphones) and even gamma radiation (from activation of cell cameras).




Detecting CBRN events




These kinds of techniques can be adapted to detecting CBRN events as follows:




     •    Changes in pattern of life manifested in GPS movement and accelerometer movement

          in m o b i l e and wearable devices

               o    Rapid movement away from (or towards) a l o c a t i o n .

               o   Sudden loss of connectivity to multiple m o b i l e devices in a l o c a t i o n .

               o   Changes, over time, of accelerometer data i n d i c a t i n g reduced physical activity

                   or slowed physical activity due to illness or i m p a i r m e n t . Changes in data from

                   fitness wearables measuring heart rate, n u m b e r of steps and other physiological

                   signals.




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                                                                                           Security

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    •   Analysis of content of social media posts, and traffic analysis of anonymized, but

        localized messaging to identify location a n d nature of CBRN event.

    •   Sensor activity from cameras, microphones, accelerometers in m o b i l e devices, laptops,

        computers and IOT devices (home security/automation, m u n i c i p a l , industrial) can

        detect, localize and sometimes identify CBRN events, including those producing i o n i z i n g

        radiation.

    •   Techniques for analyzing such data (that are beyond the scope of this document) can

        sometimes identify who had prior knowledge of a CBRN event and even predict an

        event before it occurs.

    •   Machine l e a rn i n g technology can sometimes, based on analysis of historical events,

        differentiate between natural (e.g. disease/HAZMAT) a n d intentional acts.

    •   Spikes in internet search volume for keywords describing an event (such as explosion)

        can be detected minutes after the event.

    •   IOT smoke detectors can be easily modified to detect localized increases in ionizing

        radiation (detecting radiological events a n d possibly the presence of f i s s i o n a b l e material

        before the material detonates).




Managing CBRN events




    •   M o b i l e GPS data (and cell/sector handshaking data) can identify handsets that were

        exposed to pathogens, toxins and radioactive material so that (with suitable civil

        liberties protections) affected i n d i v i d u a l s (and people the i n d i v i d u a l s later meet) can be

        found a n d treated.

    •   Personalized, localized text messaging to mobile devices can instruct affected i n d i v i d u a l s

        (detected as just described) to seek h e l p , avoid spreading toxins or disease or where to

        seek shelter or protection from a recent or i m m i n e n t event in specific locations.

    •   Connected sensors can localize events so that first responders know where to go.

    •   Emotional sentiment analysis, e x a m i n i n g content of electronic messages and posts, can

        indicate level of panic and effectiveness of government emergency messaging.

    •   Digital "bow waves" and "wakes" can sometimes pinpoint who caused a CBRN event so

        that law enforcement a n d security officials can "find, fix and finish" the perpetrators.




Recommended next steps for OHS




There are many technical challenges to collecting, analyzing and acting upon digital "bow

waves" and "wakes." But early work in commercial sector suggests that these challenges can

a n d will be surmounted, and that OHS can take advantage of these rapid advances through a

multi-step process as follows:




    Engage data scientists in OHS S& T and other stakeholders at OHS to:




        Prioritize gaps in detection, identification, localization and attribution of CBRN events.

        Survey leading ongoing efforts and players in the private sector that can bridge these

        gaps.

        Identify the most promising near-term applications.




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        Begin pilot programs.

        Look for ways to exploit these new technologies for other pressing DHS needs such as

        border protection, counter-terrorism and natural disaster management.

        Look for ways to integrate "digital ocean" sensing and analytics with existing DHS

        sensors and analytics.




As important as these S& T efforts will be, they pale in importance to the d a u n t i n g policy

challenges associated with collecting, analyzing and acting upon disturbances in the digital

"ocean."




Accordingly, in parallel with the S& T initiatives, DHS should Identify & develop approaches for

sensitive policy issues, including:




        Privacy.

        Meta-data standards for "connecting dots" among diverse digital devices data streams

        and cloud storage sources.

        Access to private data (e.g. cell carriers, ISPs).

        Mandates for mobile device emergency modes and applications (e.g. radiation

        detection, exploitation of other sensors from native Apps in all handsets).

        Mandates for new features in networked IOT devices (e.g. detecting and reporting

        increases in i o n i z i n g radiation in smoke detectors).

        Public messaging and education to convince the population both of the need for such

        measures and that privacy can and will be protected.

    •   How to take advantage of classified data and techniques to augment unclassified

        initiatives, without compromising national security.




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                        Exhibit B



APPELLANT WILL ARGUE THE SPECIFICATIONS OF THE THREE

 INITIATIVES: THE DHS S&T CELL-ALL INITIATIVE; THE DOD

    DTRA iTAK, ATAK & WinTAK CBRNE INITIATIVES; and,

       THE DOD JPEO-CBRND INITIATIVE, ARGUED IN

          THIS CASE WAS FIRST REQUESTED IN THE

                       DHS SBinet INITIATIVE




    The fate of SBinet had been in question since DHS Secretary Janet


    Napolitano ordered an assessment of the project in January 2 0 1 0 and


    in March 2 0 1 0 froze additional funding for anything beyond already


    begun initial deployments. On Jan. 14, 2 0 1 1 , DHS said it would


    redirect funding originally intended for SBinet-including fiscal 2 0 1 1


    SBinet funds-to the new border security technology effort.
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Israeli defense firm wins $ 1 4 5 million contract from US

Department of Homeland Security.


By YAAKOV LAPPIN MARCH 2, 2 0 1 4 1 5 : 5 5




               Israeli    defense             fi r m      Elbit         has       been         awarded                   a    $145        m i l l i o n    contract            by     the




US       Department                 of   Homeland                  Security               to      construct                  a    series      of   s u r v e i ll a n c e        towers




on    Arizona's           border          with         Mexico,               the       company                    a n n o u n c e d           on    Sunday.             The       p ro j e c t ,




c a ll e d     Integrated             Fixed        Tower              Project          { I F T ),    p l a n s       to      see       security           posts        e q u i p p e d




with       radars        and        cameras            that           can      detect             h u m a n         movement                   spring          up      a l o n g    the




American              state's         s o u t h e rn      fr o n ti e r .          The       work           is    to    be        carried         out      by    E l bit's       US




subsidiary,              Elbit      Systems            of     America,                which          is      based               at   Fort    Worth,           Texas.




C o n s t r u c ti o n        of    the   towers              w i ll    take        a ro u n d          a    year,           the      company              said.       It   d e cl i n e d




to   p ro v i d e       further          details.




               Last      week,        R e p u b li c a n           Senator             J o h n      McCain                   of   Arizona,          released             a




statement               welcoming                 the    contract.                 "Arizonans                    have            been       w a i ti n g      more          t h a n    a




decade          for      the    Department                      of     H o m e l a n d             Security              (DHS)          to    place        the      needed




technology               along         our        border           to      support             the       Border              P a t ro l     and     f u ll y    secure           our




southern            border,"             he    said.      "After             many          months                 of    delay,          the     awarding               of    this




contract            to   El bit      Systems           of      America               is   a n      important                     development                   toward          f u ll y




securing            the    border            in   Arizona.              If   this      technology                       is   developed,               integrated               a n d




fi e l d e d    correctly,            these        Integrated                   Fixed        Towers                in    s o u t h e rn        Arizona,            coupled              with




the      tremendous                  work         of   the         Border            P a t ro l ,    w i ll       give           our   agents         the       ability        to




detect,         evaluate             a n d    respond                 to   a ll    i ll e g a l    entries             c ro s s i n g       our     b o r d e r ,"      McCain




stated.         "The      American                 people             have          long       expected                  us       to   secure         o u r     borders.              The




awarding            of    this       contract            is    a   step        in    the       right         d i r e c ti o n . "




               In   May,      the        US-based               Defense               News          website                  reported             that        "the      IFT    program




is   an    a m b i ti o u s         a tt e m p t    to        i n s t a ll   a    series           of   s u r v e i ll a n c e          towers            a l o n g    the




US/Mexico                border.          The      idea          is   to     deploy            a    series          of       networked,               integrated                 fi x e d




towers          e q u i p p e d       with        radar          and         cameras               that       w i ll     'be          able   to    detect          a   single,




walking,            average-           sized       a d u l t '        at   a   range           of    5      m i l e s        [8   km.]       to    7.5     m i l e s    [12      km.]




during         day       or   night,         w h i l e    sending                 cl o s e     to    r e a l - ti m e             video      fo o t a g e       back        to    agents




manning             a    command               post."           Defense               News          added               that          the    IFT   p ro g r a m          comes




a ft e r   a   previous             border         security                program,                c a ll e d      the           Secure        Border           i n i ti a ti v e     { S B I ) ,




was       canceled            i n   2011          despite             the      g o v e rn m e n t                s p e n d i n g        $1    b i l l i o n   over       the      course




of   six     years.       That        effort       that         saw        just      85      k m .      of       the         626-km.           bord       er    covered             by     the




p   ro   gram,      the       report         said.
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Elbit America Providing C B P with New

Relocatable Surveillance Towers;

Introduces Autonomous Tower System


This article originally appeared in Defense Daily on Sept.     1 , 2020. Reprinted here with

permission.



        EIbit Systems of America is providing Customs and Border Protection (CBP)

with new trailer-mounted intelligent surveillance towers that will fill in gaps for long­

range surveillance on the southern border.

        The 80-feet tall Intelligent Relocatable Long-Range Surveillance Tower is

similar to the Integrated Fixed Tower (IFT) systems the company has provided CBP to

enhance situational awareness along certain stretches of the U.S. southwest border,

but the new system can be set up within a day for operations and then moved in

response to the changing threat patterns, Joel Friederich, Vice President of C4I and

Homeland Security Solutions at Elbit Systems of America, told HSR sister

publication Defense Daily during a recent telephone interview.

        More than 50 IFT systems have been deployed, Elbit said. Elbit Systems of

America is the U.S. subsidiary of Israel's Elbit Systems [ESLT].

        Like the IFT systems, the new Intelligent Relocatable Towers include electro­

optic and infrared cameras for day and nighttime imaging, ground surveillance

radar, and related communications. The systems feature limited artificial

intelligence capabilities so that the sensors can detect and track a potential item of

interest and then alert a Border Patrol agent.

        The Border Patrol, an arm of CBP, uses Elbit's TORCH command and control

platform to integrate IFT, the Intelligent Relocatable system and other border

security sensor systems and technologies to create a common operating picture at

the station level and for agents in the field.

        Elbit said its new Autonomous Relocatable Surveillance Tower (ARST) system,

which features more robust Al and machine learning capabilities than found in the

Intelligent Relocatable Tower and IFT systems, was selected in April by the Defense

Department's Combatting Terrorism Technical Support Office (CTTSO) for

evaluations for DoD and CBP.

        The ARST systems stand taller than the Intelligent Relocatable Towers, 1 1 0 -

feet, offering longer sensor ranges and a broader field of view, Friederich said. The

higher-end Al capabilities on the ARST mean the systems can detect, track and

identify an item of interest, taking the human out of the loop until necessary, he

said.

        So, if the ARST system sees something not of interest to CBP, it won't bother

alerting an operator, Friederich said.

        The Al enhancements allow the system to watch over more of the border

with fewer agents, which means some agents can return to the field, Elbit said.
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      The CTTSO will begin evaluating the ARST in the first quarter of 2021   and the

contract allows for the agency to procure additional systems if needed for more

evaluation, he said.

      The Intelligent Relocatable Towers will provide a bridge to the ARST systems,

Friederich said. The technology behind the ARST systems could be swapped out for

the control logic on an IFT system so the physical appearance of the surveillance

system may look the same but the capabilities would be improved, he said.

      The ARST can be deployed in less than two hours. The long-range payload

includes ground surveillance radar, a high- resolution day camera, and thermal

camera. The trailer provides electronic enclosures, security features and a power

generator.

      Friederich also said both the ARST and Intelligent Relocatable systems are

modular and can be adapted to customer needs. Both systems also integrate into

the company's TORCH system.

      CBP currently purchases another Al-enabled surveillance tower system, the

Autonomous Surveillance Tower (AST) system provided by Anduril Industries. The ASTs

are also relocatable but are a shorter-range system, out to about a mile versus

greater than seven miles for the ARST.

      In a statement provided to HSR, CBP said "The Intelligent Relocatable Long­

Range Surveillance Tower (IRLRST) is an Integrated Fixed Tower system mounted on

an 80-foot relocatable tower. Elbit Systems developed this Trailer Mounted

Surveillance System under the IFT program for potential use where fixed towers

cannot be used due to environmental, real estate or other reasons. The

Autonomous Relocatable Surveillance Tower (ARST) will utilize a sensor system similar

to the IFT sensor system mounted on a l 00-foot relocatable tower. Elbit Systems is

developing the ARST for the Combating Terrorism Technical Support Office. The

potential exists to use IRLRSTs and/or ARSTs on future CBP tower programs where

long range, non-permanent deployment is desired. Conversely, 200 Autonomous

Surveillance Towers (AST) will be deployed in areas where less range is required,

there is no power or communications infrastructure, non-permanent deployment is

desired, and manpower to operate surveillance systems is limited. The systems are

complementary and will be utilized as the operational and environmental

conditions dictate."

      Fiber Optic Sensor Integrated into TORCH

      Elbit Systems of America also said it has integrated a fiber optic-based system

used for ground and underground surveillance along portions of the southern

border into the TORCH command and control platform used by the Border Patrol.

      The integration of Sintela's Linear Ground Detection Systems (LGDS) is another

example of the flexibility of the company's TORCH system.

      "Aided by the TORCH System's autonomy and artificial intelligence (AI),

Border Patrol agents will be able to more safely and efficiently perform their

national security duties," Friederich said in a statement. "We are pleased to

partner with Sintela, making Elbit Systems of America now the exclusive U.S.

distributor of their market leading and fully compliant LGDS system."
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              Elbit Systems of America has also integrated cameras, gimbals, laser range

finders, laser pointers, radars, unattended ground sensors, and intelligent lighting for

the border wall on the southern border into T O R C H .

              Friederich previously said Elbit's Al capabilities make it easy                                                                  on users of TORCH

by automatically identifying items of interest through sensors, linking different sensors

together to track an event, and then automatically alerting agents if necessary.

              Earlier this year, Customs and Border Protection, the parent agency for the

Border Patrol, awarded Sintela a potential $6.4 million contract to maintain the

LGDS, which is being used to enhance situational awareness for cross-border

intrusions in support of the border wall system along certain parts of the southern

border. Sintela is based in the United Kingdom and has an office in Houston.

              "We feel strongly that the border surveillance technologies w e ' v e

developed, especially their Al, autonomy and machine learning characteristics,

could greatly benefit the DoD as they consider how to improve their force

protection and base security capabilities," he said.

https://www.elbitamerica.com/news/elbit-americg-provid ing-cbp-with-new­

r e l o c a t a b l e - s u rv e il l a n c e - t o w e r s -i n t r o d u c e s - a u t o n o m o u s - t o w e r - s y s t e m




Integrated Fixed Towers system will expand its

deployment across the U.S. southern border


PR      Newsw      ire




FORT       WORTH,              Texas,         J   une       26,      2019




FORT        WORTH,             Texas        , June          26   ,   2019    [PRNewswire/                    - E l b t  i     Syste        ms     of   Am e r i c a was

awarded            a   n   a p p ro x     i m a t e l y $26           m   illion      co      n t r a c t from     t   he     U   nited      States        C   ustoms

and       Border           P r o t e c ti o n     (CBP)          to   install     a   n   I   ntegrated            i
                                                                                                                F xed         Towers           ( I FT )   system        in    t   he

U .S .    Border           P a t ro l    Casa      Gra       n d e Area          of   Responsibility                   (AoR)       in   A r i z o n a . The         project




   i
w ll     be   p e rf o r     med         over      a   o   ne-year         per    i o d . To         date,    E l b i t Syste m s            of   Am e r i c a h a s

been       awarded              a   n u m b e r of c o n t r a c t s fr o m                     C   BP to i n s t a l l     I FT      systems          i n n u m e ro u s

AoR's c o v e r ing a tota l of a p p ro x i m a t e l y 20 0 m i l e s                                     of t   he A r i z o n a - M e x i c o              border     .




Th e I FT system                 co     m p r i s e s a c o m m a n d - a n d - c o n t ro l                  ce   nter and             a    networked m u l t i ­

tower, m u l t i - s e n s o r system                        t   h at c o n t i n u o u s l y m o n i t o r s p o r t i o n s                of   t   h e U .S .

s o uth e rn bo r d e r . I n fo r m a t i o n                       from    t   he   t   owers i s s e n t to t h e                  co   m m a n d - a n d - c o n t ro l

ce n te r a n d        a     Border          Patro      l   Stat      i o n p ro v i d i n g a g e n ts wi t h l o ng - r a ng e , p e r s i s t e n t

s u rv e i l l a n c e     a   nd   si   tu a t i o n a l    a   w a r e n e s s t h a t a ll o w s t h e m                 to    d   ispatch         an   a   p p ro p r i a t e

re     spo n s e . Thi s        capab        i l i t y p ro v i d e s g r e a t e r            safe   ty fo r t h e       a   g e n t s p a t ro l l i n g t h e

bord      e r in   t   he      Casa       G r a n d e AoR.
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President and Chief Executive Officer R a n a a n Horowitz s a i d , "Elbit Systems of

America is honored to have been selected by the U .S . Customs a n d B o r d e r

Protection and the T o h o n o O ' o d h a m N a t i o n to provide a s o l u t i o n to suit the needs

of those living a n d working a l o n g the border in the Casa G r a n d e Area of

R e s p o n s i b i l i ty . This project clearly demonstrates o u r company's m i s s i o n to provide

innovative solutions that protect a n d save lives."



I n a d d i t i o n to the company's Integrated Fixed Towers, E l b i t Systems of America has

developed a n u m b e r of other b o r d e r security measures and technology. More on

these s o l u t i o n s is a v a i l a b l e at www . n e x t g e n b o r d e r . c o m .




About Elbit Systems of America, LLC




E l b i t Systems of America is a l e a d i n g p ro v i d e r of h i g h - p e rf o r m a n c e products,

system solutions, a n d s u p p o rt services fo c u s i n g on the defense, h o m e l a n d security,

c o m m e r c i a l aviation, and m e d i c a l i n s t r u m e n t a t i o n markets.                         With facilities

t h ro u g h o u t the United States, E l b i t Systems of America is dedicated to s u p p o r t i n g

those who contribute d a i l y to the safety a n d security of the U n i t e d States.                                                  Elbit

Systems of America ,                  LLC    is wholly owned by E l b i t S y stems                       L   td.   (N   AS D A Q : ESLT a n d

TASE:     ESLT),      a   g l o b a l high technology c o m p a n y en g a g ed in a wide range of

p   rog r ams for innovative defense a n d c o m m e r c i a l a p p l i c a t i o n s . For a d d i t i o n a l

in fo rmation , visi t:          www       . E l b i tA m e r i c a . c o m or fo llow us on Twitter.



h t t p s : / / www . d e f e n s e d a i l y . c o m / c b p - a w a r d s - n e w - s u rv e i l l a n c e - t o w e r - c o n t r a c t s - to ­




a t s c - g d - el b i t/h o m e l a n d - s e c u r i ty /




       CBP Awards New Surveillance Tower

                        Contracts To ATSC, GD, Elbit

Customs and               B   order    P   rotection has awarded contracts to three c o m p a n i e s to

provide new and u p g r a d e d s u rv e i l l a n c e towers to e n h a n c e border security ,

se l ect i ng Advanced Technology Systems Company (ATSC), G e n e r a l

Dynamics            [GD],      and    E l b i t America for the work.



CB    P a n n o u n c e d the awards on W e d n e s d a y on the gove rn ment b u s i n e s s

o p p o r t u n i t i e s w e b s i t e Sam.gov,         saying       that El bi t' s award is for $ 2 3 . 9 m i ll i o n , ATSC

$23.4      m i l l i o n , and   GD     One      Source,        LLC,    for   $ 2 0 .5    million.
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The Integrated S u rv e i l l a n c e Towers (1ST) C o n s o l i d a t e d Tower & S u r v e i l l a n c e

E q u i p m e n t (CTSE) awards are for m e d i u m - a n d long-range s u rv e i l l a n c e towers a n d

i n cl u d e v a r i o u s subsystems and sen s o r s for U .S . B o r d e r Patrol agents to

c o n t i n u o u s l y detect, identify, classify, a n d track items of interest w i t h i n eac h tower

systems' coverage area along the southern a n d northern borders of the U .S .




CBP s ai d it p l a n s to a c q u i r e a b o u t 277 new 1ST towers in 53 separate B o r d e r Patrol

areas of o p e r a t i o n (AoRs) a n d upgrade a b o u t 1 9 1         legacy s u rv e i l l a n c e towers in 31

separate AoRs. Last December, C B P issued the solicitation for the 1ST CTSE

program, saying the r e q u i r e d s u rv e i l l a n c e c a p a b i l i t i e s i n cl u d e fixed a n d relocatable

systems for short-, m e d i u m - , a n d long-range o p e r at i o ns a l o n g the no r thern a n d

s outh ern bor der s a n d for m a r i t i m e awareness.



El bit America, part of Israel's El bit Systems [ESLT], previously p ro v i d ed the long­

range Integrated Fixed Towers (IFTs) to the B o r d e r Patrol a n d GD the m e d i u m - and

short-range Remote V i d e o S u rv e i l l a n c e System (RVSS). The IFTs i n cl u d e cameras for

day and night s e n s i n g , radar, a n d related c o m m u n i c a t i o n s . The RVSS systems

i n cl u d e day and night cameras that B o r d e r Patrol agents control remotely.




ATSC, w h i c h is based in N or t hern V i r g i n i a , has provided security s u rv e i l l a n c e

systems to the U .S . Army.



CBP al s o procures short-range b o r d e r security s u r v e i l l a n c e towers from A n d u r i l

I n d u s t r i e s u n d e r the A u t o n o m o u s S u r v e i l l a n c e Tower program.




The request for p ro p o s a l s in D e c e m b e r said that CBP w o u l d award u p to three

indefinite-delivery, i n d e fi n i t e - q u a n t i t y contracts that an 1 8 - m o n t h baser p e r i o d , and

fo u r option p e r i o d s for a total potential p e r fo r m a n c e p e r i o d of u p to 1 4 years.




https://www.defensedaily.com/cbp-awards-new-surveillance-tower-contracts-to­

atsc-gd-elbit/homeland-security/
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                                   < https://www.atscva.com>




            Advanced Technology Systems Company <

                  https:/ /www.atscva.com/>



                            -
                            -
                            -
CONTACT US »>




                                                                   NEWS
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►    ATSC Delivering Advanced Expeditionary Mobile Tactical Target Acquisition
Systems (MTTAS) To US Army For EUCOM Theater




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                                                               ,
    Advanced Technology
                                                                          77
     Systems Company
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 »   ATSC Completes U.S. Government Acceptance Testing for Integrated Fixed

 Tower Kits and Mobile Border Surveillance Vehicle on a CENTCOM Border

 Security Program




ATSC Receives Task Order 3 As Part Of The SSS Program Of Record ($193M IDIQ)

From The United States Army


Advanced Technology Systems Company (ATSC) is pleased to announce the award

of Task Order 3 under the Army's Security Surveillance System (SSS) Program of

Record. To this date, seven SSS systems have successfully passed Government

Acceptance Testing, which demonstrates ATSC's commitment to delivering high

performance solutions for critical defense needs. Task Order 3 continues the

production of additional SSS units, while continuously strengthening our

partnership with the U.S. Army and supporting their mission-critical surveillance

requirements. ATSC remains committed to ensuring our nation's warfighters are

supplied with the necessary tools and capabilities addressing our nation's most

pressing and complex security needs.




     "I am very proud of our team for their hard work and dedication to


     continuous improvement of these important security systems for our


     Armed Forces. We are grateful for the trust placed in us and we look


     forward to the delivery of these security systems in support of existing


     and emerging security requirements."


     says Paul Debs, President , ATSC.




                                                   Advanced Technology

                                                    Systems Company




                                                             ATSC PropnataryDJ
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• US Department of Defense (DoD) Awards ATSC Multi-Million Dollar Contract

to Deliver Integrated Fixed Towers (IFT) for Security Cooperation Partner


August 21, 2024- Advanced Technology Systems Company (ATSC) is pleased to

announce that it has been awarded a contract to deliver 36 Integrated Fixed Towers


(IF Ts) under its current Mobile Surveillance Sensor Security (MS) System Phase Il

program. This new award directly complements and augments ATSC's existing and

future fielded mobile and relocatable border surveillance systems. ATSC's family of

systems' continued success further reinforces its position as a trusted and leading

provider of integrated border, maritime, and critical infrastructure security and


persistent surveillance




ATSC's IFTs monitor and control multi-domain boundaries with the best in-class

hardware and software, including Integrated Command & Control (C2) while

monitoring, collecting, analyzing and disseminating actionable intelligence &


operational data.   As a result, ATSC's integrated systems provide a real time common

operating picture (COP) delivering situational awareness from the tactical edge to

local, regional, and national levels of command.




"ATSC could not be prouder to continue to provide mission critical systems and

solutions through the enduring trust and confidence of our customers. In today's

ever-evolving global security climate, ATSC continues to be a proven "go-to" leader

in solving our clients' most pressing requirements,"   states Paul Debs, President, ATSC,


McLean, Virginia.




Advanced Technology Systems Co.




      DroneSting"
     Counter-UAS Solution




►   ATSC Supports JCD Counter Swarm Event At Yuma Proving Grounds
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                                Go
                         Advanced Technology Systems Co.




... Advanced Technology Systems Company Expands Al-Powered Border

Surveillance Tower Technology


ATSC's integrated autonomous surveillance towers protect over 26,000km of border

perimeters globally.   The company's autonomous and highly-customizable systems

are built for long range protection, scalability, and affordability




McLean, VA - For over two decades, Advanced Technology Systems Company <

https://www.atscva.com/> (ATSC) hos been a trusted partner to the Deportment of

Defense, Department of Homeland Security, and security cooperation partner

nations   with their development, deployment, and support of autonomous

surveillance towers protecting highly contested borders in numerous     countries.

ATSC's nationwide border security solutions are upgraded with the latest artificial

intelligence software and customizable sensor packages to help track people,

vehicles, drones, and other "objects of interest" at extended range




"Toking feedback from deployed systems, front line operators, and government

experts, we hove upgraded our cutting-edge surveillance towers and force

protection systems with advanced technologies to serve as a force multiplier for

servicemen and servicewomen managing critical national security missions,"

explained Habib Debs, Chairman and CEO of ATSC




ATSC has been an under-the-radar Prime Contractor the past two decades securing

aver $650M in U.S. and allied Government contracts without publicity of the

achievements.   The company successfully secured highly-competed programs

critical to national security over traditional prime defense contractors and well­

funded venture backed companies by fusing intuitive software with the latest

hardware advancements, and at prices that governments can affordably scale.




"Our company employs the most impassioned veterans, technologists, and product

strategists around the world to bring the most operationally-effective and future­

proofed force protection and border tower solutions to military personnel and first

responders - at a fair price   We are laser-focused on delivering disproportionate

value for the most price competitive to give our customers an advantage," said Paul

Debs, President of ATSC.




ATS's Next Generation Tower Systems< https://www.atscva.com/capabilities/>

are designed to autonomously detect, classify, track, and defeat "objects of interest"

using state-of-the-art artificial intelligence, sensor fusion, and long-range advanced

hardware.   Built from the ground up to be highly modular and configurable to
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evolving customer requirements, ATSC's systems are interoperable with over 150

different sensors and effectors.




The company's specialization in fusion of combat-proven radar, optics, electronic

warfare sensors, networked communication systems, and kinetic/non-kinetic efforts

into an intuitive user display gives military , government, and                            commercial    customers




access to pur p ose- b u ilt and             proven     solutions     <


https://www.atscva.com/products/> that safely monitor ond protect borders and

critical   infrastructure




To learn more about ATSC's integrated border surveillance and force protection

solutions,    contact    info@atscva.com.




ABOUT ATSC:

Advanced Technology Systems Company < https://www.atscva.com/products/> is

a private, high growth technology company that builds cutting-edge security

sol u tions    r mi l itar y ,
              fo                 g   overnment, an d commercial              c   ustomers. ATSC solutions hel p

c   ustomers make       b etter, smarter, faster decisions that save                   l   ives.   The company's

technology autonomously protects over 26,000km of highly-contested borders and

is   continuously    adapting          to   latest   emerging      threats   facing   servicemen       and




servicewomen on the front lines.                     ATSC's technology is trusted by dozens of

customers including the U.S. Army, U.S. Air Force, U.S. Navy, U.S. Customs and Border

Protection,    and    international          military   allies.   Visit   www.atscva.com           <

http://    www.atscva.com> to learn more.




► Advanced Technology Systems Company's (ATSC) Mobile Border Surveillance
Vehicles (MBSV)
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»   Dr. Bruce Jette Joins the ATSC Board of Advisors




                              Friday, November 17, 2023




• OHS CBP- Award ATSC $1.BB IDIQ to secure the entire USA border with

Integrated Surveillance Towers (1ST) Consolidated Tower & Surveillance

Equipment (CTSEJ


McLean, Virginia, September 7, 2023 - The US Customs and Border Protection

(CBP) announced today the award of CTSE $1.8B I D I Q and DO#1 $23,421,87751

(#70B02C23D00000024) to Advanced Technology Systems Company (ATSO),

Mcleon, VA to support the consolidation of its current and future border and

maritime security surveillance towers
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The 1ST Program will use the CTSE IDIQ contracts over 14 years of total performance

to acquire medium and long-range surveillance towers. These surveillance towers

will be comprised of multiple subsystems that allow U.S. Border Patrol Agents to

continuously detect, identify, classify, and track Items of Interest (lol) 24 hours a day,

seven days a week within each tower system's area of coverage under typical

operating conditions found along the southern and northern borders. Each CTSE

surveillance tower will be customized to the threat and operational/ environmental

conditions of the Border Patrol Station Area of Responsibility (AoR) In which they will

be deployed. CTSE consists of the following subsystems: Tower subsystem. Power

subsystem, Instrumentation subsystem. and Communications subsystem. The 1ST

Program will acquire approximately 277 new 1ST towers in 53 separate USBP AoRs

and upgrade approximately 191 legacy surveillance towers in 31 separate AoRs.




"We are honored to have received this award in support of the Department of

Homeland Security and Customs and Border Protection's mission requirements. We

look forward to the execution and delivery of ATSC systems aimed at supporting

DHS/CBP efforts to improve security and operational control with leading, proven

integrated technologies· said Paul Debs, President ATSC"
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                              Wednesday, 15 September, 2021




• ATSC Awarded Third Contract in the Gulf Region for a Mobile Border

Intelligence, Surveillance and Reconnaissance System


Mcleon, Virginia, 15 September 2021 - The US Army Program Executive Office for

Command, Control and Communications - Tactical (PEO C3T) announced that

Advanced Technology Systems Company (ATSC) has been awarded a single award

contract under the GTACS II $5.1B IDIQ ATSC successfully executed Phases 1 and 2 of

the Border Surveillance programs and have proven to be o reliable partner. ATSC will

design, build, and install a Phase I l l Mobile Border Intelligence, Surveillance, and

Reconnaissance System with a Command and Control center in the Gulf region.




ATSC's CEO Habib Debs commented, "This awarded Task Order under GTACS II IDIQ

is the direct result of our Team's outstanding performance and our innovative Mobile

Border Command, Control, and Surveillance Solution."




                              Tuesday, 14 September, 2021




- ATSC Awarded Navy C41 Integrated International Solutions (CIIS) Task Order

in Morocco


Mcleon, VA (14 September 2021) - NAVWAR announced Advanced Technology

Systems Company (ATSC) has been awarded a competitive bid task order under the

Navy C4I Integrated International Solutions (CIIS) IDIQ for a Microwave Transmission

Network in Morocco. This award is through the PEO C4I - PMW 740 - Naval

Information Warfare Systems Command, San Diego, California.




ATSC'S CEO Habib Debs commented, "We are very proud of our team's innovation

and demonstrated capability as we continue to expand our C4ISR offerings in this

strategic region"
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                       Exhibit C


The present invention comprehends a chemical/biological/radiological/


nuclear/explosive/human/contraband detector unit with a disabling


locking system for protecting products that can be grouped into several


product groupings, from terrorist activity, and also for preventing


unauthorized access to and tampering with the storage and transport of


ordnance and weapons. The products grouped into what may be


referred to as:




   •   Product grouping 1 (storage & transportation)


   •   Product grouping 2 (sensors)


   •   Product grouping 3 (detector case; modified and adapted)


   •   Product grouping 4 (monitoring & communication devices)


   •   Product grouping 5 (communication methods)


   •   Product grouping 6 (biometrics)


   •   Product grouping 7 (authorized person)
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       "WHY" WAS THE SMARTPHONE INVENTED?


                              BY LARRY GOLDEN




THE GOVERNMENT          WAS GIVEN NOTICE OF THREE ECONOMIC STIMULUS


AND TERRORIST PREVENTION PACKAGES: "THE SAFERACK PROJECT", "THE


V-TECTION PROJECT", AND THE ANTI-TERRORISM PRODUCT GROUPING


(ATPG) PROJECT:


       Six months after the OHS was established on Nov. 25, 2002, Petitioner receive a


response letter on May 2 1 , 2003 from the Honorable Senator Fritz Hollings: "I have contacted


the Department of Justice and the Department of Homeland Security to try to be of assistance";


on June 3, 2003 from the Office of the Vice President, Dick Cheney: "[y]our correspondence has


been forwarded to the Department of Homeland Security for review. You will hear back directly


from the Department"; on October I , 2003 from the Honorable Senator Fritz Hollings: "[t]hank




                                                1
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you for contacting me regarding your difficulty with receiving a response from the Department


of Homeland Security"; on October 2 1 , 2003 from the Honorable Senator Lindsey Graham: "I


have contacted the Department of Homeland Security on your behalf. I have asked that they


review your request and respond directly to you"; on June 20, 2005 from the Office of the


President, George Bush: "[t]hank you for your letter regarding homeland security technology


procurement. Please know I have forwarded it to the Department of Homeland Security for


review and response. (STATUS REPORT: CD of Petitioner's Discovery Documents: CFC Case


No. 13-307C; Dkt. No. 1 0 1 ; filed 02/17/2017). Also, copies of the letters can be found on my


website: atpg-tech.com; click on Larry Golden ». The United States.




ADDITIONAL NOTICES GIVEN THE UNITED STATES




I. 2006: DoD/DARPA/SPO; BAA06-02; A.1.4 Defense against Chemical Biological


Radiological Weapons. Abstract for Review to the Attention of Deputy Director Brian Pierce,


Dr. Wayne Bryden, Mr. Thomas P. McCreery




II. 2006: HSARPA/SBIR; I.I DHS S&T TOPICS; SBIR/STTR TOPIC NUMBER: H-SB06.2­


0 0 1 ; TITLE: SYSTEM FOR DESIGNING AND EVALUATING CHEMICAL OR


BIOLOGICAL AGENT SENSOR NETWORKS. Abstract for Review to the Attention of: Mr.


Mike McLoughlin




Ill. 2006: HSARPA/SBIR; I. I DHS S&T TOPICS; SBIR/STTR TOPIC NUMBER: H-SB06.2-


003; TITLE: ADVANCED UNATTENDED GROUND SENSOR (UGS) TECHNOLOGIES.


Abstract for Review to the Attention of: Ms. Leslee Shumway




IV. 2006: SBIR/STTR, SWIFT Tour September, 2006; Topic: Ten federal agencies collaborate


to sponsor the 2006 SWIFT Tour; Executive Summary submitted to each Federal agency


participating in the SWIFT Tour included NIH, DOT, NSF, DOE, Navy, Air Force, Army,


DARPA, DoD, Chem-Bio Defense, NASA, and the DHS. Deborah Akwei at (202) 889-5064.




                                                 2
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V. 2006: DHS/HSARPA/SBIR Science and Technology (S&T) Directorate Topic: High risk,


high payoffR&D initiatives Executive Summary/Proposal submitted by E-mail correspondence


to: Ms. Elissa (Lisa) Sobolewski; DHS/SBIR Program Manager




VI. 2007: DHS; S&T Directorate Borders and Maritime Division Topic: "White Paper"


Submission for SAFECON (BAA07-02A); RFI Submitted to the attention of: Margo L. "Margo"


Graves; Team Lead/ Contracting Officer




VII. 2007: U.S. Arrny/ECBC; Topic: ECBC agreed to develop chemical, biological, and


explosives detectors, under the SAFECON BAA. Collaborative Agreements with: Daniel M.


Nowak; Program Manager. Contact: 410-436-5631; daniel.nowak@us.army.mil. Dr. Augustus


W. Fountain III; Chief Scientist. Contact: 410-436-0683; augustus.w.fountain@us.army.mil




VIII. 2007: Senate Committee on Homeland Security and Governmental Affairs. Topic:


Container Security: "White Paper" Submission for DHS; SAFECON Project; RFI Letter sent to


the Attention of: Joe Lieberman; Chairman Senate Committee on Homeland Security and


Governmental Affairs, 340 Dirksen Senate Office Building, Washington, D.C. 20510




IX. 2007: US Naval Research Laboratory (NRL); Topic: Biochemical, and logistical


preparations to integrate a biosensor with an appropriate air collector. Collaborative Agreements


with: Chris R. Taitt; Program Manager. Contact: 202-404-4208; chris.taitt@nrl.navy.mil; Paul T.


Charles; Contact person. Contact: 202-404-6064; paul.charles@nrl.navy.mil




X. 2007: DOE/ORNL Topic: Oak Ridge National Laboratory agreed to develop Chemical,


Explosive, Radiological, and Nuclear detectors. Collaborative Agreements with: Blair Ross;


Program Manager Contact: 865-576-1034; rossb@ornl.gov. Richard L. Stouder; Contact Person.


Contact: 865-574-3053; stouderrl@ornl.gov




XI. 2007: DHS; S&T Directorate Office of Procurement Operations. Topic: "White Paper"


Submission for "CELL-ALL Ubiquitous Biological and Chemical Sensing" (BAA07-10); RFP.


Submitted to the attention of: Margo L. "Margo" Graves; Team Lead/ Contracting Officer




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XII. 2007: During the year 2007, several conversations were held with Jim Culbertson (On-Star);


General Motors Global Process Leadership in Warren, Ml; General Motors Research and


Development (R&D) Center; and, General Motors Technology Portal, Silicon Valley, CA. A


letter was also sent to the Chairman & CEO of General Motors, G. Richard Wagoner, informing


Mr. Wagoner that the General Motors "Stolen Vehicle Slowdown System" the company


announced in October, 2007, is in fact the same system I discussed with several of its employees


during the year 2007.                   A copy of the letter written to the Chairman and CEO of General Motors:




                                                             ATPG TECHNOLOGY, LLC

                                                               Anti-Terrorism Product Grouping

                                                                        Larry Golden, CEO

                                                        522 Peach Grove Place, Mauldin, SC 29662

                                        E-mail: lgolden5605@charter.net; E - m a i l: atpg-tech@charter.net

                                                        Bus. 864-288-5605 / Mobile: 864-320-0012




April 14, 2008




General Motors Corporation

G. Richard Wagoner, Jr, Chairman & CEO

P.O. Box 33170

Detroit, Ml 48232-5170




Dear Mr. Wagoner:




I've made several attempts to contact Representatives of GM. I talked with and forwarded information to a few

Representatives of both OnStar and GM last year during the months of March and April of 2007.




I shared with them technology I had at that time "patent pending" that is designed to stop moving vehicles. I wanted

On Star and GM to collaborate with me in responding to a Government solicitation.




I tried again to contact OnStar and GM when you made the a n n o u n c e m e n t on October 8, 2007 of having technology that

will stop moving vehicles            which     caused   your    share   price   to   move   upward    $4   dollars   over   the   next   4 days   (value,   $2.2



billion).




I   need   to   know   if you have a patent for the technology. If you do,                  please   send that in fo rmat i on to me. My Patent Attorney

a nd   th e   PTO   d idn't   find   one. My patent app lic ation        a nd   all t h e cl a i ms have been allowed by the PTO.




If I d on't hear       back   from    you in   a   c ouple   of days, my plans are to do a cease-and- desist for the 2 m ill i on , 2009 vehicles

you have s cheduled to roll out with that technology.




T han k s,



Larry Golden

Larry Golden, CEO




                                                                                      4
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PREVENTING VEHICULAR TERRORIST ATTACKS WITH A STALL, STOP,


VEHICLE SLOWDOWN SYSTEM




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Patent Claim      A vehicle adapted for receipt of a signal from a remote location to remotely


control the vehicles' stall-to-stop means or vehicle slowdown means, comprising:


         at least one of a brake, a foot peddle, a light, a speed control, an ignition system, a


steering wheel, a transmission, a fuel system, and a motor;


         an electrical system in electrical communication with at least one of the brake, the foot


peddle, the light, the speed control, the ignition system, the steering wheel, the transmission, the


fuel system, and the motor;


         a computer system in signal transmission communication with at least one of the brake,


the foot peddle, the light, the speed control, the ignition system, the steering wheel, the


transmission, the fuel system, and the motor;


         a receiver in electrical communication with the electrical system and adapted to receive at


least one control signal from a remote location to activate a stall-to-stop means or vehicle


slowdown means;


         a receiver in computer communication with the computer system and adapted to receive


at least one control signal from a remote location to activate a stall-to-stop means or vehicle


slowdown means; and


         wherein the at least one control signal is communicated from the receiver to the electrical


system or the computer system to control at least one of the brake, the foot peddle, the light, the


speed control, the ignition system, the steering wheel, the transmission, the fuel system, and the


motor;


         wherein a user determines that the vehicle has been stolen and in response initiates a


distress signal communication over a communication network that causes communication


between the vehicle and the remote location and that then causes the at least one control signal to


be sent from the remote location via the communication network that includes at least one of a


cell phone tower and a satellite.




XIII. 2008: DHS; S&T Directorate Topic: "Read-Ahead" request made by Edward Turner prior


to a face-to-face meeting at DHS. Subject matter: "Multi detection; Cell phone detection; Lock


disabling; and, Stall-to-Stop "Read-Ahead" document submitted to; and face-to-face meeting


held with: Edward Turner; DHS Program Manager. Doug Lane; DHS Liaison




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XIV. 2008: DHS S&T LONG RANGE BROAD AGENCY ANNOUNCEMENT (BAA08-01).


Topics: Cargo Container Security Device; Cell Phone Detection System; Stall-to-Stop Device


"White Paper" submitted to the attention of: David Newton; Acting Division Head, Borders and


Maritime Division. Contact: S&T-BordersMaritime@dhs.gov




XV. 2008: DoD/DARPA Strategic Technologies Office; (BAA) 08-10. Topic areas: 1- WMD


Defense; 2- Small Unit Operations; 3- Maritime Operations; 4- Core Strategic Technologies.


Submitted: A one-page "Executive Summary" via the web-based TFIMS application at


http://www.tfirms.darpa.mil/baa




XVI. 2008: DHS; S&T Directorate Office of Procurement Operations "TRUST" INDUSTRY


DAY. Topic: A device to detect WMD threats, Contraband; CBRNE substances contained within


a maritime shipping container. Panel discussion and Proposal submission: Dave Masters;


"TRUST" Program Manager




XVII. 2009: DHS; S&T Directorate Office of Procurement Operations Topic: "White Paper"


Submission for "TRUST" solicitation RFI. Submitted to the attention of: Emily Graham,


Contract Specialist. Contact: 202-254-5611; Emily.graham@dhs.gov




XVIII. 2009: DHS; S&T Directorate Office of Procurement Operations. Topic: Proposal


Submission for "CELL-ALL Ubiquitous Biological and Chemical Sensing" (BAA07-10); E-mail


correspondence and proposal to: Stephen Dennis, Program Manager


http://cell all. webcaston. tv/home/homepage. php>




XIX. 2009: DHS; S&T Directorate. Topic: "TRUST" (BAA) 09-17: A device to detect WMD


threats, Contraband; CBRNE-H substances contained within a maritime shipping container. Full


proposal submission made to the attention of: Director oflnnovation. Contact: BAA09-


17@hq.dhs.gov




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XX. 2009: DHS LEGISLATIVE AFFAIRS. Topic: Letter of support sent from the Honorable


Congressman Bob Inglis office 4 District of South Carolina in reference to the "TRUST


project. Letter sent to: Eddie Gleason, DHS Director; OLA




XXI. 2010: Subcommittee on Emerging Threats, Cybersecurity, Science and Technology. Topic


Area: CBRNE Security Meeting Request with U.S. Representative Yvette D. Clarke 1029


Longworth HOB Letter sent to the Attention of: Algene Sajery FBO / U.S. Representative Yvette


D. Clarke, 1029 Longworth HOB, Washington, DC 20515




XXII. 2010: DHS; S&T Directorate (LRBAAI0-01). Borders and Maritime Division. Topic:


Border Security; Maritime Security; Cargo Security. Title of "White Paper" proposal:


"Integrated Systems for Border and Maritime Security. "White Paper" submitted to: SandT­


BordersMaritime@dhs.gov




XXIII. 2 0 1 1 : DHS; S&T Directorate (LRBAAI0-01 ).Borders and Maritime Division. Topic:


Border Security; Maritime Security; Cargo Security; Title of"White Paper" proposal:


"Integrated Systems for Border and Maritime Security". Response Letter from: Cherita Thomas,


Associate Director/Contracting Officer. Department of Homeland Security Office of


Procurement Operations Science and Technology Acquisition Division




XXIV. 2 0 11 : White House Office of Science and Technology Policy. Executive Office of the


President. Topic Area: Brake O.verride System. Letter sent to the Attention of: Aneesh Chopra,


U.S. Chief Technology Officer, 725 17 Street Room 5228, Washington, DC 20502




XXV. 2 0 11 : Larry Golden's written Testimony Topics: Mandate for brake override systems;


Dual-use technology; Economic stimulus package. Prepared for: The Honorable Aneesh Chopra


U.S. Chief Technology Officer White House Office of Science and Technology Policy Executive


Office of the President




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XXVI. 2 0 1 1 : Larry Golden's written Testimony. Topics: Mandate for brake override systems;


Dual-use technology; Economic stimulus package. Prepared for: The Honorable David L.


Strickland Administrator National Highway Traffic Safety Administration




XXVII. 2 0 1 1 : Larry Golden's written Testimony. Topics: Mandate for brake override systems;


Dual-use technology; Economic stimulus package. Prepared for: Committee on Energy and


Commerce Subcommittee on Oversight and Investigations U.S. House of Representatives

                                                                                  '




XXVIII. 2 0 1 1 : Larry Golden's written Testimony. Topics: Mandate for brake override systems;


Dual-use technology; Economic stimulus package. Prepared for: The Honorable Trey Gowdy


S.C. Representative; District Number 4. U.S. House of Representatives




XXIX. 201 I : Larry Golden's written Testimony. Topics: Mandate for brake override systems;


Dual-use technology; Economic stimulus package. Prepared for: The Honorable Nikki Haley,


Governor S.C. Office of the Governor




XXX. 2013: Secretary's Office ofDHS. Submissions made to: Ms. Janet Napolitano, Secretary


ofDHS. Mr. Ivan K. Fong, General Counsel ofDHS




                              BORDER SECURITY




       SBinet was a program initiated in 2006, created under U.S. Customs and Border


Protection to design a new integrated system of personnel, infrastructure, technology, and rapid


response to secure the northern and southern land borders of the U.S. DRS decided to have


development of SBinet managed by a single private contractor.


       On September 21, 2006 DRS announced the award of the SBinet contract to Boeing.


Boeing, holding the primary contract, subcontracted many portions of the design, development,


implementation, and maintenance of the program, while Boeing handled the majority of the


management aspects.


       SBinet was controlled by an indefinite delivery/indefinite quantity contract extending


through September 30, 2009, with three one-year option periods. The only commitment DRS



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made was to pay for a 28-mile pilot section of SBinet in the Tucson sector of the Arizona­


Mexico border. The cost of the pilot section was estimated at $67 million. The value of Boeing's


three-year contract to build SBinet across both the northern and southern borders was estimated


by various sources at various times to be between $2 billion and $8 billion. The technology


included:


        Tower system: Towers were meant to be set up along the border, with varying


surveillance and communications equipment. Towers were slated to include radar, long-range


cameras, broadband wireless access points, thermal imaging capabilities, ground sensors, and


motion detectors.


        Command centers: All of the information received by sensors were meant to go to


command centers, where a "common operating picture" would have been compiled and shared


with other agencies. The common operating picture would have appeared on computer screens as


a geospatial map, where border entries are tracked in real time. Command center personnel were


supposed to be able to click on a given entry, view the entry, and assess the threat using the long­


range cameras on the towers.


        Border Patrol response: Border Patrol agents were meant to carry PD As with GPS


capabilities, to allow the command center to track the location of agents prohibiting illegal


entries and watch the encounter in real time on the common operating picture. Additionally, the


PD As were supposed to have advanced finger print identification technology, to allow Border


Patrol agents to identify an individual at the prohibition site immediately and the ability to view


and control tower cameras from their PDA. In addition, Border Patrol agents will be given


laptops in the patrol car.


       Airborne sensors: Airborne sensors on unmanned aerial vehicles (UAVs) were meant to


fill in gaps in the "virtual fence" in remote areas where building and maintaining towers was


impractical.


        Janice Kephart of the Center for Inunigration Studies defended SBINet, writing, "SBinet


is still operational where it was deployed, despite the widespread notion that the light switch was


turned off. She stated, "the reason SBinet is still operating is because it works".




        DHS Secretary Janet Napolitano ordered an assessment of the project in January 2010


and in March 2010 froze additional funding. On Jan. 14, 2 0 1 1 , DHS said it would redirect




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funding originally intended for SBinet-including fiscal 2 0 1 1 SBlnet funds-to the new border


security technology effort.




      S e c u r i n g Open              Borders




                                                                                              PTZ
                                                                                             Carrera

Surveittae
                                                                                               «




                                                 urrveianc«

                                                   vehicle




                                                      i                                      order crossing




                         Local Control
                                                 +54                  Local Control

                              Center




                                            �I
                                          Main   tent        tarter




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             Wireless

         Underground                                                                                                    Underground

          Sensor Node                                                                                         ,   Communication Link
                                        Database and
  «
                                                                                                                  underground to Surface
    '       iateway                          Server

    (       Node                                                                                          ¢        Communication Link




   [\    Surface sink

 °


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Surber GA0 alyis 0 U.S Customs ad Borer Protection tCBP) lormaior, CBP (0bolos). ] GA0-17.-1$2




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Patent Claim     A multi sensor detection system capable of identifying, monitoring, detecting,


and securing those critical areas (e.g.,   U.S. borders), sites, locations and facilities vulnerable to


terrorist activity that can be integrated with and interconnected to watchtowers to form a


network, comprising:


        at least one of an integrated watchtower, a fixed watchtower, a surveillance watchtower, a


watchtower capable of scanning, a watchtower capable of monitoring, a watchtower equipped


with sensors or a watchtower interconnected to a central monitoring terminal for sending signals


thereto and receiving signals therefrom;


        wherein the at least one watchtower is equipped with a remote video surveillance camera


that provides at least one night vision means of surveillance or an infrared human detection


means of surveillance capability and is integrated into a watchtower's remotely controlled system


that can monitor, detect, track, and identify humans;


        a communication device of at least one of a mobile communication device, a mobile


communication unit, a portable communication device, portable communication equipment, a


wired communication device, a wireless communication device, a monitoring site, a monitoring


terminal, a web server, a desktop personal computer (PC), a notebook personal computer (PC), a


laptop, a satellite phone, a smart phone, a cell phone, a Universal Mobile Telecommunications


System (UMTS) phone, a personal digital assistant (PDA), a liquid crystal display (LCD)


monitor, a satellite, or a handheld, interconnected to a monitoring equipment for sending signals


thereto and receiving signals therefrom;


        a communication method of at least one of a Bluetooth, Wi-Fi, Wi-Max, Internet,


Ethernet, Broadband, Network Bandwidth, Wireless, Wired, Text Messaging, Cellular, Satellite,


Telematics, Wide Area Network (WAN), Wireless Wide Area Network (WWAN), Local Area


Network (LAN), Radio Frequency (RF), Broadband Wireless Access (BWA), Global Positioning


System (GPS), or central processing unit (CPU), used to interconnect the communication device


to the monitoring equipment for sending signals thereto and receiving signals therefrom;


        a plurality of sensors for detecting or sensing humans that is at least one of a chemical


human sensor, biological human sensor, radiological human sensor, infrared human detector,


motion human detector, or image human detector, interconnected to or disposed within the multi­


sensor detection system for sending signals thereto and receiving signals therefrom;


        a mobile multi-sensor detection device that is at least one of a ground surveillance sensor,




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a surveillance radar sensor, a surveillance camera, or a stand-alone surveillance scanner, that is


mounted in, on, or upon at least one of a car, a truck, a camper, a bus, a van, an unmanned aerial


vehicle (UAV), an unmanned ground vehicle (UGV), or a utility vehicle, interconnected to the


monitoring equipment for sending signals thereto and receiving signals therefrom;


       a hand-held multi-sensor detection device that is capable of at least one of thermal


imaging or infrared imaging for monitoring, detecting, tracking and identifying humans, that is


controlled or operated by at least one authorized person who is an owner, pilot, conductor,


captain, drivers of vehicles identified as high security, airport security, police, highway patrol,


security guard, military personnel, hazardous material (HAZMAT) personnel, Central


Intelligence Agency (CIA), Federal Bureau oflnvestigation (FBI), Secret Service, port security


personnel, border security personnel, first responders, or monitoring site and terminal personnel,


interconnected to the monitoring equipment for sending signals thereto and receiving signals


therefrom, wherein the authorized person manually initiates the signal to the monitoring


equipment to alert upon the monitoring, detecting, tracking and identifying of the human;


       whereupon, detection by the mobile multi-sensor detection device causes an automatic


signal transmission to be sent to, or received from, any products in product grouping categories


of storage and transportation, sensors, detector case; modified and adapted, monitoring and


communication devices, communication methods, biometrics;


       whereupon, detection of an unauthorized vehicle, an unauthorized driver or operator of a


vehicle or mobile unit, a signal is sent from the communication device to the vehicle or mobile


unit to stop, stall or slowdown the vehicle;


       wherein, a communication device of at least one of a mobile communication device, a


mobile communication unit, a portable communication device, portable communication


equipment, a wired communication device, a wireless communication device, a monitoring site,


a monitoring terminal, a web server, a desktop PC, a notebook PC, a laptop, a satellite phone, a


smart phone, a cell phone, a UMTS phone, a PDA, a LCD monitor, a satellite, or a handheld,


interconnected to the monitoring equipment for sending signals thereto and receiving signals


therefrom, comprising a Jock disabling mechanism that is able to engage (lock), and disengage


(unlock) and disable (make unavailable) after a specific number of tries.




Patent Claim     The multi sensor detection system of claim I , capable of identifying,




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monitoring, detecting, and securing those critical areas (e.g., U.S. borders), sites, locations and


facilities, further includes the identifying, monitoring, and detecting of terrorist, that is at least


one of an illegal, radical, fanatic, activist, revolutionist or rebel.




Patent Claim      The multi-sensor detection system of claim 1, further includes a global


positioning system (GPS) receiver adapted for communication with at least one satellite.




Patent Claim      The multi-sensor detection system of claim 1 , further includes a navigation


system adapted for communication with at least one of the surveillance watchtowers.




Patent Claim      The multi-sensor detection system of claim 1, capable of forming a wired or


wireless sensor network.




Patent Claim      The multi-sensor detection system of claim 1 , capable of transmitting


identification data, location data, power source data, and sensor data.




Patent Claim      The multi-sensor detection system of claim 1, capable of being embedded into;


placed in, on, or adjacent to at least one of the products in the product grouping categories or an


area targeted for monitoring.




Patent Claim      The multi-sensor detection system of claim 1, capable of sending signals thereto


and receiving signals therefrom to engage (lock), disengage (unlock) and disable (make


unavailable) a lock after a specific number of tries that is interconnected to the multi sensor


detection system or monitoring equipment.




Patent Claim      The multi-sensor detection system of claim 1, capable of transmitting biometric


and authentication data include, but is not limited to, at least one of fingerprint recognition, voice


recognition, face recognition, hand geometry, retina scan, iris scan, heart rate, pulse and


signature.




Patent Claim      The multi-sensor detection system of claim 1 , interconnected with a camera to




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view the environment in real-time or to store the data for transmission and review at a later time.




Patent Claim    The multi-sensor detection system of claim I , interconnected with a camera;


light and video sensors to allow the user to view the environment from at least one of a cell


phone, smart phone, PDA, handheld, laptop, desktop, workstation or monitoring site.




UNMANNED AERIAL VEHICLE (UAV) / UNMANNED GROUND VEHICLE (UGV)




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Patent Claim      The vehicles' stall-to-stop means or the vehicles' slowdown means of claim 44,


further can be adapted, modified or designed to include a vehicle designed to perform as a


driverless or autonomous vehicle for stopping or slowing a vehicle that is in operation with or


without a user, driver or operator inside the vehicle.




Patent Claim      The multi-sensor detection and automatic/mechanical lock disabler system of


claim 1 2 wherein the cell phone detector case includes telecommunication and radio


communication means that are interactive with any type of motive vehicle that includes but is not


limited to cars, trucks, vans, SUVs, trains, subways, boats, ships, UAVs, UGVs, and airplanes.




Patent Claim      The communication device of claim 1 1    wherein the communication device


includes telecommunication, telematics, long and short range radio frequency communication




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means that are interactive with any type of motive vehicle that includes, but is not limited to cars,


trucks, vans, SUVs, trains, subways, boats, ships, UAVs, UGVs, and airplanes.




Patent Claim     The multi-sensor detection system of claim 1 0 3 wherein the cell phone, the


smart phone, and the cell phone detector case includes telecommunication, telematics, long and


short range radio frequency communication means that are interactive with any type of motive


vehicle comprising a car, truck, van, SUV, train, subway, boat, ship, UAV, UGV, or airplane.




ELECTROMAGNET PULSE, ELECTROSTATIC DISCHARGE, MI CROW A VE BEAM


OR RADIO FREQUENCY TO STALL, STOP, OR SLOW-DOWN A VEHICLE




Patent Claim     A vehicle adapted for receipt of a signal from a remote location to control the


vehicle's stall-to-stop means or vehicle slowdown means, comprising:


             at least one of a brake, a foot peddle, a radar, a camera, a navigational system, a


light, a speed control, an ignition system, a steering wheel, a transmission, a fuel system, and a


motor;




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         an electrical system in electrical communication with at least one of the brake, the foot


peddle, the radar, the camera, the navigational system, the light, the speed control, the ignition


system, the steering wheel, the transmission, the fuel system, and the motor;


         a computer system in signal transmission communication with at least one of the brake,


the foot peddle, the radar, the camera, the navigational system, the light, the speed control, the


ignition system, the steering wheel, the transmission, the fuel system, and the motor;


         a receiver in electrical communication with the electrical system and adapted to receive at


least one control signal from a remote location to activate a stall-to-stop means or vehicle


slowdown means to stall or slow down the vehicle;


         a receiver in computer communication with the computer system and adapted to receive


at least one control signal from a remote location to activate a stall-to-stop means or vehicle


slowdown means to stall or slow down the vehicle; and


         wherein the at least one control signal is communicated from the receiver to the electrical


system or the computer system to control at least one of the brake, the foot peddle, the light, the


speed control, the ignition system, the steering wheel, the transmission, the fuel system, and the


motor;


         wherein the at least one control signal is sent due to unauthorized use of the vehicle, and


wherein an originating first signal that eventually causes the at least one control signal to be sent


is generated upon initial verification of the unauthorized use of the vehicle;


         at least one mobile, portable, or fixed device capable of sending the at least one control


signal from the remote location that is of electromagnet pulse, electrostatic discharge, microwave


beam or radio frequency, to disable the computer, electrical, fuel and air systems of the vehicle


or a combination of the computer, electrical, fuel and air systems that include but are not limited


to the brakes, foot peddle, lights, speed controls, ignition, steering, transmission, and horsepower


of the motor.




AUTONOMOUS VEHICLE EQUIPPED WITH AN ELECTROMAGNET PULSE,


ELECTROSTATIC DISCHARGE, MICROWAVE BEAM OR RADIO FREQUENCY TO


STALL, STOP, OR SLOW-DOWN A VEHICLE




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Patent Claim        A vehicle adapted for receipt of a signal from a pre-programmed automated


system to control    the vehicles' stall-to-stop means or vehicle slowdown means, comprising:


       at least one of a brake, a foot peddle, a radar, a camera, a navigational system, a light, a


speed control, an ignition system, a steering wheel, a transmission, a fuel system, and a motor;


       an electrical system in electrical communication with at least one of the brake, the foot


peddle, the radar, the camera, the navigational system, the light, the speed control, the ignition


system, the steering wheel, the transmission, the fuel system, and the motor;


       a computer system in signal transmission communication with at least one of the brake,


the foot peddle, the radar, the camera, the navigational system, the light, the speed control, the


ignition system, the steering wheel, the transmission, the fuel system, and the motor;


       a receiver in electrical communication with the electrical system and adapted to receive at


least one control signal from a pre-programmed automated system to activate a stall-to-stop


means or vehicle slowdown means to stall or slow down the vehicle;




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        a receiver in computer communication with the computer system and adapted to receive


at least one control signal from a pre-programmed automated system to activate a stall-to-stop


means or vehicle slowdown means to stall or slow down the vehicle; and


        wherein the at least one control signal is communicated from the receiver to the electrical


system or the computer system to control at least one of the brake, the foot peddle, the radar, the


navigational system, the light, the speed control, the ignition system, the steering wheel, the


transmission, the fuel system, and the motor;


        wherein the receivers, the computer system, and the electrical system are part of at least


one pre-programmed operating system of unintended acceleration, pre-crash, reverse


acceleration, stabilization, lane departure, cruise control, driverless vehicle, and chemical


biological radiological nuclear explosive (CBRNE) detection;


        wherein the control signal to activate the stall-to-stop or vehicle slowdown is not remote


from the vehicle and the signal to activate is initiated when at least one of the vehicle's operating


systems for monitoring the vehicle's condition exceeds a pre-programmed vehicle operating


system parameter.




Patent Claim      The vehicles' stall-to-stop means or the vehicles' slowdown means of claim 23,


further including a global positioning system (GPS) receiver adapted for communication with at


least one satellite.




Patent Claim      The vehicles' stall-to-stop means or the vehicles' slowdown means of claim 23,


pre-programmed automated system further including a cellular communication device adapted


for communication with at least one cell phone tower; further including, at least one satellite


connection capable of communicating with the pre-programmed automated system; further


including, at least one modem connection for short and long range radio frequency transmissions


with the pre-programmed automated system.




Patent Claim      The vehicles' stall-to-stop means or the vehicles' slowdown means of claim 23,


further includes vehicles pre-programmed to automatically activate the stall-to-stop means or


vehicle slowdown means when sensors of at least one of; navigation, camera, radar, guidance,


motion, distance, weight, height are interconnected to the vehicles onboard electrical system




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and/or computer system for controlling at least one of a brake, a brake override system, an


electronic throttle, a foot peddle, a light, a speed control, an ignition system, a steering wheel, a


transmission, a fuel system, and a motor.




Patent Claim     The vehicles' stall-to-stop means or the vehicles' slowdown means of claim 23,


further includes vehicles pre-programmed to automatically activate the stall-to-stop     means or


vehicle slowdown means; when there is an in-vehicle notification warning of: crash, vehicle


parking, speeding; driving too fast for conditions; construction zone; school zone; accident


ahead; brake failure; acceleration/deceleration failure; acceleration/deceleration cruise control.




Patent Claim     The vehicles' stall-to-stop means or the vehicles' slowdown means of claim 23,


further includes vehicles pre-programmed to automatically activate the stall-to-stop means or


vehicle slowdown means; when the vehicle is in forward movement, backward or reverse


movement, side movement, cruise control movement, or lane departure movement or when the


vehicle moves outside a designated perimeter or zone.




Patent Claim     The vehicles' stall-to-stop means or the vehicles' slowdown means of claim 23,


further includes vehicles pre-programmed to automatically activate the stall-to-stop means or


vehicle slowdown means; when there is a detection of a bomb, weapon of mass destruction,


chemical or biological agents, located in, on, or adjacent to a vehicle.




MARITIME CARGO CONTAINER DETECTION DEVICE




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Patent Claim      A maritime cargo container multi-sensor detection system for monitoring


products and for detecting at least one explosive, nuclear, contraband, chemical, human,


biological, or radiological agents so that terrorist activity can be prevented, comprising:


        a plurality of sensors for detecting the at least one chemical, biological, radiological,


explosive, nuclear, human or contraband agents and capable of being disposed within a multi­


sensor detection device;


        monitoring equipment located at a determinate site that is remote from the maritime


cargo container and not in contact with the maritime cargo container, to include, but is not


limited to at least one of computers, laptops, notebooks, PCs, handhelds, readers, cell phones,


PDAs or smart phones for the receipt and transmission of signals therebetween;


        at least one cell phone tower interconnected to the monitoring equipment for sending


signals thereto and receiving signals therefrom;


        at least one satellite capable of transmitting signals to the monitoring equipment and


receiving signals from the monitoring equipment;


        at least one satellite or at least one cell phone tower capable of signal communication


with the maritime cargo container multi sensor detection device;


        at least one modem for short and/or long range radio frequency communication with the


maritime cargo container multi sensor detection device;


        at least one interface for establishing a remote, global communications and tracking


network that works with the maritime cargo container multi-sensor detection device;


        at least one internet connection capable of communication between the maritime cargo


container multi sensor detection device and the monitoring equipment;


        whereupon a signal sent from a maritime cargo container multi sensor detection device to


a satellite; or to a cell phone tower; or through short and/or long range radio frequency; causes a


signal to be sent to the monitoring equipment that includes the transmitting oflocation data and


sensor data.




Patent Claim      The maritime cargo container multi-sensor detection system of claim 56, further


includes a global positioning system (GPS) receiver adapted for communication with at least one


satellite.




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Patent Claim     The maritime cargo container multi-sensor detection system of claim 56,


capable of forming a wired or wireless sensor network.




Patent Claim     The maritime cargo container multi-sensor detection system of claim 56,


capable of forming a mesh network for redundancy.




Patent Claim     The maritime cargo container multi-sensor detection system of claim 56,


capable of transmitting identification data, location data, power source data, and sensor data.




Patent Claim     The maritime cargo container multi-sensor detection system of claim 56,


wherein the power source is electrical, battery, solar, or a combination thereof.




Patent Claim     The maritime cargo container multi-sensor detection system of claim 56,


capable of being embedded into; placed in, on, or adjacent to a product or area targeted for


monitoring.




Patent Claim     The maritime cargo container multi-sensor detection system of claim 56,


capable of sending signals thereto and receiving signals therefrom to lock, disable a lock, enable


a lock, or unlock a lock that is interconnected to the multi sensor detection device and


monitoring equipment.




Patent Claim     The maritime cargo container multi-sensor detection system of claim 56,


capable of transmitting biometric and authentication data include, but is not limited to,


fingerprint recognition, voice recognition, face recognition, hand geometry, retina scan, iris scan,


heart rate, pulse and signature.




Patent Claim     The maritime cargo container multi-sensor detection system of claim 56,


interconnected with a camera to view the environment in real-time or to store the data for


transmission and review at a later time.




Patent Claim     The maritime cargo container multi-sensor detection system of claim 56,




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interconnected with a camera; light and video sensors to allow the user to view the environment


from a cell phone, smart phone, PDA, handheld, laptop, desktop, workstation or monitoring site.




Patent Claim      The maritime cargo container multi-sensor detection system of claim 56,


wherein the maritime cargo container multi-sensor detection device is capable of receiving


signals and messages from, and sending signals and information to, at least one of; a remote


lock, a remote communication device, a vehicle and another multi-sensor detection device.




Patent Claim      The maritime cargo container multi-sensor detection system of claim 56,


wherein the maritime cargo container multi-sensor detection device is capable of communicating


through a physical interface.




Patent Claim      The maritime cargo container multi-sensor detection system of claim 68,


wherein the physical interface is capable of a unique ID number with authentication;


timing/location signal; sensor status; battery condition, stored sensor messages, and can alert a


remote monitor.




Patent Claim      The maritime cargo container multi-sensor detection system of claim 68,


wherein the physical interface is capable of monitoring and allowing transmission and


propagation of containers while stacked, either afloat or ashore.




Patent Claim      The maritime cargo container multi-sensor detection system of claim 68,


wherein the physical interface is capable of having interfaces with environmental and security


sensors and is able to interrogate and pass data from the sensors.




Patent Claim      The maritime cargo container multi-sensor detection system of claim 68,


wherein the physical interface is capable of capable of communicating a security alert globally


through the use ofradio frequency, cellular and satellite technology.




Patent Claim      The maritime cargo container multi-sensor detection system of claim 68,


wherein the physical interface is capable of sending signals and messages to; receiving signals




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and messages from; at least one of a cell phone, a smart phone, a PDA, a handheld, a laptop, a


desktop, a workstation or monitoring site.




SEAPORT CRANE, HARBOR CRANE OR STRADDLE-CARRIER




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Patent Claim     A maritime cargo container multi-sensor detection system for monitoring and


for detecting at least one explosive, nuclear, human, contraband, chemical, biological, or


radiological agents and compounds so that terrorist activity can be prevented, comprising:


       a plurality of sensors for detecting at least one chemical, biological, radiological,


explosive, nuclear, human or contraband agents and compounds;


       monitoring equipment located at a determinate site that is remote from the maritime


cargo container and not in contact with the maritime cargo container, that is at least one of a


computer, laptop, notebook, PC, handheld, transceiver, cell phone , PDA or smart phone for the


receipt and transmission of signals there between;


       at least one of a modem for short and/or long range radio frequency, a cellular


connection, a Wifi connection
                            , a satellite connection, an interface connection, or an internet


connection, interconnected to the monitoring equipment for sending signals and messages thereto


and receiving signals and messages therefrom;




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       a maritime cargo container multi-sensor detection device that is embedded into, placed in,


on, upon or adjacent at least one of, a seaport crane, a harbor crane or a straddle-carrier, capable


ofloading, offloading, or transport within the seaport terminal facility;


       whereupon a signal sent from the maritime cargo container multi sensor detection device


to a satellite; or to a cell phone tower; or through short and/or long range radio frequency; causes


a signal to be sent to the monitoring equipment that includes location data and sensor data.




Patent Claim     The multi-sensor detection system of claim 136, further includes a global


positioning system (GPS) receiver adapted for communication with at least one satellite.




Patent Claim     The multi-sensor detection system of claim 136, capable of forming a wired or


wireless sensor network.




Patent Claim     The multi-sensor detection system of claim 136, capable of forming a mesh


network for redundancy.




Patent Claim     The multi-sensor detection system of claim 136, wherein the maritime cargo


container multi-sensor detection device is embedded into, placed in, on, upon or adjacent at least


one of, a seaport crane, a harbor crane or a straddle-carrier, capable of transmitting identification


data, location data, power source data, and sensor data.




Patent Claim     The multi-sensor.detection system of claim 136, wherein the maritime cargo


container multi-sensor detection device is embedded into, placed in, on, upon or adjacent at least


one of, a seaport crane, a harbor crane or a straddle-carrier, wherein the power source is


electrical, battery, solar, or a combination thereof.




Patent Claim     The multi-sensor detection system of claim 136, wherein the maritime cargo


container multi-sensor detection device is embedded into, placed in, on, upon or adjacent at least


one of, a seaport crane, a harbor crane or a straddle-carrier, capable of sending signals thereto


and receiving signals therefrom to Jock, disable a Jock, enable a lock, or unlock a Jock that is


interconnected to the maritime cargo container multi sensor detection device and monitoring




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equipment.




Patent Claim     The multi-sensor detection system of claim    1 3 6 , wherein the maritime cargo


container multi-sensor detection device is embedded into, placed in, on, upon or adjacent at least


one of, a seaport crane, a harbor crane or a straddle-carrier, capable of transmitting biometric and


authentication data that includes, but is not limited to, fingerprint recognition, voice recognition,


face recognition, hand geometry, retina scan, iris scan, heart rate, pulse and signature.




Patent Claim     The multi-sensor detection system of claim 1 3 6 , wherein the maritime cargo


container multi-sensor detection device is embedded into, placed in, on, upon or adjacent at least


one of, a seaport crane, a harbor crane or a straddle-carrier, interconnected with a camera; light


and video sensors to allow the user to view the environment from at least one of a cell phone , a


smart phone, a PDA, a handheld, a laptop, a desktop, a workstation or a monitoring site.




                              A COMMUNICATING,


    MONITORING, DETECTING, AND CONTROLLING


             (CMDC) DEVICE FOR BORDER SECURITY




CMDC DEVICE/ BIOMETRIC DAT A BASE FOR REGISTERING IMMIGRANTS




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Patent Claim     The multi-sensor detection system of claim 1 , capable of transmitting biometric


and authentication data include, but is not limited to, at least one of fingerprint recognition, voice


recognition, face recognition, hand geometry, retina scan, iris scan, heart rate, pulse and


signature.




Patent Claim     The multi sensor detection security systems of claim 145, further including


biometrics of at least one of, but not limited to fingerprints, iris, signature and voice to prevent


entry or exit of unauthorized persons.




Patent Claim    The multi-sensor detection system of claim 103 wherein the cell phone, the smart


phone, and the cell phone detector case are designed to be used with biometrics for


authentication and identification, with at least one of a fingerprint recognition, voice recognition,


face recognition, hand geometry, retina scan, iris scan, heart rate, pulse or signature, thereby


allowing access to the product by authorized, trained, and equipped individuals and preventing


access to the product by unauthorized, untrained, and unequipped individuals.




Patent Claim     The multi-sensor detection system of claim 8 1 , wherein the multi sensor


detection device is capable of transmitting biometric and authentication data including, but is not


limited to, fingerprint recognition, voice recognition, face recognition, hand geometry, retina


scan, iris scan, heart rate, pulse and signature.




Patent Claim     The communication device of claim 1 1 wherein the communication device is


designed to be used with or without biometrics for authentication and identification, with at least


one of a fingerprint recognition, voice recognition, face recognition, hand geometry, retina scan,


iris scan, heart rate, pulse or signature, thereby allowing access to the product by authorized,


trained, and equipped individuals and preventing access to the product by unauthorized,


untrained, and unequipped individuals




CMDC DEVICE I HOME, BUILDING, AND CARGO CONTAINER LOCKS




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          ELECTRONIC ACCESS CONTROL




Patent Claim     Monitoring equipment that is at least one of products grouped together by


common features of a computer    terminal, personal computer (PC), laptop, desktop, notebook PC,


handheld, cell phone, personal digital assistant (PDA) or smart phone interconnected to at least


one of a home lock, a building lock, or a cargo container lock for communication therebetween;


the monitoring equipment comprising:


       at least one of a central processing unit (CPU), a network processor, or a front end


processor for communication between the monitoring equipment and the lock;


       a transmitter for transmitting signals and messages to at least   one of a home lock, a


building lock, or a cargo container lock;


       a receiver for receiving signals from at least one of a home lock, a building lock, or a


cargo container lock;


       a lock disabling mechanism that is able to engage (lock), or disengage     (unlock), or


disable (make unavailable) the monitoring equipment after a specific number of tries;


       a short-range radio frequency (RE) connection that is near-field communication (NFC);


       at least one of the satellite connection, Bluetooth connection, WiFi connection, internet


connection, radio frequency (RF) connection, cellular connection, broadband connection, long




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range radio frequency (RF) connection, short range radio frequency (RE) connection, or OPS


connection that is capable of signal communication with the transmitter or the receiver;


       at least one of a fingerprint recognition, voice recognition, face recognition, hand


geometry , retina scan, iris scan, or signature recognition system; and,


       the monitoring equipment being capable of sending signals to engage (lock), disengage


(unlock), or disable (make unavailable) at least one of a home lock, a building lock, or a cargo


container lock whereupon a signal is sent to the receiver of the monitoring equipment from at


least one of the home lock, building lock, or cargo container lock, the signal comprising at least


one of location data or lock status data to be sent to the monitoring equipment.




CMDC DEVICE/ UNMANNED AERIAL, LAND, SEA VEHICLE LOCKS




          Smartphone Controlled Drone

                                       Market


Patent Claim     Monitoring equipment that is at least one of products grouped together by



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common features of a computer terminal, personal computer (PC), laptop, desktop, notebook PC,


handheld, cell phone, personal, digital assistant (PDA) or smart phone interconnected to a


vehicle lock for communication therebetween; the monitoring equipment comprising:


       at least one of a central processing unit (CPU), a network processor, or a front end


processor for communication between the monitoring equipment and the lock;


       a transmitter for transmitting signals and messages to at least one of a manned or


unmanned aerial vehicle lock, a manned or unmanned ground vehicle lock, or a manned or


unmanned sea vehicle lock;


       a receiver for receiving signals from at least one of a manned or unmanned aerial vehicle


lock, a manned or unmanned ground vehicle lock, or a manned or unmanned sea vehicle lock;


       a lock disabling mechanism that is able to engage (lock), or disengage (unlock), or


disable (make unavailable) the monitoring equipment after a specific number of tries;


       a short-range radio frequency (RF) connection that is near-field communication (NFC);


       at least one of the satellite connection, Bluetooth connection, WiFi connection, internet


connection, radio frequency (RF) connection, cellular connection, broadband connection, long


range radio frequency (RF) connection, short range radio frequency (RF) connection, or OPS


connection that is capable of signal communication with the transmitter or the receiver;


       at least one of a fingerprint recognition, voice recognition, face recognition, hand


geometry, retina scan, iris scan, or signature recognition system; and,


       the monitoring equipment being capable of sending signals to engage (lock), disengage


(unlock), or disable (make unavailable) at least one of a manned or unmanned aerial vehicle


lock, a manned or unmanned ground vehicle lock, or a manned or unmanned sea vehicle lock,


whereupon a signal is sent to the receiver of the monitoring equipment from at least one of the


manned or unmanned aerial vehicle lock, manned or unmanned ground vehicle lock, or manned


or unmanned sea vehicle lock, the signal comprising at least one of location data or lock status


data to be sent to the monitoring equipment.




CMDC DEVICE/ INTERNET OF THINGS (loTs) FOR BORDER SECURITY




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Patent Claim          A monitoring equipment, comprising:


          at least one central processing unit (CPU);


          at least one motion sensor in communication with the at least one CPU;


          at least one light indicator in communication with the at least one CPU;


          at least one viewing screen for monitoring in communication with the at least one CPU;


          at least   one global positioning system (GPS) connection in communication with the at


least one CPU;


          at least one of an internet connection or Wi-Fi connection in communication with the at


least one CPU;


          at least one of a Bluetooth connection, a cellular connection, or a satellite connection in


communication with the at least one CPU;


          at least one locking mechanism in communication with the at least one CPU for locking


the communication device, the at least one locking mechanism configured to at least one of


engage (lock) the communication device, disengage (unlock) the communication device, or


disable   (make unavailable) the communication device;


          at least one power source comprising at least one of a battery, electrical connection, or


wireless connection, to provide power to the communication device;


          at least one biometric sensor in communication with the at least one CPU for providing


biometric authentication to access the communication device;


          at least one or more detectors in communication with the art least one CPU for detecting


at least one of a chemical, biological, radiological, or explosive agents;




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       at least one radio-frequency near-field communication (NFC) connection in


communication with the at least one CPU; and,


       at least one of a transmitter or a transceiver in communication with the at least one CPU


configured to send signals to monitor at least one of a door, a vehicle, or a building, send signals


to lock or unlock doors, send signals to control components of a vehicle, send signals to control


components of a building, or send signals to detect at least one of a chemical biological,


radiological, or explosive agent such that the communication device is capable of


communicating, monitoring, detecting, and controlling.




CMDC DEVICE/ FOR MILITARY AND BORDER SECURITY PERSONNEL




Patent Claim     The communication device of claim      1 1   wherein the communication device


having products to be monitored, the devices that are monitoring, communication devices,


communication equipment can be grouped into anti-terrorist product groupings based on the


categories of similarities of design of at least one of; sensors, software, interfaces, detector cases,


locks, mobile communication devices, handheld communication devices, vehicle slowing and


stopping devices, specification, development and implementation; similarities in material


composition of at least one of: steel, stainless steel, composites, brass, copper, aluminum, fiber,


silicon, plastic, combining of materials parts or elements to form a whole; similarities in security


problems of at least one of; theft, detection for chemical, biological, radiological, nuclear,


explosive compounds and agents, detection for weapons of mass destruction, biometrics for


identifying terrorist, scanning to identify a terrorist threat; grouping security devices to form a


network of ubiquitous sensing and detecting.




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CMDC DEVICE/ ENABLES (MAKE AVAILABLE) THE CMDC DEVICE


AFTER A BIOMETRIC FINGERPRINT OR FACIAL AUTHENTICATION


IS MADE TO THE DEVICE BY AN AUTHORIZED USER (The first smartphone with



a fingerprint reader was the Motorola Atrix 4G in 2 0 1 1 )




                                           Continue




                                                                     )


Patent Claim     A monitoring device, comprising:


       at least one central processing unit (CPU);


       at least one temperature sensor in communication with the at least one CPU for


monitoring temperature;


       at least one motion sensor in communication with the at least one CPU;


       at least one viewing screen for monitoring in communication with the at least one CPU;


       at least one global positioning system (OPS) connection in communication with the at


least one CPU;


       at least one of an internet connection or a Wi-Fi connection in communication with the at


least one CPU;




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       at least one of a Bluetooth connection, a cellular connection, or a satellite connection in


communication with the at least one CPU;


       at least one locking mechanism in communication with the at least one CPU for locking


the communication device, the at least one locking mechanism configured to at least one of


engage (lock) the communication device, disengage (unlock) the communication device, or


disable (make unavailable) the communication device;


       at least one power source comprising at least one of a battery, electrical connection, or


wireless connection, to provide power to the communication device;


       at least one biometric sensor in communication with the at least once CPU for providing


biometric authentication to access the communication device;


       at least one sensor for chemical, biological, or human detection in communication with


the at least one CPU;


       one or more detectors in communication with the at least one CPU for detecting at least


one of chemical, biological, radiological, or explosive agents;


       at least one radio-frequency near-field communication (NFC) connection in


communication with the at least one CPU; and,


       at least one of a transmitter or a transceiver in communication with the at least one CPU


configured to send signals to monitor at least one of a door, a vehicle, or a building, send signals


to lock or unlock doors, send signals to control components of a vehicle, send signals to control


components of a building, or send signals to detect at least one of a chemical biological,


radiological, or explosive agent such that the communication device is capable of


communicating, monitoring, detecting, and controlling.




Patent Claim     The multi-sensor detection system of claim 103 wherein the cell phone, the


smart phone, and the cell phone detector case are designed to be used with biometrics for


authentication and identification, with at least one of a fingerprint recognition, voice recognition,


face recognition, hand geometry, retina scan, iris scan, heart rate, pulse or signature, thereby


allowing access to the product by authorized, trained, and equipped individuals and preventing


access to the product by unauthorized, untrained, and unequipped individuals.




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            CMDC DEVICE/ LOCATION FOR THE CMDC DEVICE ITSELF;


INTERCONNECTED TO THE MUL Tl SENSOR DETECTION DEVICES; THE ST ALL


                 TO STOP SYSTEMS; AND, THE LOCKING MECHANISMS




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                                                                              Synthetic GPS

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        Apple Location Services allows Apple and third-party apps and websites to gather and use


information based on the current location of your iPhone or Apple Watch to provide a variety of


location-based services. To use features such as these, you must enable Location Services on your


iPhone and give your permission to each app or website before it can use your location data. Location


Services uses GPS and Bluetooth (where those are available) along with crowd-sourced Wi-Fi hotspot


and cell tower locations to determine your device's approximate location. Your Apple Watch may use


the location of your paired iPhone ifit is nearby.


        If Location Services is on, your iPhone will periodically send the geo-tagged locations of


nearby Wi-Fi hotspots and cell towers in an anonymous and encrypted form to Apple, to be used for


augmenting this crowd-sourced database of Wi-Fi hotspot and cell tower locations.




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By enabling Apple's Location Services, location-based system services such as these will also be


enabled:


•   Traffic: If you are physically moving (for example, traveling in a car), your iPhone will


    periodically send GPS locations and travel speed information in an anonymous and encrypted form


    to Apple, to be used for augmenting a crowd-sourced road traffic database.


•   Significant Locations: Your iPhone will keep track of places you have recently been, as well as


    how often and when you visited them. This data is encrypted and stored only on your device and


    will not be shared without your consent. It is used to provide you with personalized services, such


    as predictive traffic routing.


•   Location-Based Suggestions: Ifyou turn off Location Services for Location-based Suggestions,


    Apple may use the IP address of your internet connection to approximate your location by


    matching it to a geographic region.


•   Location-Based Alerts: Your iPhone and Apple Watch will use your location in order to provide


    you with geographically-relevant alerts, such as a reminder to call someone when you get to a


    specific place.


•   Share My Location: You can choose to share your current location with others, on a temporary or


    ongoing basis, from within certain apps such as Messages and Find My Friends.


•   HomeKit: Your iPhone will use your location to enable accessories to turn on or off when you


    arrive at or leave a specific location, such as turning on your lights when you get home.


•   Emergency Calls & SOS: When you make an emergency call, in addition to location already


    provided to emergency services, your iPhone will make supplementary location data available


    through the Enhanced Emergency Data service, where supported. In addition, triggering


    emergency SOS will send location to your emergency contacts at the end of the call.




         Ouote from the "CelWI" Proposal submitted to the DHS in 2007, "Initially the SMD


will look to the on-board GPS (if provided) to determine position. If the cell phone is equipped


with a GPS the application on the cell phone will retrieve the position from its own GPS. When a


GPS position cannot be determined, the position of the SMD and its user will be calculated based


on a cell phone tower database, provided by the FCC and signal strength. If this does not yield a


result, the Wi-Fi hotspot database will be utilized to determine SMD and user position. If all


these options fail, the last known position can be augmented with the on board accelerometers to




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estimate the current position which will be reported to the control centers and annotated as a last


position and a possible position."




Patent Claim     The communication device of claim 1 1 wherein the communication device has at


least one of a Bluetooth connection, a Wi-Fi connection, a short and long range radio frequency


connection, a Cellular connection, a satellite connection, and a GPS connection.




Patent Claim     The multi-sensor detection system of claim 103 wherein the cell phone, the smart


phone, and the cell phone detector case have at least one of a Bluetooth connection, a Wi-Fi


connection, a short and long range radio frequency connection, a Cellular connection, a satellite


connection, or a GPS connection.




Patent Claim     The multi-sensor detection system of claim 125 wherein the internal or external


remote/electrical lock disabler includes at least one of: a Blue tooth connection, a Wi-Fi


connection, a short and long range radio frequency connection, an Internet connection, a Cellular


connection, a Satellite connection, all of which are interconnected to the central processing unit


(cpu).




Patent Claim    The vehicles' stall-to-stop means or the vehicles' slowdown means of claim 1 1 ,


wherein a communication link is present of at least one of a Wi-Fi connection, a Broadband


connection, an Internet connection, a Cellular connection, a Radio Frequency (RF) connection, a


Bluetooth connection, and a Satellite connection, capable of signal communication thereto and


therefrom monitoring equipment and a central processing unit (CPU) or a transceiver on the


vehicle.




Patent Claim     The lock disabler system of claim 33 wherein the automatic/mechanical lock


disabler detection device includes at least one of; a Blue tooth connection, a Wi-Fi connection, a


short and long range radio frequency connection, an Internet connection, a Cellular connection, a


Satellite connection, all of which are capable of being interconnected to a central processing unit


(cpu) of the communication device.




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CMDC DEVICE/ DISABLE (MAKE UNAVAILABLE) THE CMDC DEVICE


AFTER MULTIBLE FAILED ATTEMPTS TO DENY ACCESS TO THE DEVICE


BY UNAUTHORIZED USERS (In 2 0 1 4 , Apple's "Find my iPhone" and Google's



"Android Device Manager" can locate, disable, and wipe the data from phones).




                  «««.   Vodafone   33Gs




                 iPhone                is       disabled


                                            to




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Patent Claim     A monitoring device, comprising:


       at least one central processing unit (CPU);


       at least one temperature sensor in communication with the at least one CPU for


monitoring temperature;


       at least one motion sensor in communication with the at least one CPU;


       at least one viewing screen for monitoring in communication with the at least one CPU;


       at least one global positioning system (GPS) connection in communication with the at


least one CPU;


       at least one of an internet connection or a Wi-Fi connection in communication with the at


least one CPU;


       at least one of a Bluetooth connection, a cellular connection, or a satellite connection in


communication with the at least one CPU;


       at least one locking mechanism in communication with the at least one CPU for locking


the communication device, the at least one locking mechanism configured to at least one of


engage (lock) the communication device, disengage (unlock) the communication device, or


disable (make unavailable) the communication device;


       at least one power source comprising at least one of a battery, electrical connection, or


wireless connection, to provide power to the communication device;


       at least one biometric sensor in communication with the at least once CPU for providing


biometric authentication to access the communication device;


       at least one sensor for chemical, biological, or human detection in communication with


the at least one CPU;


       one or more detectors in communication with the at least one CPU for detecting at least


one of chemical, biological, radiological, or explosive agents;


       at least one radio-frequency near-field communication (NFC) connection in


communication with the at least one CPU; and,


at least one of a transmitter or a transceiver in communication with the at least one CPU


configured to send signals to monitor at least one of a door, a vehicle, or a building, send signals


to lock or unlock doors, send signals to control components of a vehicle, send signals to control


components of a building, or send signals to detect at least one of a chemical biological,


radiological, or explosive agent such that the communication device is capable of




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communicating, monitoring, detecting, and controlling.




Patent Claim      The lock disabler system of claim 33 wherein the automatic/mechanical lock


disabler detection device is designed to be used with or without biometrics for authentication and


identification, thereby allowing access to the product by authorized, trained and equipped


individuals and preventing access to the product by unauthorized, untrained, and equipped


individuals.




Patent Claim      The lock disabler system of claim 33 wherein the automatic/mechanical lock


disabler detection device is designed to lock, or disable the lock of the product thus preventing


further contamination and denying access to the product by unauthorized, untrained, and


unequipped individuals.




Patent Claim      The lock disabler system of claim 33 wherein the automatic/mechanical lock


disabler detection device is designed to unlock or enable the lock of the product thus allowing


access to the product by authorized, trained, and equipped individuals.




Patent Claim      The lock disabler system of claim 33 wherein the automatic/mechanical lock


disabler detection device is designed to be equipped with applications for the locking, disabling a


lock, enabling a lock, and unlocking the locks of, but not limited to, containers, vehicles, houses


and businesses, using a smart phone, cell phone, PDA, laptop or desktop.




Patent Claim      The lock disabler system of claim 33 wherein the automatic/mechanical lock


disabler detection device is designed for outside and/or inside of the products listed in the


product grouping.




Patent Claim      The lock disabler system of claim 33 wherein the automatic/mechanical lock


disabler detection device can be used with cars, trains, airplanes, ships and any of the products


listed in the product groupings.




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CMDC D E V I C E / RADIO FREQUENCY NEAR FIELD COMMUNICATION


(NFC); A BETTER CHOICE FOR RADIO FREQUENCY (RF) COMMUNICATION


WHEN COMPARED TO RADIO FREQUENCY IDENTIFICATION (RFID)




R F I D S i g n a l s can Detonate B o m b s i n Cargo

C o n t a i n e r s : But How S e r i o u s is the V u l n e r a b i l i t y ?


August 10, 201 I                 Homeland Security Today



In   the     fall   of       2007,   a   handful         of   officials     from    the    D e p a rt m e n t      of    Homeland          Security




(OHS)         were           invited   to   a tt e n d   a    live   d e m o n s t ra t i o n   of   how      a   bomb    hidden       inside    a




commercial               cargo       container           could       be   detonated        by    a   homemade             radio      frequency




i d e n t i fi c a t i o n   (RFID)      container            tracking      tag   operating          at   a   frequency        that   was    mandated




by    the     federal          g o v e rn m e n t   for      cargo     containers         within      US      port   environments.




A    cargo       container           RFID      e l e c t ro n i c    tag,   or   seal,   contains         an      electronic        reader   that




receives            a   port's     RFID      signal       that      prompts       the    container's          RFID       tag   to   transmit     to   port




authorities'            data      regarding         the       cargo     that' s   been      encoded           on   its   R F I D    tag.   But   as   the




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demonstration showed, it also can be used to close an electronic circuit when it receives

a corresponding RF from a port R F I D sender/receiver, thereby detonating the bomb.

Indeed. In the November, 2007 test, an RF receiver tuned to pick up a required US port

R F I D reader frequency triggered the small explosive that had been placed inside the

empty container.



What's important about the demonstration is that the homemade RF receiver was

operating at a frequency that not only was mandated to be used within port environs,

but also was mandated to be made public despite the fact that "the process of selecting

a frequency for container security was contentious," Homeland Security Today was told

by Powers Global Holdings, Inc. Chairman, a former FBI agent who worked with CSP

on border related security issues while in Laredo, Texas.




   R F I D vs.                                              NFC



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       RFID systems consist of a reader with an antenna, and a transponder (tag). There are two


different RFID tags possible. Either they are active, meaning they have their own power source


or they are passive. Passive tags have no own power source and have to be supplied with energy


via an electromagnetic field produced by the reader.


       NFC stands for Near-Field Communication. NFC is also based on the RFID protocols.


The main difference to RFID is that a NFC device can act not only as a reader, but also as a tag


(card emulation mode). In peer-to-peer mode, it is also possible to transfer information between


two NFC devices. Because of the short read range limitations, NFC devices have to be in very


close proximity - usually no more than a few centimeters. That's why NFC is often used for


secure communications.


       NFC is almost exclusively used for high-speed data transfer between two electronic


systems, like a smartphone and a payment reader in the checkout line, or two smartphones


exchanging data, for example. NFC enables bi-directional communication through dual-mode


hardware, so a device can act as both a reader and a tag. For example, you can "bump" two


Android phones together and exchange information using the NFC standard, or set up a secure


session to exchange crypto for payment.


       NFC allows communication from passive tags. For example, when you place your NFC­


enabled credit card on a tap-to-pay credit card terminal, the energy from the NFC reader sends a


burst of energy and excites the NFC chip in the card. At the same time the reader is verifying the


card, the card is ensuring that the reader is valid. This kind of two-way processing isn't


something you can do with passive RFID; when the passive reader sends out a burst of energy,


the passive RFID tag can only transmit back a number.




Patent Claim     A monitoring device, comprising:


       at least one central processing unit (CPU);


       at least one temperature sensor in communication with the at least one CPU for


monitoring temperature;


       at least one motion sensor in communication with the at least one CPU;


       at least one viewing screen for monitoring in communication with the at least one CPU;


       at least one global positioning system (GPS) connection in communication with the at


least one CPU;




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       at least one of an internet connection or a Wi-Fi connection in communication with the at


least one CPU;


       at least one of a Bluetooth connection, a cellular connection, or a satellite connection in


communication with the at least one CPU;


       at least one locking mechanism in communication with the at least one CPU for locking


the communication device, the at least one locking mechanism configured to at least one of


engage (lock) the communication device, disengage (unlock) the communication device, or


disable (make unavailable) the communication device;


       at least one power source comprising at least one of a battery, electrical connection, or


wireless connection, to provide power to the communication device;


       at least one biometric sensor in communication with the at least once CPU for providing


biometric authentication to access the communication device;


       at least one sensor for chemical, biological, or human detection in communication with


the at least one CPU;


       one or more detectors in communication with the at least one CPU for detecting at least


one of chemical, biological, radiological, or explosive agents;


       at least one radio-frequency near-field communication (NFC) connection in


communication with the at least one CPU; and,


       at least one of a transmitter or a transceiver in communication with the at least one CPU


configured to send signals to monitor at least one of a door, a vehicle, or a building, send signals


to lock or unlock doors, send signals to control components of a vehicle, send signals to control


components of a building, or send signals to detect at least one of a chemical biological,


radiological, or explosive agent such that the communication device is capable of


communicating, monitoring, detecting, and controlling.




Patent Claim     The multi-sensor detection system of claim 103 wherein the cell phone, the


smart phone, and the cell phone detector case are designed to be equipped with a radio frequency


(RF) chip for the locking, disabling a lock, enabling a lock, and unlocking the locks of


containers, vehicles, houses and businesses, and are capable of a two-way, bi-directional radio


frequency (RF) communication link that makes the cell phone, the smart phone, and the cell




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phone detector case work as a radio frequency (RF) sensors or a radio frequency (RF)


transceiver.




CMDC DEVICE/ DETECTOR CASE



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       The Smarrwatch has the same features as the cellphone detector case and the CMDC


Device (i.e. smartphone) described in the Patents owned by Larry Golden.




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C -- Communicating: cellular, Bluetooth, Wi-Fi, GPS, NFC, E-mail, call alerts, alarms


M -- Monitoring: heart rate monitor, blood pressure monitor (i.e. chem/bio monitoring)


D - Detecting: carbon monoxide, natural gas, blood oxygen, seizure (i.e. chem/bio detection)


C -- Controlling: lock and unlock doors, remote vehicle controls to include engine start




Patent Claim     The multi-sensor detection system of claim 8 1 , wherein the multi sensor


detector device is a multi-sensor embedded or built-in device designed for, but not limited to, at


least one of a cell phone, a smart phone, a PDA, a handheld, a cell phone detector case, a smart


phone detector case, a PDA case, a handheld case or another communication device.




Patent Claim     The multi-sensor detection system of claim 103 wherein each cell phone


detector case includes an internet connection, a GPS connection, a radio frequency (RF)


connection, a recharging cradle or seat, a front side, a top, a bottom, a pair of opposed sides and a


central processing unit (cpu).




Patent Claim     The multi-sensor detection system of claim 103 wherein the cell phone; the


smart phone; and the cell phone detector case includes standard keypad functions and more


specialized system use ring tone, email, photos, and texting functions as well as viewing screens.




Patent Claim     The multi-sensor detection system of claim 103 wherein the cell phone, the


smart phone, and the cell phone detector case includes telecommunication, telematics, long and


short range radio frequency communication means that are interactive with any type of motive


vehicle comprising a car, truck, van, SUV, train, subway, boat, ship, UAV, UGV, or airplane.




Patent Claim     The multi-sensor detection system of claim 103 wherein the cell phone the smart


phone, and the cell phone detector case are capable of sending signals to a vehicle's operating


equipment systems comprising at least one of an ignition for starting and stopping, a lock for


unlocking and locking, a horn for sounding; and are capable of receiving data and diagnostic


information of the vehicle's operating equipment systems.




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             "WHO" INVENTED THE SMARTPHONE?


                                 BY LARRY GOLDEN




                     BROAD AGENCY ANNOUCEMENT (BAA)


                                              BA407-10


               CELL-ALL Ubiquitous Biological and Chemical Sensing




Published: 10/30/2007

BAA07-10

Published: 10/30/2007




                                           INTRODUCTION


       This solicitation is a Broad Agency Announcement (BAA), as contemplated in Federal


Acquisition Regulations (FAR) 6. 102(d)(2) and 3 5 . 0 1 6 . A formal Request for Proposal


(RFP) will not be issued in this matter.


       The Department of Homeland Security (DHS) Science & Technology (S&T) Directorate


will not issue paper copies   of this announcement. DHS S&T reserves the right to select for award


and to fund al l , some, or none of the full proposals received in response to this solicitation. No


funding for direct reimbursement of proposal development costs will be allowed. Technical and


cost proposals, or any other material, submitted in response to this BAA will not be returned.


        However, depending on the markings on the proposal, DHS S&T will adhere to FAR


policy on handling source selection information and proprietary proposals. It is the policy of


DHS S&T to treat all proposals as sensitive competitive information, and to disclose their


contents only for the purpose of evaluation.


       Awards may take the form of contracts or other transactions agreements (OT As). In the


event an offeror or subcontractor is a Federally Funded Research and Development Center


(FFRDC), Department of Energy National Laboratory, or other Federally funded entity, DHS


S&T will work with the appropriate sponsoring agency to issue an interagency agreement


pursuant to the Economy Act ( 3 1   U . S . C. 1 5 3 1 ) or other appropriate authority.




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       Depending on the nature of the full proposals received, OHS S&T will also consider


awarding a grant or cooperative agreement. Therefore, the applicable laws and regulations


governing the legal   vehicle used for award will depend on the legal vehicle chosen by OHS


S&T. In this regard, offerors should propose a preferred vehicle type for OHS S&T to consider


for award.




I. GENERAL INFORMATION




1. Agency Name



Department of Homeland Security


Science & Technology Directorate


Washington, DC 20528


2. Research Opportunity Title


Ubiquitous Biological and Chemical Sensing


3. Program Name


CELL-ALL


4. Research Opportunity Number: BAA07-10


5. Important Dates


Event Date Time (local Eastern Time)


White Paper Due Date 11/29/2007 4 : 3 0 P.M.


Notification of Evaluation of White Papers 12/14/2007 N/A


Full Proposal Due Date 01/14/2008 4:30 P . M .




(A Full Proposal will not be accepted unless a White Paper was received before the White


Paper due date specified herein AND the Offeror was encouraged to submit a Full


Proposal.)


Notification of Evaluation of Full Proposals/Recommendation for Award 02/08/2008 NIA


* There is a registration process (see Section 4 of this BAA). A Prospective Offeror must ensure


that it allow itself sufficient time to complete the registration and submission process. Extensions


will NOT be granted.




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Oral Presentations - Prospective Offerors are NOT provided the opportunity to make oral


presentations.


6. Research Opportunity Description -


       DHS S&T has designated this program as a High Impact Technology Solution (HITS),


which is designed to a provide proof-of-concept answers within one to three years that could


result in high-payoff technology (revolutionary) breakthrough. DHS S&T is seeking out those


innovative, "out-of-box", possibly disruptive technologies (disrupting the normal evolutionary


technological development process). It is recognized that this project will have considerable


technological risk; however it also offers the potential for significant gains in capability.


       Innovation is critical. Offerors should demonstrate that their efforts are aimed at high­


risk/high-payoff technologies that have the potential for making revolutionary rather than


incremental improvements to homeland security, including emerging threats and operational


challenges. DHS S&T reserves the right to select for award andfund all, some, or none o
                                                                                      f the


Full Proposals received in response to this solicitation.


       Today's biological and chemical sensing networks work effectively to cover limited and


specific physical areas and environments with significant cost and overhead. In order to greatly


expand coverage and realize greater WMD protection for the nation, a revolutionary


breakthrough that provides for a much larger and lower cost sensing distributed network is


required. For example, if biological and chemical sensors could be effectively integrated into


common cell phone devices and made available to the American public on a voluntary basis, the


Nation could potentially benefit from a sensor network with more than 240M sensors. Through


this BAA, HSARP A is seeking to accelerate advances in miniaturized biological and chemical


sensing (e.g. laboratories on a chip) with integration into common device(s) and a


communication systems concept for large scale multi-sensor networks. This proof of concept


should be capable of detecting hazardous biological and/or chemical materials with eventual


expansion to the detection of explosive and eventually radiological materials (in future


collaborations with other organizations). In the first year, proposed work should lead to a


minimum of a relevant laboratory demonstration of a proof of concept sensor, device and


communications system for Cell-All. Optional second year work may be proposed to build upon


success in year one and may include additional field experiments and characterizations.




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       The proposed concept should develop a miniaturized sensor, device and system that when


integrated is capable of addressing the following performance characteristics:


• Integrated into a common domestic platform, such as a cell phone


• User enabled so that the device can be switched on or off at the discretion of an individual user.


• Low cost and easy to maintain at scale


• Capable of accurately and securely communicating the location, date, time and binary outcome


of sample readings


• Capable of receiving and displaying warning information from operations centers


• Demonstrates significant potential to provide accurate readings in a wide variety of


environments


• Provides adequate sample collection methods within the host device to enable accurate sensing


• Provides sensing capability for multiple samples and any required methodology to readily


refresh consumables


• Provides a reasonable power profile that does not significantly degrade the performance of the


host device


• Survives a variety of environmental conditions


• Demonstrates an effective lifetime of more than one year.


• Supported by developmental architectures and development environments that promote low


cost experiments, spiral prototyping and wide scale implementation




The contractor will also:


• Clearly define risks and vulnerabilities of the recommended technical approach and address


methods to mitigate those risks and vulnerabilities


• Identify any barriers to ubiquitous sensing using the collection and sensor devices as proposed


• Provide a rough order of magnitude estimate of costs and overall schedule to develop each


component and integrate into an overall system.


• List relevant experience in efforts that are similar


       DHS S&T is receptive to individual or team offers. Technology developers must describe


the schedule of incremental products they expect to produce.




7. Government Representatives




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Science and Technology


Stephen Dennis, Program Manager


Department of Homeland Security


Science and Technology (S&T) Directorate


Washington DC, 20528




Business


Margaret L. "Margo" Graves


Team Lead/Contracting Officer


Department of Homeland Security


Office of Procurement Operations/




                             "Proposal White Paper"




           BROAD AGENCY ANNOUNCEMENT (BAA) 07-10




           CELL-ALL Ubiquitous Biological and Chemical Sensing




              Administrative and Technical Points of Contact:




                                 Larry Golden, CEO


                             ATPG Technology, LLC


                                522 Peach Grove Place


                                    Mauldin, SC 29662


                           864-288-5605 / 864-992-7104


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                                      Executive Summary:


       Two years ago, recognizing the danger that existed if a WMD was concealed, transported


and deployed within our borders, ATPG embarked on the development of a multi-sensor,


tracking and detection system. The first development spiral yielded a functional Sensor


Monitoring Device (SMD) prototype and tiered communication applications to distribute,


monitor and manage the multi-sensor SMD network information. The ubiquitous sensor network


solution proposed in this white paper borrows heavily from the technology developed in spiral


one. The tiered communication, viewer and management software applications were designed to


be part of a large sensor network. For this application the software will be scaled and enhanced


to accommodate the volume of traffic that would result from an extremely large sensor network.


       Our SMD was designed to provide as much flexibility as possible and communicates


with a variety of sensors through an array of built-in standard interfaces (SPI, AID, Serial,


Bluetooth, I2C etc). This existing open architecture design affords us the opportunity to


collaborate with the U.S. Army Edgewood Chemical and Biological Center (ECBC) to evaluate,


test and acquire the most appropriate miniaturized chemical and biological sensors.


       ATPG intends to utilize the hardware and software technology developed in spiral one as


the basis for the ubiquitous sensor network. The form factor of the SMD will be re-engineered so


that it can initially be housed in cell phone cases allowing straightforward integration with


existing cell phones. The SMD, housed in the cell phone cases will use a Bluetooth channel to


communicate with ATPG software hosted on the cell phone. This software will provide


bidirectional communication between the SMD and cell phone. The cell phone software will


additionally use email and SMS messaging services to communicate information to control


centers. The software for managing the information from the sensor network will be architected


in a way that provides a means to efficiently escalate information up the government hierarchy.


       The software will employ a large database back-end and where practical message routing


rules will be implemented to allow for effective and efficient routing of sensor message traffic.


                         Utility to Department of Homeland Security:


       ATPG' s strategy of incorporating its existing SMD design into cell phone cases provides


a means to quickly establish a massive sensor network nationwide. ATPG proposes modifying


the SMD form factor so that it can be installed into the most common cell phone cases. When a


person volunteers for the program they would receive a cell phone case along with an adapter




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cord that would connect to their existing phone charger; allowing the SMD and phone to charge


simultaneously. A switch on the case will allow the volunteer to enable the device at their


discretion. If a volunteer elects to participate in the program and their cell phone does not have


an on board GPS, the SMD provided in the cell phone case will be equipped with one. The


geographic position of the SMD/cell phone pair will be determined either by GPS, cell phone


tower database and signal strength or by a Wi-Fi hotspot database. In the event current position


cannot be determined, the device will use its last known good position fix for communications


and the position will be flagged as such. Housing the SMD and sensors in a cell phone case


provides a number of advantages. Since the SMD will draw all of its power from its own power


source the only resources required from the cell phone will be for a dedicated Bluetooth channel


and limited processing power to execute the cell phone software. Additionally the consumables


in the cell phone case (battery, sensors etc.) can easily be switched out, or the entire case can be


easily replaced. ATPG will be working with the Otter Box Company to design a cell phone case


capable of housing the SMD and its sensors, providing a protective, water resistant case while


maintaining complete cell phone interactivity. This approach will allow ATPG to easily and


incrementally make changes to the host platform as the technology of the SMD and its sensors


are miniaturized.


                                       Technical Approach:


       The creation, implementation and management of a massive sensor network will require


a design approach that delivers a system solution. Every tier of the system is important and the


end product must be manageable, provide redundancy and implement an open architecture


wherever possible. The ATPG solution proposed here focuses on these requirements and delivers


a design that translates into a straightforward, deployable sensor network system that can be


distributed en masse.


       At the lowest level, the SMD is engineered to communicate with a variety of sensors


through an array of standard interfaces (SPI, AID, Serial, I2C etc). This open architecture allows


for easily integrating additional sensors into the device and expanding the range of hazardous


agents detectable by the SMD. The SMD will continually monitor/control the attached sensors


and communicate with the cell phone via a dedicated Bluetooth channel. When the SMD is


activated by the user, a small software application installed on the phone will monitors the




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Bluetooth channel for detection alerts and also forward commands received from control centers


to the SMD. The SMD will periodically send its position information to the control center. The


position the SMD will report to the control centers is determined using a layered approach.


       Initially the SMD will look to the on-board GPS (if provided) to determine position. If


the cell phone is equipped with a GPS the application on the cell phone will retrieve the position


from its own GPS. When a GPS position cannot be determined, the position of the SMD and its


user will be calculated based on a cell phone tower database, provided by the FCC and signal


strength. If this does not yield a result, the Wi-Fi hotspot database will be utilized to determine


SMD and user position. If all these options fail, the last known position can be augmented with


the on board accelerometers to estimate the current position which will be reported to the control


centers and annotated as a last position and a possible position. All information received by the


cell phone application from the SMD will be forwarded to the control centers either through


email or SMS messages if email is not available. The information transmitted will be encoded in


XML and encrypted prior to transmission. When a user needs to be notified of information from


a control center, the cell phone software will use either a ring tone or vibration to call the user's


attention to the display. This solution of integrating the SMD into the cell phone case and


installing a small software application on the volunteer's cell phone provides a means to easily


modify and upgrade the sensor network system as advancements are made to sensor and SMD


technology with minimal impact to the user.


       The web and desktop software that support the sensor network is designed to support an


escalating reporting hierarchy. At each level rules can be established in the message routing


software to facilitate the transfer of alert information. Rules can also be established to assist in


determining the area affected by an alert. In the event a chemical or biological agent is detected


and reported, the software can automatically search for other sensors in a pre-defined area and


command them to sample and report back. This information can then be used by first responders


and local government to determine the impacted area and aid in creating a plan of action to cope


with the event. The reporting hierarchy can be configured as needed but the current configuration


sends notification to the local First Responder units, followed by City, County, State and Federal


government. As the information works its way up the hierarchy rules at each level fire off to


create events that notify necessary personnel at each level. The viewer/management software


used at each level of the hierarchy is identical. How the system forwards and responds to data is




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configured in the message routing rules table. The desktop software uses Google Earth as a


viewer and plots the position of the sensors and detections on the map. Filtering options are


provided in the software to allow the screen to be decluttered. A hierarchical database of sensors


reporting to the viewers at a given control center is maintained to allow simple manipulation of


the sensor network. The software will allow the user to drill down into lower levels of the data


by clicking on the images on the map or through the windows explorer like interface provided.


       The software will also allow commands and alerts to be sent to SMD enabled cell phones


by clicking on the image or on its text representation. Each SMD representation on the map will


display its unique identification number as its label and clicking on the icon will display the last


set of data received by the control center. The sensor network data can also be made available to


smart phones and PDAs running a variation of the viewer/management software. All data passed


through this network will be encrypted and all database and user accounts will be protected by


multiple layers of security to ensure the privacy of the volunteers and protect their location from


foreign/unwanted access.


       As an option all messages sent from the SMD to the control centers could receive


notification ofreceipt; confirmation that the network is operating properly. This could be a built­


in fail safe, which would allow the user to be notified first if detection occurred and the


information could not be transmitted to a control center. In this scenario the user would be


notified of the detection and could take action to leave the area and contact authorities through


some other means.


                   Personnel and Performer Qualifications and Experience:


       Larry Golden is the CEO of ATPG and will be the project manager for this program. Mr.


Golden's invention and patent pending sensor monitoring device (Pub. 10-18-07; App. #:


1 1/ 3 9 7 , 1 1 8 ) will be used as the departure point for the development of the SMD. Mr. Golden's


background is in industrial engineering and management. Larry's duties will include managing


the schedule, budget and subcontractors providing the cell phone cases.


       Harold Kimball is a software engineer with twenty years' experience developing software


applications, including embedded systems, operational flight programs, database applications,


and web and desktop applications. Mr. Kimball will be the technical lead on this program as well


as the lead software developer for the SMD applications. Over the past few years Mr. Kimball's


focus has been on developing situational awareness applications, embedded device applications




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and aircraft simulation software. Mr. Kimball has a Bachelor's degree in Computer Science and


is working on his Master's Degree in Artificial Life. Mr. Kimball recently had an article


published describing a scalable disaster relief and communications infrastructure system he is


developing to aid first responders and disaster relief personnel in their efforts.


       Doug Cumbie is an electrical engineer and software engineer with six years' experience


developing embedded systems, web applications, situational awareness software and aircraft


simulation software. Mr. Cumbie will be the lead Engineer on this program as well as the


primary developer for the web and desktop applications. Over the past few years Mr. Cumbie has


focused on embedded device development, situational awareness applications and aircraft


simulation software. Mr. Cumbie holds Bachelor's degrees in both Computer Engineering and


Electrical Engineering.


       The Otter Box Corporation will provide custom cell phone cases for housing the SMD


developed by ATPG. The Otter Box Corporation has extensive experience manufacturing and


distributing custom cases for cell phones, laptops and PDAs. Their manufacture and distribution


experience will play a key role in the ability to efficiently develop, manufacture and distribute a


custom cell phone case enveloping the SMD and providing a water resistant and protective case.


U.S. Army Edgewood Chemical and Biological Center (ECBC) will play a vital role in assisting


ATPG with evaluating, testing and selecting the most appropriate miniaturized chemical and


biological sensors available. ATPG and ECBC have a collaborative agreement in place ensuring


ATPG of their services in sensor analysis and selection.


                              Commercialization and Capabilities:


        ATPG will work closely with Otter Box and ECBC to determine the physical


characteristics and requirements needed to create a custom cell phone enclosure for the selected


sensors and SMD. ATPG will leverage Otter Box's manufacturing and distribution experience to


enable ATPG to produce and deliver large quantities of custom cell phone cases. As mentioned


previously the case will be designed and developed so that consumables can easily be swapped


out or the entire cell phone case can be replaced. This approach ATPG is pursuing is the most


economical and efficient way to mass distribute a sensor network; providing low risk and


minimal impact to volunteers of the program. Becoming part ofthis volunteer network would be


a simple process and would only require end-users to; elect to become a volunteer, indicate


which type of cell phone they currently use and upon receipt of the new cell phone case




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commence holstering the cell phone in the case wherever they go. As an option and to solicit


interest in the program, volunteers could be provided software applications. These applications


could potentially access tracking information of the volunteer's phone and the volunteer's family


members' phones; or a moving map application could be provided to enable navigation through


the cell phone. Mr. Kimball and Mr. Cumbie have many years' experience developing and


distributing code to demanding end users. Both individuals have experience providing


Situational Awareness and OFP software to the Air Force Special Operations Command


(AFSOC) for all fixed wing Special Operations Forces (SOF) aircraft. Additionally, Mr.


Kimball worked for Manheim Auctions, an international organization with a large customer base


and participated in the development and distribution of Manheim' s software applications.


         One method ATPG conceived for fielding the sensor network and implementing its


widespread use would be to conduct a pilot program for the nearly 30 million government


employees, border patrol personnel and government contractors. These individuals generally


work in what would be considered high value target areas. Providing these employees with cell


phone cases equipped with the SMD and its sensors would immediately give the sensor network


nationwide coverage in many areas that would be likely targets of a terrorist attack. In addition to


gaining nationwide coverage; if this pilot program extended to all government employees and its


contractors around the world, the network would have the ability to monitor U.S. interests


globally.


                                    Costs, Works and Schedule:


         The budgeted cost for this development is $1,000,000, with a projected period of


performance of one year. ATPG will simultaneously commence four primary tasks upon contract


award.


         1) ATPG will work with ECBC to evaluate, test and select the most appropriate chemical


         and biological miniaturized sensors available (4 month effort, $17, 13 7)).


         2) ATPG will research and determine the three most commonly used phones capable of


         being part ofthis sensor network and work with Otter Box to design and manufacture cell


         phone cases to house the SMD and sensors (4 month effort, $45,000).


         3) ATPG will enhance/scale the software applications to support the potentially large


         volume sensor network that will comprise the Cell-All ubiquitous system (7 month effort,


         $500,000).




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       4) ATPG will restructure and scale down the SMD so it can be accommodated in the cell


       phone case. After month 7, integration and testing of the Cell-All system will commence.


       The system will be documented (block diagrams, wiring diagrams, and theory of


       operation manual) and a demonstration date will be scheduled ( 1 2 month effort,


       $437,863).


       Prototype cases housing the SMD and sensors, cell phones and viewer/management


software executables will be delivered upon project completion.


                               Small Business Considerations:


       This white paper is submitted from a minority owned small business.




         Official website of the Department of


                           Homeland Security

                                      2 0 1 0 Archives



        Cell-All: Super Smartphones Sniff out


                         Suspicious Substances




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       Years ago, if you wanted to take a picture, you needed a dedicated camera. You needed


to buy batteries for it, keep it charged, learn its controls, and lug it around. Today, chances are


your cell phone is called asmartphone" and came with a three-to-five megapixel lens built-in­


not to mention an MP3 player, GPS, or even a bar code scanner.


       This Swiss Army knife trend represents the natural progression of technology-as chips


become smaller and more advanced, cell phones continue to absorb new functions. Yet, in the


future, these new functions may not only make our lives easier, they could also protect us-and


maybe even save our lives.


       The Cell-All initiative may be one such savior. Spearheaded by the Department of


Homeland Security's (DHS) Science and Technology Directorate (S&T), Cell-All aims to equip


your cell phone with a sensor capable of detecting deadly chemicals at minimal cost-to the


manufacturer (a buck a sensor) and to your phone's battery life. "Our goal is to create a


lightweight, cost-effective, power-efficient solution," says Stephen Dennis, Cell-All's program


manager.


       How would this wizardry work? Just as antivirus software bides its time in the


background and springs to life when it spies suspicious activity, so Cell-All regularly sniffs the


surrounding air for certain volatile chemical compounds.


        When a threat is sensed, a virtual ah-choo! ensues in one of two ways. For personal


safety issues such as a chlorine gas leak, a warning is sounded; the user can choose a vibration,


noise, text message, or phone call. For catastrophes such as a sarin gas attack, details-including


time, location, and the compound-are phoned home to an emergency operations center.


        While the first warning is beamed to individuals-a grandmother taking a siesta or a


teenager hiking through the woods-the second warning works best with crowds. And that's


where the genius of Cell-All lies-in crowdsourcing human safety.


        Currently, ifa person suspects that something is amiss, he might dial 9 - 1 - 1 , though


behavioral science tells us that it's easier to do nothing. Ifhe does do something, it may be at a


risk to his own life. And as is often the case when someone phones in an emergency, the caller


may be frantic and difficult to understand, diminishing the quality of information that's relayed


to first responders. An even worse scenario: the person may not even be aware of the danger, like


the South Carolina woman who last year drove into a colorless, odorless, and poisonous


ammonia cloud.




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        In contrast, anywhere a chemical threat breaks out-a mall, a bus, subway, or office­


Cell-All will alert the authorities automatically. Detection, identification, and notification all take


place in less than 60 seconds. Because the data are delivered digitally, Cell-All reduces the


chance of human error. And by activating alerts from many people at once, Cell-All cleverly


avoids the longstanding problem of false positives. The end result: emergency responders can get


to the scene sooner and cover a larger area-essentially anywhere people are-casting a wider


net than stationary sensors can.


        But what about your privacy? Does this always-on surveillance mean that the government


can track your precise whereabouts whenever it wants? To the contrary, Cell-All will operate


only on an opt-in basis and will transmit data anonymously. "Privacy is as important as


technology," avers Dennis. "After all, for Cell-All to succeed, people must be comfortable


enough to turn it on in the first place."


        For years, the idea of a handheld weapons of mass destruction detector has engaged


engineers. In 2007, S&T called upon the private sector to develop concepts of operations. Today,


thanks to increasingly successful prototype demonstrations, the Directorate is actively funding


the next step in R&D-a proof of principle-to see if the concept is workable.


       To this end, three teams from Qualcomm, the National Aeronautics and Space


Administration (NASA), and Rhevision Technology are perfecting their specific area of


expertise. Qualcomm engineers specialize in miniaturization and know how to shepherd a


product to market. Scientists from the Center for Nanotechnology at NASA's Ames Research


Center have experience with chemical sensing on low-powered platforms, such as the


International Space Station. And technologists from Rhevision have developed an artificial


nose-a piece of porous silicon that changes colors in the presence of certain molecules, which


can be read spectrographically.




Patent Claim      A built-in multi sensor detection system for monitoring products with a


plurality of sensors detecting at least two agents selected from the group consisting of chemical,


biological, radiological, explosive, human, and contraband agents, comprising:


        a built-in sensor array or fixed detection device into the product that detects agents by


means of two or more sensors combined from the following list of sensors: a chemical sensor, a


biological sensor, an explosive sensor, a human sensor, a contraband sensor, and a radiological




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sensor;


          monitoring equipment of at least one of the products grouped together by common


features in the product groupings category of design similarity (i.e. computer terminal, personal


computer (PC), laptop, desktop, notebook, handheld, cell phone, PDA or smart phone) for the


receipt and transmission of signals therebetween;


          wherein the built-in multi sensor detection device is built in any of one or more products


listed in any of the plurality of product grouping categories to include but not limited to a


maritime cargo container, a lock, or monitoring equipment (i.e., a computer terminal, personal


computer (PC), a cell phone, a smart phone, a desktop, a handheld, a PDA, a laptop);


          wherein the built-in multi sensor detection device is implemented by business or


government at a minimum cost by products grouped together by common features in at least one


of several product groupings of design similarity;


          a light alarm indicator that has a plurality of colored lights that correspond to specific


ones of the at least two agent;


          wherein, when the light alarm indicator lights to indicate an alarm occurs, the built-in


multi sensor detection system communicates the alarm by way of at least one of the products


grouped together by common features in the product groupings category of design similarity (i.e.


product-to-product, product-to-satellite, product-to-cellular, product-to-radio frequency (RF),


product-to-internet, product-to-broadband, product-to-smartphone or cell phone, product-to­


computer at monitoring site, product-to-WiFi, product-to-handheld, or product-to-laptop or


desktop) for the receipt and transmission of signals therebetween.




Continue from DHS official site:         Similarly, S&T is pursuing what's known as cooperative


research and development agreements with four cell phone manufacturers: Qualcomm, LG,


Apple, and Samsung. These written agreements, which bring together a private company and a


government agency for a specific project, often accelerate the commercialization of technology


developed for government purposes. As a result, Dennis hopes to have 40 prototypes in about a


year, the first of which will sniff out carbon monoxide and fire.


          To be sure, Cell-All's commercialization may take several years. Yet the goal seems


imminently achievable: Just as Bill Gates once envisioned a computer on every desk in every




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home, so Stephen Dennis envisions a chemical sensor in every cell phone in every pocket, purse,


or belt holster. If it's not already the case, our smartphones may soon be smarter than we are.


       To request more information about this story, please e-mail st.snapshots@hg.dhs.gov.




 THE GOVERNMENT ENTERED INTO AGREEMENTS


 WITH APPLE, SAMSUNG, LG, AND QUALCOMM FOR


  THE DEVELOPMENT AND COMMERCIALIZATION


 OF THE 'CMDC DEVICE (i.e. Modified CELL PHONE).


           APPLE, SAMSUNG, LG, AND QUALCOMM's


        INFRINGEMENT OF THE COMMUNICATING,


    MONITORING, DETECTING, AND CONTROLLING


           (CMDC) DEVICE IS ILLUSTRATED BELOW.



   "TESTING MECHANISM CLAIM CHART" TO DETERMINE                                   INFRINGEMENT


Read from Left>>>>>>>>>>>>>>>>>>>>>>>>>>> to >>>>>>>>>>>>>>>>>>>>>>>>>>Right>>>>>>>>>>




 Apple's iPhone 5, 5e, 5s, 6, 6, 7,

    8, 9, and 10    and the iPad            Patent #: 9,589,439;                 Patent#: RE 43,990;

   interconnected to the Apple             Independent Claim 22                   Dependent Claims

                Watch




   The Apple Watch (e.g. multi-                                              1 8 . The communication device

     sensor detection device:                                                   of claim   1 1 wherein the

   interconnected to monitoring         A communication device of at        communication device having a

    equipment - iPhone / iPad;         least one of a cell phone, a smart   basic monitoring terminal can be

   biosensor for detecting heart       phone, a desktop, a handheld, a        adapted and incorporated to

 rate; leveraged internet and GPS      personal digital assistant (PDA),      include desktop computers,

    connections; power source         a laptop, or a computer terminal,       notebook, PC's, laptops, cell

  battery; CPU; light indicators).               comprising                   phones, smart phones, LCD

 Apple Watch requires an iPhone                                                  monitors, and satellite

        5, 6, 7, 8 , 9 , and 1 0 .                                                    monitoring




                                                     64
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                                                                          1 1 8 . The multi-sensor detection

  The heart rate bio-chemical                                              system [of claim I 03] wherein

  sensor in Apple Watch uses         at least one of a chemical sensor,   the cell phone, the smart phone,

 photoplethysmography (heart         a biological sensor, an explosive    and the cell phone detector case

 rate (HR) and pulse oximeter           sensor, a human sensor, a          have a plurality of sensors for

oxygen saturation (SpO2) from             contraband sensor, or a            detecting at least one of a

wearable photoplethysmographic       radiological sensor; that is wired        chemical, biological,

(PPG) biosensors). Technology          or wireless, capable of being      radiological, nuclear, explosive

    based:    Apple Watch can          disposed within, on, upon or          and contraband agents and

calculate the number of times the      adjacent the communication         compounds which are capable of

 heart beats each minute; your                    device;                  being disposed within the cell

             heart rate.                                                   phone, the smart phone, or the

                                                                              cell phone detector case.




Apple chip A8X delivers better

CPU and graphics performance

than its predecessor. With its 64-
                                                                           12. The communication device
 bit desktop-class architecture,
                                          at least one of a central          [of claim 1 1 ] wherein each
  iPad Air 2 is as powerful as
                                         processing unit (CPU), a         communication device includes
 many personal computers. It's
                                     network processor, or a front end       at least one of an internet
 power efficient, too, with a I 0-
                                       processor for communication        connection, a GPS connection, a
hour battery life. The iPhone 6's
                                       between a host computer and        radio frequency (RF) connection,
  A8 processor has a dual-core
                                               other devices;               or a central processing unit
model like the A7, but clocked at
                                                                                       (cpu).
a higher frequency. The iPhone 6

has a 2GHz dual-core 20nm 64-

             bitA8 CPU.




                                                                           28. The communication device

                                                                              [of claim 11] wherein the
  If your iPhone, iPad, or iPod
                                                                          communication device can send
 touch is lost or stolen. Tum on
                                                                            and receive signals, send and
Lost Mode. Using Lost Mode, a          a transmitter for transmitting
                                                                             receive warnings, send and
  person can remotely lock the        signals and messages to at least
                                                                            receive commands, send and
     device with a four-digit         one of a multi-sensor detection
                                                                            receive data, information and
 passcode, and display a custom        device, a cell phone detection
                                                                           report the status of the sensors
    message with your phone             device, or a locking device;
                                                                             and operational equipment
number on your missing device's
                                                                             systems to and from a cell
             Lock screen
                                                                            phone, smart phone, PDA or

                                                                                  handheld device.




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                                                                          28. The communication device

                                                                             [of claim 1 1 ] wherein the
  If your iPhone, iPad, or iPod
                                                                         communication device can send
 touch is lost or stolen. Turn on
                                                                           and receive signals, send and
Lost Mode. Using Lost Mode, a        a receiver for receiving signals,
                                                                            receive warnings, send and
  person can remotely lock the        data or messages from at least
                                                                           receive commands, send and
    device with a four-digit         one of a multi-sensor detection
                                                                          receive data, information and
passcode, and display a custom        device, a cell phone detection
                                                                          report the status of the sensors
   message with your phone             device, or a locking device;
                                                                            and operational equipment
number on your missing device's
                                                                            systems to and from a cell
          Lock screen
                                                                           phone, smart phone, PDA or

                                                                                 handheld device.




  Every iPhone and iPad ever
                                                                          25. The communication device
    made has both WiFi and
                                                                             [of claim 1 1 ] wherein the
Bluetooth. The cellular service,         at least one of a satellite
                                                                           communication device has at
 originally called 3G and now             connection, Bluetooth
                                                                             least one of a Bluetooth
called LTE; allows the iPhone to      connection, WiFi connection,
                                                                         connection, a Wi-Fi connection,
connect to the internet anywhere       internet connection, cellular
                                                                           a short and long range radio
 cell phone works. The iPhone         connection, long and/or short
                                                                         frequency connection, a Cellular
uses the GPS chip in conjunction       range radio frequency (RF)
                                                                              connection, a satellite
with cell phone towers and Wi­       connection, or GPS connection;
                                                                              connection, and a GPS
   Fi networks-in a process
                                                                                    connection.
    termed "assisted GPS".




  Every iPhone and iPad ever

    made has both WiFi and

    Bluetooth, two wireless                                               30. The communication device

 technologies for connecting to                                              [of claim 11] wherein the

 nearby devices (in the case of                                              communication device is
                                    the communication device being
 Bluetooth) and the internet (in                                           designed to be used with or
                                       at least a fixed, portable or
 the case of WiFi). iPhone and                                                without biometrics for
                                     mobile communication device,
iPad Touch ID use fingerprint as                                         authentication and identification,
                                     equipped with at least one wired
 a passcode. Fingerprint one of                                          with at least one of a fingerprint
                                        or wireless sensor for the
  best passcodes in the world.                                            recognition, voice recognition,
                                          detection of humans;
With just a touch of the device's                                        face recognition, hand geometry,

  Home button, the Touch ID                                              retina scan, iris scan, heart rate,

     sensor quickly reads a                                                    pulse or signature...

  fingerprint and automatically

       unlocks the phone.




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       '



   If Apple Touch ID doesn't

   recognize your finger after

 multiple failed attempts, you'll                                            22. The communication device

 be given the option of entering                                                [of claim 1 1 ] wherein the

 your Apple ID password. You                                                    communication device is

  need to enter your Apple ID          the communication device being        designed to be equipped with

 password after: (I) Restarting        equipped to receive signals from       applications for the locking,

your device, and (2) Enrolling or      or send signals to engage (lock),    disabling a lock, enabling a lock,

deleting fingers. If lost or stolen,    disengage (unlock), or disable       and unlocking the locks of, but

you can disable Touch ID from              (make unavailable) locks;           not limited to, containers,

being used to unlock your device                                            vehicles, houses and businesses,

   with Find My iPhone Lost                                                 using a smart phone, cell phone,

  Mode. Additional protection                                                   PDA, laptop or desktop

  against theft with Activation

              Lock,




                                                                             30. The communication device
 iPhone and iPad Touch ID is a
                                                                                [ofclaim 1 1 ] wherein the
    seamless way to use your
                                       the communication device being           communication device is
 fingerprint as a passcode. Your
                                         equipped with biometrics that        designed to be used with or
  fingerprint is one of the best
                                         incorporates at least one of a          without biometrics for
passcodes in the world. With just
                                        fingerprint recognition or a face   authentication and identification,
 a touch of your device's Home
                                         recognition to at least one of     with at least one of a fingerprint
  button, the Touch ID sensor
                                         gain access to the device or to     recognition, voice recognition,
 quickly reads your fingerprint
                                           prevent unauthorized use;        face recognition, hand geometry,
and automatically unlocks your
                                                                            retina scan, iris scan, heart rate,
              phone.
                                                                                  pulse or signature...




NFC arrived on the iPhone 6 in

2014, it has been restricted to the
                                       the communication device being
 contactless Apple Pay system.
                                         capable of wireless near-field     20. The communication device
      But at the Worldwide
                                         communication (NFC) which              [of claim 1 1 ] wherein the
  Developers Conference last
                                       allows radio frequency (RF) data      communication device can be
week, Apple quietly announced
                                        to be at least one ofreceived or     interconnected through wire or
 that with the arrival of iOS 1 1
                                            transferred between the           wireless for communication,
this fall, apps will be able to use
                                         communication device and at             signals, commands and
 an iPhone's NFC chip to read
                                        least one tag that is read by the         transmission of data.
 tags, pair with accessories, and
                                            communication device;
 exchange data with other NFC

             devices.




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  Every iPhone and iPad ever

    made has both WiFi and
                                     whereupon a signal sent to the
    Bluetooth, two wireless
                                       receiver of at least one of a
 technologies for connecting to
                                     multi-sensor detection device, a
 nearby devices (in the case of
                                    cell phone detection device, or a
 Bluetooth) and the internet (in                                          25. The communication device
                                    locking device from a satellite or
the case ofWiFi). The cellular                                               [of claim 1 1 J wherein the
                                     a cell phone tower or through at
service, originally called 3G and                                          communication device has at
                                         least one of a Bluetooth
  now called LTE; this option                                                 least one of a Bluetooth
                                     connection, a WiFi connection,
allows the iPhone to connect to                                           connection, a Wi-Fi connection,
                                    an internet connection, a cellular
the internet anywhere cell phone                                            a short and long range radio
                                    connection, a GPS connection, a
  works, to check emails. The                                             frequency connection, a Cellular
                                    short range radio frequency (RF)
 iPhone's GPS chip is like that                                                connection, a satellite
                                    connection, or a long range radio
   found in stand-alone GPS                                                   connection, and a GPS
                                       frequency (RF) connection,
  devices. The iPhone uses the                                                      connection.
                                     causes a signal that includes at
 GPS chip in conjunction with
                                       least one oflocation data or
  cell phone towers and Wi-Fi
                                       sensor data to be sent to the
networks-in a process termed
                                       communication device; and
  "assisted GPS"---to quickly

 calculate the phone's position.




  Every iPhone and iPad ever

    made has both WiFi and

    Bluetooth, two wireless

 technologies for connecting to     wherein at least one of a satellite
                                                                           28. The communication device
 nearby devices (in the case of           connection, Bluetooth
                                                                             [of claim 1 1 J wherein the
 Bluetooth) and the internet (in      connection, WiFi connection,
                                                                          communication device can send
 the case ofWiFi). The cellular        internet connection, cellular
                                                                           and receive signals, send and
service, originally called 3G and     connection, long range radio
                                                                            receive warnings, send and
  now called LTE; this option         frequency (RF) connection, or
                                                                            receive commands, send and
allows the iPhone to connect to     short range radio frequency (RF)
                                                                           receive data, information and
the internet anywhere cell phone      connection, capable of signal
                                                                           report the status of the sensors
 works, to check emails. Apple           communication with the
                                                                             and operational equipment
 chip ASX delivers better CPU       transmitter of the communication
                                                                             systems to and from a cell
 and graphics performance than          device, the receiver of the
                                                                            phone, smart phone, PDA or
 its predecessor. The iPhone 6' s     communication device, or the
                                                                                  handheld device.
  AS processor has a dual-core        central processing unit (CPU).

model like the A7. The iPhone 6

has a 2GHz dual-core 20nm 64­

          bit AS CPU.




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      Samsung Galaxy s6

     interconnected to the                            Patent #: 9,589,439;                    Patent#: RE 43,990;

       "Samsung Gear S2                              Independent Claim 22                      Dependent Claims

           Smartwatch"




     The Samsung Gear S2

 smartwatch (e.g. multi-sensor
                                                                                          1 8 . The communication device
detection device:      interconnected
                                                                                             of claim   1 1   wherein the
   to monitoring equipment ­
                                                  A communication device of at           communication device having a
 Samsung Galaxy s6; biosensor
                                                 least one of a cell phone, a smart      basic monitoring terminal can be
     for detecti ng heart rate;
                                                  phone, a desktop, a handheld, a          adapted and incorporated to
  leveraged internet and GPS
                                                 personal digital assistant (PDA),         include desktop computers,
   connections; power source
                                                 a laptop, or a computer terminal,         notebook, PC's, laptops, cell
   battery) has a solid health
                                                           comprising:                     phones, smart phones, LCD
   tracking and slightly better
                                                                                              monitors, and satellite
 battery life than other high-end
                                                                                                   monitoring
 smartwatches. It works with a

   variety of Androi d phones.




The Gear S2 need to connect to a

 mobile device (e.g. Galaxy S6)
                                                                                         1 1 8 . The multi-sensor detection
    using the Samsung Gear
                                                                                          system [of claim      I 03] wherein
  application. The application
                                                 at least one of a chemical sensor       the cell phone, the smart phone,
 must be installed on the mobile                                                     '

                                                 a biological sensor, an explosive       and the eel I phone detector case
  device (e.g. Galaxy S6). The
                                                    sensor, a human sensor, a             have a plurality of sensors for
    Gear S2 sensors include:
                                                      contraband sensor, or a               detecting at least one of a
  Accelerometer; Gyroscope;
                                                 radiological sensor; that is wired           chemical, biological,
Heart Rate; Ambient Light· and
                                    ,        '
                                                   or wireless, capable of being         radiological, nuclear, explosive
Barometer. Connectivity include:
                                                   disposed within, on, upon or             and contraband agents and
 8 0 2 . 1 1 n W i F i ; Bluetooth 4 . 1 ;
                                                   adjacent the communication            compounds which are capable of
NFC. GPS include: The Gear S2
                                                              device;                     being disposed within the cell
3G includes a GPS receiver and
                                                                                          phone, the smart phone, or the
 two apps, Nike+ and S Health
                                                                                             cell phone detector case.
   that include GPS tracking

               support.




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    Samsung Galaxy s6 CPU

   (Central Processing Unit) ­

otherwise known as a processor ­

 is an electronic circuit that can

execute computer programs. The

 Samsung Galaxy S6 SM-G920i

 32GB is a good Android phone

with 2100 MHz processor 8-core
                                                                           12. The communication device
 that allows the user run heavy
                                           at least one of a central         [of claim 1 1 ] wherein each
   applications. The Samsung
                                          processing unit (CPU), a        communication device includes
  Galaxy S6 smartphones and
                                      network processor, or a front end      at least one of an internet
tables don't just use "processors",
                                       processor for communication        connection, a GPS connection, a
they use what's called a System-
                                        between a host computer and       radio frequency (RF) connection,
on-a-chip (SoC). The SoC is the
                                               other devices;                or a central processing unit
    equivalent of a computer
                                                                                        (cpu).
  motherboard, including main

  processor, graphics processor

 and memory, on a single chip.

The CPU is nonetheless a must-

  have component of the SoC.

  Modern SoCs have two, and

   soon four, processors cores

          ("multi-core")




                                                                           28. The communication device

The Samsung Galaxy S6 capable                                                 [of claim 1 1 ] wherein the

 of automatically transmitting a                                          communication device can send

signal to lock after several failed                                         and receive signals, send and
                                        a transmitter for transmitting
 log-in attempts. The Samsung                                                receive warnings, send and
                                       signals and messages to at least
Galaxy S6 "Fingertip Heart Rate                                             receive commands, send and
                                       one of a multi-sensor detection
 Monitor" detection device (e.g.                                            receive data, information and
                                       device, a cell phone detection
cell phone detection device) is a                                          report the status of the sensors
                                         device, or a locking device;
 built-in monitor that measures                                              and operational equipment

heart rate from a fingertip using                                            systems to and from a cell

           a biosensor.                                                     phone, smart phone, PDA or

                                                                                  handheld device.




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                                                                           28. The communication device

The Samsung Galaxy S6 capable                                                 [of claim 1 1 ] wherein the

ofreceiving a signal to reset (e.g.                                        communication device can send

   unlock; locking device) the                                              and receive signals, send and
                                       a receiver for receiving signals,
phone. The Samsung Galaxy S6                                                 receive warnings, send and
                                       data or messages from at least
 "Fingertip Heart Rate Monitor"                                             receive commands, send and
                                       one of a multi-sensor detection
detection device (e.g. cell phone                                           receive data, information and
                                       device, a cell phone detection
  detection device) is a built-in                                           report the status of the sensors
                                         device, or a locking device;
monitor that measures heart rate                                             and operational equipment

     from a fingertip using a                                                 systems to and from a cell

            biosensor.                                                       phone, smart phone, PDA or

                                                                                   handheld device.




  Cellular data connection: The

 connection that the Galaxy s6
                                                                           25. The communication device
 uses to exchange data over the
                                                                              [of claim 1 1 ] wherein the
air using your mobile operator's          at least one of a satellite
                                                                            communication device has at
    cellular network. Cellular              connection, Bluetooth
                                                                               least one of a Bluetooth
network connection: the Galaxy          connection, WiFi connection,
                                                                           connection, a Wi-Fi connection,
    s6 uses for voice and data           internet connection, cellular
                                                                             a short and long range radio
    connect. This network is            connection, long and/or short
                                                                           frequency connection, a Cellular
     managed by the mobile               range radio frequency (RF)
                                                                                connection, a satellite
 operator. WLAN: Wi-Fi 802.11          connection, or GPS connection;
                                                                                connection, and a GPS
  a/b/g/n/ac, dual-band, Wi-Fi
                                                                                      connection.
Direct, hotspot. Bluetooth: v4. l,

           A2DP,LE,




 Seven wireless interfaces in the

Samsung Galaxy S6 smartphone                                                30. The communication device

  - Frequency Division Duplex                                                  [of claim 11] wherein the

 Cellular, Time Division Duplex                                                communication device is

   Cellular, Wi-Fi, Bluetooth,                                               designed to be used with or

   GNSS (Global Navigation                                                      without biometrics for

  Satellite System), Near-Field                                            authentication and identification,
                                      the communication device being
 Communication, and Wireless                                               with at least one of a fingerprint
                                         at least a fixed, portable or
  Charging. Samsung allows 4                                                recognition, voice recognition,
                                       mobile communication device,
    fingerprints to set-up the                                             face recognition, hand geometry,
                                      equipped with at least one wired
  fingerprint scanner; for log-in                                          retina scan, iris scan, heart rate,
                                          or wireless sensor for the
  and lock-out. Samsung's Face                                                pulse or signature, thereby
                                            detection of humans;
   unlock uses the front-facing                                            allowing access to the product by

 camera to identify the user and                                           authorized, trained, and equipped

  unlock the device. Samsung's                                                individuals and preventing

    iris scanning method, uses                                                 access to the product by

special sensors on front of phone                                            unauthorized, untrained, and

    to identify and unlock the                                                 unequipped individuals.

              device.




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After several unsuccessful log-in

  attempts using a passcode or

 fingerprint, a Samsung device

automatically locks itself up as a                                         22. The communication device

security feature. If user is unable                                           [of claim 11] wherein the

   to log in after doing all the                                               communication device is

security layers, there's no other     the communication device being        designed to be equipped with

  option but to have the phone        equipped to receive signals from       applications for the locking,

unlocked. Samsung's near-field        or send signals to engage (lock),    disabling a lock, enabling a lock,

 communication (NFC) enabled           disengage (unlock), or disable       and unlocking the locks of, but

 smartphone: slide hand on the            (make unavailable) locks;           not limited to, containers,

  back and the NFC Ring can                                                vehicles, houses and businesses,

unlock it. The NFC Ring comes                                              using a smart phone, cell phone,

with two special NFC tag inlays                                                PDA, laptop or desktop

 inside the ring. The NFC Ring

can be used to unlock & control

         mobile devices




                                                                            30. The communication device

   Samsung only allows you to                                                  [of claim 1 1 ] wherein the

 register 4 fingerprints to set-up                                             communication device is

    the fingerprint scanner; a                                                designed to be used with or

 security feature for easy log-in                                               without biometrics for

  and lock-out. Samsung's new         the communication device being       authentication and identification,

  Face unlock feature uses the          equipped with biometrics that      with at least one of a fingerprint

 front-facing camera to identify        incorporates at least one of a      recognition, voice recognition,

 the user and unlock the device.       fingerprint recognition or a face   face recognition, hand geometry,

  Samsung has included an iris          recognition to at least one of     retina scan, iris scan, heart rate,

  scanning method, which uses           gain access to the device or to       pulse or signature, thereby

 special sensors on the front of          prevent unauthorized use;        allowing access to the product by

  the phone to identify you and                                            authorized, trained, and equipped

 unlock the device. Iris scanning                                             individuals and preventing

  is considered one of the most                                                access to the product by

    secure biometric methods                                                 unauthorized, untrained, and

                                                                               unequipped individuals.




  Seven wireless interfaces now
                                      the communication device being
found in the Samsung Galaxy S6
                                        capable of wireless near-field      20. The communication device
     high-end smartphone ­
                                        communication (NFC) which              [of claim 1 1 ] wherein the
   Frequency Division Duplex
                                      allows radio frequency (RF) data       communication device can be
 Cellular, Time Division Duplex
                                       to be at least one of received or    interconnected through wire or
   Cellular, Wi-Fi, Bluetooth,
                                           transferred between the           wireless for communication,
   GNSS       (Global Navigation
                                        communication device and at             signals, commands and
  Satellite   System), Near-Field
                                       least one tag that is read by the         transmission of data.
 Communication,      and Wireless
                                           communication device;
               Charging




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 Cellular data connection: The
                                       whereupon a signal sent to the
 connection that the Galaxy s6
                                        receiver of at least one of a
 uses to exchange data over the
                                      multi-sensor detection device, a
air using your mobile operator's
                                      cell phone detection device       or a
   cellular network. Cellular                                                  25. The communication device
                                      locking device from a satellite or
   network connection: The                                                        [of claim 1 1 J wherein the
                                      a cell phone tower or through at
network that the Galaxy s6 uses                                                 communication device has at
                                             least one of a Bluetooth
   for making voice and data                                                       least one of a Bluetooth
                                       connection, a WiFi connection
                                         .                                ,
 connections. This network is                                                  connection, a Wi-Fi connection
                                      an mternet connection, a cellular
    managed by the mobile                                                        a short and long range radio      '
                                      connection, a GPS connection, a
operator.WLAN: Wi-Fi 802.11                                                    frequency connection, a Cellular
                                      short range radio frequency (RF)
   Wi-Fi Direct, and hotspot.                                                       connection, a satellite
                                      connection, or a long range radio
Bluetooth: v4.l, A2DP, LE, apt-                                                    connection, and a GPS
                                        frequency (RF) connection,
 X. The Galaxy can determine                                                             connection.
                                       causes a signal that includes at
location using its built-in Global
                                        least one oflocation data or
   Positioning System (GPS)
                                        sensor data to be sent to the
transmitter, Wi-Fi networks, and
                                        communication device; and
        mobile networks.




                                      wherein at least one of a satellite
                                                                               28. The communication device
                                             connection, Bluetooth
                                                                                  [of claim 1 1 J wherein the
The Samsung Galaxy S6 capable           connection, WiFi connection
                                                                               communication device can send
 of automatically transmitting a        internet connection, cellular
                                                                                and receive signals, send and
signal to lock after several failed     connection, long range radio
                                                                                 receive warnings, send and
 log-in attempts. The Samsung          frequency (RF) connection, or
                                                                                 receive commands, send and
Galaxy S6 capable ofreceiving a       short range radio frequency (RF)
                                                                                receive data, information and
   signal to reset (e.g. unlock·        connection, capable of signal
                                                                                report the status of the sensors
    locking device). Thereby                 communication with the
                                                                                  and operational equipment
   activating or deactivating a       transmitter of the communication
                                                                                  systems to and from a cell
        security system.                 device, the receiver of the
                                                                                 phone, smart phone, PDA or
                                       communication device, or the
                                                                                       handheld device.
                                       central processing unit (CPU).




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   LG Electronics: LG VIO                    Patent #: 9,589,439;                 Patent#: RE 43,990;

Smartphone; LG Watch Sport                  Independent Claim 22                   Dependent Claims




2008: The "Cell-All" initiative.

 The DHS-S&T, Cell-AI aims

"to equip your cell phone with a

   sensor capable of detecting                                                1 8 . The communication device

deadly chemicals", says Stephen                                                  of claim   I   I   wherein the

   Dennis, Cell-All's program           A communication device of at         communication device having a

      manager. S& T pursued            least one of a cell phone, a smart    basic monitoring terminal can be

  cooperative agreements with           phone, a desktop, a handheld, a        adapted and incorporated to

 four cell phone manufacturers:        personal digital assistant (PDA),       include desktop computers,

  Qualcomm, LG, Apple, and             a laptop,   or a computer terminal,     notebook, PC's, laptops, cell

       Samsung. Used by the                         comprising:                phones, smart phones, LCD

Government; 20 I 6: Both the LG                                                   monitors, and satellite

GS and V I 0 smartphones is used                                                        monitoring

 by the Department of Defense.

 Sensors will integrate with 26 I

        million cell phones.




 The LG Watch Sport is, well,                                                1 1 8 . The multi-sensor detection

 sporty-looking with a big 1 . 3 8 ­                                          system [of claim        1 0 3 ] wherein

   inch, 480-by-480 P-OLED             at least one of a chemical sensor,    the cell phone, the smart phone,

  display.    The device has two       a biological sensor, an explosive     and the cell phone detector case

       buttons for convenient              sensor, a human sensor, a          have a plurality of sensors for

     navigati on and integrates             contraband sensor, or a             detecting at least one of a

 multiple sensors, including an        radiological sensor; that is wired          chemical, biological,

     accelerometer, barometer,           or wireless, capable of being       radiological, nuclear, explosive

ambient I ight, G PS, and a PPM          disposed within, on, upon or           and contraband agents and

          sensor (short for              adjacent the communication          compounds which are capable of

  photoplethysmogram, which                           device;                 being disposed within the cell

accurately tracks heart rate when                                             phone, the smart phone, or the

 the wearer is at rest or active).                                               cell phone detector case.




LG   VI 0   CPU: Hexa-core (4x 1 .4
                                                                              1 2 . The communication device
 GHz Cortex-A53 & 2x 1 . 8 GHz
                                            at least one of a central           [of claim   1 1 ] wherein each
 Cortex-A57). LG smartphones
                                           processing unit (CPU), a          communication device includes
  are equipped with embedded
                                       network processor, or a front end         at least one of an internet
 chipsets. The CPU that's at the
                                         processor for communication         connection, a GPS connection, a
  core of the chipset is vital for
                                         between a host computer and         radio frequency (RF) connection,
general computing performance.
                                                   other devices;               or a central processing unit
  LG   VI 0   Chipset: Qualcomm
                                                                                            (cpu).
   MSM8992 Snapdragon 808




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                                                                                  28. The communication device

  Transmits signals through at                                                       [of claim 1 1 ] wherein the

least one of a cellular, a long or                                                communication device can send

short range radio frequency, or a                                                  and receive signals, send and
                                       a transmitter for transmitting
Bluetooth connection. You can                                                       receive warnings, send and
                                      signals and messages to at least
   use Bluetooth to transfer                                                       receive commands, send and
                                      one of a multi-sensor detection
 information between LG VI o                                                       receive data, information and
                                       device, a cell phone detection
 phone and another Bluetooth­                                                     report the status of the sensors
                                        device, or a locking device;
enabled device. Quick message                                                       and operational equipment

is the specified text message to                                                    systems to and from a cell

            send out.                                                              phone, smart phone, PDA or

                                                                                         handheld device.




                                                                                  28. The communication device

                                                                                     [of claim 1 1 ] wherein the
Receives signals through at least
                                                                                  communication device can send
one of a cellular, a long or short
                                                                                   and receive signals, send and
  range radio frequency, or a         a receiver for receiving signals,
                                                                                    receive warnings, send and
Bluetooth connection. LG VIO          data or messages from at least
                                                                                   receive commands, send and
   User Guide: Notifications:         one of a multi-sensor detection
                                                                                   receive data, information and
Enable this option if you wish to      device, a cell phone detection
                                                                                  report the status of the sensors
 receive a notification when a          device, or a locking device;
                                                                                    and operational equipment
new text or multimedia message
                                                                                     systems to and from a cell
             arnves.
                                                                                   phone, smart phone, PDA or

                                                                                         handheld device.




                                                                                  25. The communication device

                                                                                     [of claim 1 1 ] wherein the
                                            at least one of a satellite
LG VIO cellular connection: Wi­                                                    communication device has at
                                             connection, Bluetooth
Fi 802.11 a/b/g/n/lac, dual-band                                                      least one of a Bluetooth
                                       connection, WiFi connection
 WI-Fi Direct, DLNA, hotspot;           .                                 '       connection, a Wi-Fi connection
                                        mternet connection, cellular
Bluetooth 4.1, A2DP, LE, aptX;                                                      a short and long range radio     '
                                       connection, long and/ or short
     GPS with A-GPS, and                                                          frequency connection, a Cellular
                                        range radio frequency (RF)
           GLONASS                                                                     connection, a satellite
                                      connection, or GPS connection-
                                                                              '       connection, and a GPS

                                                                                            connection.




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                                                                           30. The communication device

                                                                                [of claim 1 1 ] wherein the

                                                                                communication device is
                                     the communication device being
                                                                            designed to be used with or
LG V 10 features include sensors        at least a fixed, portable or
                                                                                 without biometrics for
  for face/smile detection, iris      mobile communication device ,
                                                                          authentication and identification,
    scanner, and fingerprint         equipped with at least one wired
                                                                          with at least one of a fingerprint
          recognition.                   or wireless sensor for the
                                                                           recognition, voice recognition,
                                           detection of humans;
                                                                          face recognition, hand geometry,

                                                                          retina scan, iris scan, heart rate,

                                                                                   pulse or signature...




                                                                           22. The communication device
After 5 unsuccessful attempts to
                                                                                [of claim 1 1 J wherein the
unlock the LG smartphone, the
                                                                                communication device is
user is prompted to enter a text
                                     the communication device being         designed to be equipped with
 phrase to confinn that they are
                                     equipped to receive signals from       applications for the locking,
trying to unlock the phone. After
                                     or send signals to engage (lock),    disabling a lock, enabling a lock,
  10 unsuccessful attempts, the
                                      disengage (unlock), or disable       and unlocking the locks of, but
    phone will automatically
                                         (make unavailable) locks;              not limited to, containers,
perform a factory data reset and
                                                                          vehicles, houses and businesses
                                                                            .                                 ,
 all of the personal files will be
                                                                          usmg a smart phone, cell phone,
             erased.
                                                                                 PDA, laptop or desktop




                                                                           30. The communication device

                                                                                [of claim 11 J wherein the

                                     the communication device being             communication device is

                                       equipped with biometrics that         designed to be used with or
LG V I 0 features include sensors
                                       incorporates at least one of a            without biometrics for
  for face/smile detection, iris
                                      fingerprint recognition or a face   authentication and identification ,
    scanner, and fingerprint
                                       recognition to at least one of     with at least one of a fingerprint
         identification.
                                       gain access to the device or to     recognition, voice recognition,

                                         prevent unauthorized use;        face recognition, hand geometry,

                                                                          retina scan, iris scan , heart rate ,

                                                                                   pulse or signature...




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  The LG V 10 NFC is a short-

 range high frequency wireless

communication technology that        the communication device being

  enables the exchange of data         capable of wireless near-field     20. The communication device

between devices over about a 10        communication (NFC) which             [of claim 1 1 ] wherein the

 cm distance. It allows users to     allows radio frequency (RF) data      communication device can be

 share content between digital        to be at least one of received or   interconnected through wire or

 devices, and even use their LG           transferred between the          wireless for communication,

    smartphone on existing             communication device and at            signals, commands and

 contactless infrastructure. The      least one tag that is read by the        transmission of data.

 significant advantage of NFC             communication device;

over Bluetooth is the shorter set-

 up time (under a 1/10 second).




LG VI O cellular connection; Wi­      whereupon a signal sent to the

Fi 802.11 a/b/g/n/ac, dual-band,        receiver of at least one of a

 Wi-Fi Direct, DLNA, hotspot;         multi-sensor detection device, a

Bluetooth 4.1, A2DP, LE, aptX;       cell phone detection device, or a
                                                                          25. The communication device
     GPS with A-GPS, and             locking device from a satellite or
                                                                             [of claim 1 1 ] wherein the
    GLONASS. Smartphone               a cell phone tower or through at
                                                                           communication device has at
  manufacturers and operators             least one of a Bluetooth
                                                                              least one of a Bluetooth
  have introduced the Assisted        connection, a WiFi connection,
                                                                          connection, a Wi-Fi connection,
    GPS technology, which            an internet connection, a cellular
                                                                            a short and long range radio
downloads the current ephemeris      connection, a GPS connection, a
                                                                          frequency connection, a Cellular
  for a few days ahead via the       short range radio frequency (RF)
                                                                               connection, a satellite
  wireless networks and helps        connection, or a long range radio
                                                                              connection, and a GPS
  triangulate the general user's        frequency (RF) connection,
                                                                                    connection.
position with the cell towers thus    causes a signal that includes at

allowing the GPS receiver to get        least one oflocation data or

 a faster lock at the expense of        sensor data to be sent to the

      several (kilo) bytes.             communication device; and




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  Transmits and receives signals

 through at least one of a cellular,   wherein at least one of a satellite
                                                                             2 8 . The communication device
    a long or short range radio             connection, Bluetooth
                                                                                [of claim   I I ] wherein the
     frequency, or a Bluetooth          connection, WiFi connection,
                                                                             communication device can send
     connection. You can use             internet connection, cellular
                                                                              and receive signals, send and
 Bluetooth to transfer infonnation       connection, long range radio
                                                                               receive warnings, send and
   between LG V I O phone and           frequency (RF) connection, or
                                                                              receive commands, send and
    another Bluetooth-enabled          short range radio frequency (RF)
                                                                              receive data, information and
   device. Quick message is the          connection, capable of signal
                                                                             report the status of the sensors
  specified text message to send           communication with the
                                                                               and operational equipment
    out. LG V I O User Guide:          transmitter of the communication
                                                                               systems to and from a cell
 Notifications: Enable this option        device, the receiver of the
                                                                              phone, smart phone, PDA or
      if you wish to receive a          communication device, or the
                                                                                    handheld device.
  notification when a new text or       central processing unit (CPU).

   multimedia message arrives.




ITC Provides Clarity on the Meaning of a Section

337(a)(2) "Article"


ITC      Provides                Clarity        on      the       M e a n i n g         of      a




Section            337(a)(2)              "Article"




        A recent decision by the International Trade Commission (ITC or the "Commission")


held that pre-commercial or non-commercial items qualify as "articles" for purposes of section


337 investigations.[! ]The decision opens up the ITC to complainants who are in an earlier phase


of product development. Under section 337(a)02), a Complainant bears the burden to show that


the "domestic industry requirement" is satisfied by showing that an industry in


"articles protected by the patent, copyright, trademark, mask work, or design concerned, exists


or is in the process of being established. [2] The question that remained was whether the


protected article had to be in production. In its I 046 Investigation opinion, the Commission has


provided some much-needed clarity.[3] In reversing the Initial Determination, the Commission


held that Section 337(a)(2) "does not require commercial production for a domestic industry in


the process of being established."[4]




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       In the 1046 Investigation, Complainant Macronix asserted that a domestic industry in the


process of being established existed based on its research and development on an experimental


semiconductor wafer as its "article."[5] While the Macronix product was not a commercial


product at the time of filing the complaint, or the hearing, Macronix argued that the domestic


industry requirement does not require showing that the domestic industry article is a mass­


produced or commercialized product.[6] The Macronix product was not ready for the


marketplace, but a small quantity of precursors were made for the purpose of further research


and development, and, Macronix argued, the product practices the asserted patents.[7]


       In the Initial Determination, ALJ Lord agreed with Respondent Toshiba, and held that


while Section 337 allows for complainants seeking to protect "nascent industries" to prevail by


showing a domestic industry "in the process of being established," the statute nevertheless


requires a showing of an "article of commerce, i.e., a product for sale in the marketplace" to


satisfy the "article" requirement of the Section 337(a)(2) domestic industry


requirement. [8] Thus, ALJ Lord held that within the provisions and purpose of Section


337(a)(2), "article" refers to "products or other commodities that are sold in the


marketplace."[9] According to the ID, Macronix's product was not "commercially viable" and,


therefore, Macronix did not satisfy the domestic industry requirement, and no exclusion order


should issue.


       After both sides and the OUII Commission Staff appealed to the Commission, the


Commission reversed the ID and issued a limited exclusion order against Respondent


Toshiba.[10] The Commission disagreed with the ALJ's interpretation of "article" under section


337(a)(2), and stated that commercialization is not a prerequisite for proving a domestic industry


based on an industry in the process of being established, and that a domestic industry may be


based on a product still in the pre-commercial or non-commercial stage.[11]


       The Commission explained that the term "article" is "sufficiently capacious to embrace


pre-commercial or non-commercial items."[12] The holding cites a previous Commission


opinion which cautioned against an interpretation of "article" that "would offer no relief to an


inventor-complainant . . . before the complainant has had an opportunity to engage in production­


oriented efforts."[13] The Commission also relied on the legislative history of Section 337 to


support its holding that an "article" need not be commercialized. Using Section 337(a)(3)(C) as


an example that permits a domestic industry based on licensing activities, the Commission stated




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that Congress clearly intended to provide a remedy to nascent industries such as universities,


inventors, and start-ups in the absence of a commercialized product where those industries would


use licensing to raise the funds needed to manufacture a product.[14]


            While the two-part test[l 5] for proving a domestic industry in the process of being


established remains a difficult evidentiary threshold, this Commission opinion affords


complainants security in initiating an investigation to thwart a "speedy infringer" where a


complainant does not yet have a commercially ready product. In other words, it is now possible


for complainants to go to the ITC earlier in their development cycle. Under this Commission


opinion, the ITC is now an even more favorable venue for complainants in industries with


lengthy research and development timelines, such as the medical device and pharmaceutical


industries; or industries with rapid product updates, such as consumer electronics.




Endnotes




[1] Certain Non-Volatile Memory Devices and Products Containing Same, Inv. No. 337-TA­


1046, Comm'n Op. at 41          Oct. 26, 2 0 1 8 ) .
                                (




[2]   19    U.S. Code §    37(a)(2).
                          13




[3]   Certain Non-Volatile Memory Devices and Products Containing Same, Inv. No. 337-TA-


1046, Comm'n Op. at 39-44 (Oct. 26, 2 0 1 8 ) .


[4]   Id. at 41.


[5] Certain Non-Volatile Memory Devices and Products Containing Same, Inv. No. 337-TA­


104   6 , ID at 142-44 (Apr. 27, 2 0 1 8 ) .


[6]   Id.


[7] Id. at 150-54.


[8  ] Id. at 144-50.


[9] Id.


[   1 0] Certain Non-Volatile Memory Devices and Products Containing Same, Inv. No. 337-TA-


1046,       Comm'n Op. at 71    (O  ct. 26, 20 1 8 ) .


[11]   Id. at 41.


[12]   Id.




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[ 1 3 ] I. at 4 1 - 4 2 (citing Certain Computers and Computer Peripheral Devices, and Components


Thereof and Products Containing Same, Inv. No. 3 3 7 - T A - 8 4 1 , Comm'n Op. at 37 (Jan. 9, 2 0 1 4 )


(rejecting the notion that the "article protected by the patent" "must be a product that came to


market, or is expected to come to market, under the protective umbrella of the asserted patent



that the product commercializes.")


( 1 4 ] Id. at 42-43 (citing 1 3 3 C o n g. Rec. S.   1 7 9 4 (Feb. 4,   1987)).


( 1 5 ] The two-part test for proving a domestic industry in the process               of being established


requires showing ( I ) "the necessary tangible steps to establish an industry in the United States"



and (2) whether there is a "significant likelihood that the industry requirement will be satisfied in



the future ." See Stringed Instruments, lnv. No. 337-TA-586, Comm'n Op. at 1 3 ) .




                                                      Qualcomm's
   Complainant RE43,990 Patent                                                        Qualcomm's Technological
                                               Technological Capability
            Dependent Claims                                                            Capability (Description)
                                                      and Industry

                                                                                   Snapdragon is a suite of system on a

                                                                                   chip (SoC) semiconductor products

                                                                                       designed and marketed by

                                                                                   Qualcomm for mobile devices. The
   1 2 . The communication device of
                                                                                    Snapdragon system on chip (SoC)
          [claim    H ] wherein each
                                                Central Processing Unit            was announced in November 2006.
  communication device includes at
                                                          (CPU)                    The Snapdragon central processing
 least one of an internet connection, a
                                                                                    unit (CPU) uses a single SoC that
  GPS connection, a radio frequency
                                               Industry for Processors             may include multiple CPU cores, a
     (RF) connection, or a central
                                                                                   wireless modem, and other software
           processing unit (cpu}.
                                                                                        and hardware to support a

                                                                                     smartphone's global positioning

                                                                                     system (GPS), camera, gesture

                                                                                          recognition and video


   1 6 . The communication device of

          [claim    1 1 ] wherein the

     communication device can be
                                                                                     NFC chips might also be widely
   adapted or incorporated with cell
                                                                                      used in the Internet of Things.
  phone towers and sate II ites for use
                                                                                   Qualcomm recently announced that
  with satellite communication and/or                      NFC
                                                                                     it will include NXP's near-field
      a cell tower, wi-fi, wi-max,
                                                                                    communication (NFC) solution in
  broadband, GPS, navigation, radio              Wireless Networking
                                                                                   the Snapdragon processor platform
      frequency (R.F) chips, radio               Technology Industry
                                                                                     that powers mobile devices (e.g.
     frequency (RF) sensors, radio
                                                                                      smartphones), wearables (e.g.
   frequency (RF) transceivers, and
                                                                                     smartwatches), and automobiles
  radio   frequencies   for   short and long

  range transmissions interconnected

  to the central    processing   unit (cpu).




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                                                                     Snapdragon is a suite of system on a

                                                                     chip (SoC) semiconductor products

                                                                          designed and marketed by

 2 1 . The communication device of                                   Qualcomm for mobile devices. The

      [claim    1 1 ] wherein the                                     Snapdragon system on chip (SoC)

 communication device includes a         Central Processing Unit     was announced in November 2006.

     power connection that is                    (CPU)               The Snapdragon central processing

    interconnected to the central                                     unit (CPU) uses a single SoC that

  processing unit (cpu) and power       Industry for Processors      may include multiple CPU cores, a

source can be battery, electrical, or                                wireless modem, and other software

                 solar.                                                   and hardware to support a

                                                                       smartphone's global positioning

                                                                       system (GPS), camera, gesture

                                                                            recognition and video



                                              Qualcomm's
 Complainant RE43,990 Patent                                            Qualcomm's Technological
                                        Technological Capability
        Dependent Claims                                                  Capability (Description)
                                             and Industry



                                                                        Every time you call, navigate,

                                                                      download, store something or talk,

 22. The communication device of                                     you've got the power of Qualcomm

       [claim   1 1 ] wherein the                                       technology to thank. Also the

 communication device is designed                                     advancements for your car, home

to be equipped with applications for     Home and Community           and community are made possible

   the locking, disabling a lock,                                     by the mobile hardware, software

 enabling a lock, and unlocking the      Wireless Networking             and standards we pioneered.

    locks of, but not limited to,         Technology Industry         Qualcomm invented many of the

  containers, vehicles, houses and                                      technologies that the world's

businesses, using a smart phone, cell                                 leading networks and devices run

  phone, PDA, laptop or desktop.                                       on connecting new industries,

                                                                       services and experiences that are

                                                                             changing everything.




                                                                     Qualcomm Technologies announced

                                                                      SafeSwitch in September of 2 0 1 4 .

 22. The communication device of                                     SafeSwitch is available to customers

       [claim   1 1 ] wherein the                                    through its Qualcomm Snapdragon

 communication device is designed                                        8 1 0 processors. SafeSwitch

to be equipped with applications for                                    technology - addresses mobile
                                             Disabling Lock
   the locking, disabling a lock,                                      security threat with a kill switch

 enabling a lock, and unlocking the                                  solution is designed to allow device
                                           Locking Industry
    locks of, but not limited to,                                      owners to remotely disable their

  containers, vehicles, houses and                                   devices in the event that they're lost

businesses, using a smart phone, cell                                 or stolen - and then re-enable them

  phone, PDA, laptop or desktop.                                        in the event they're found. This

                                                                      helps to protect sensitive, personal

                                                                        data and to deter device theft.




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 3 0 . The communication device of

      [claim    I I ] wherein the

communication device is designed

     to be used with or without
                                                                        Authenticating the user and the
 biometrics for authentication and
                                                                       device. Beyond secure fingerprint
identification, with at least one of a
                                                                       identification, a Snapdragon 835
   fingerprint recognition, voice
                                                Biometrics             Mobile Platform provides a user
recognition, face recognition, hand
                                                                       with an extra level of safety using
  geometry, retina scan, iris scan,
                                           Biometrics Industry        Camera Security-a camera-based
   heart rate, pulse or signature,
                                                                      biometric solution for iris and facial
   thereby allowing access to the
                                                                        recognition engineered to help
product by authorized, trained, and
                                                                        enhance mobile device security
equipped individuals and preventing

      access to the product by

    unauthorized, untrained, and

      unequipped individuals.

                                              Qualcomm's
  Complainant RE43,990 Patent                                            Qualcomm's Technological
                                         Technological Capability
        Dependent Claims                                                   Capability (Description)
                                              and Industrv


 30. The communication device of

       [claim   I I ] wherein the
                                                                      Mobile transactions are safest when
 communication device is designed
                                                                      they are protected by a combination
     to be used with or without
                                                                       of user and device authentication
 biometrics for authentication and
                                                                        methods. This helps data remain
identification, with at least one of a
                                                                      secure from the moment a user logs
   fingerprint recognition, voice
                                                Biometrics            into their device. A Snapdragon 835
 recognition, face recognition, hand
                                                                         Mobile Platform contains the
  geometry, retina scan, iris scan,
                                           Biometrics Ind us try         Qualcomm Haven™ security
   heart rate, pulse or signature,
                                                                          platform-a combination of
   thereby allowing access to the
                                                                       hardware, software and biometrics
product by auth ori zed , trained, and
                                                                         technologies that help to make
equipped individuals and preventing
                                                                      online banking and payments more
      access to the product by
                                                                                secure than ever.
    unauthorized, untrained, and

      unequipped individuals.


                                                                      Snapdragon is a suite of system on a

                                                                      chip (SoC) semiconductor products

                                                                           designed and marketed by

  39. The lock disabler system of                                     Qualcomm for mobile devices. The

       [claim 33] wherein the                                          Snapdragon system on chip (SoC)

automatic/mechanical lock disabler        Central Processing Unit     was announced in November 2006.

    detection device has a power                  (CPU)               The Snapdragon central processing

connection which is interconnected                                     unit (CPU) uses a single SoC that

 to the central processing unit (cpu}    Industry for Processors       may include multiple CPU cores, a

   and includes a power source of                                     wireless modem, and other software

     battery, electrical or solar.                                         and hardware to support a

                                                                        smartphone's global positioning

                                                                         system (GPS), camera, gesture

                                                                              recognition and video




                                                   83
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  4 1 . The lock disabler system of                                   Snapdragon is a suite of system on a

      [claim 33] wherein the                                          chip (SoC) semiconductor products

automatic/mechanical lock disabler                                        designed and marketed by

 detection device includes at least                                   Qualcomm for mobile devices. The

 one of; a Blue tooth connection, a                                    Snapdragon system on chip (SoC)
                                          Central Processing Unit
Wi-Fi connection, a short and long                                    was announced in November 2006.
                                                  (CPU)
 range radio frequency connection,                                    The Snapdragon CPU uses a single

 an Internet connection, a Cellular                                   SoC that may include multiple CPU
                                         Industry for Processors
connection, a Satellite connection,                                   cores, a wireless modem, and other

 all of which are capable of being                                    software and hardware to support a

     interconnected to a central                                        smartphone's global positioning

    processing unit (cpu) of the                                        system (GPS), camera, gesture

      communication device.                                                  recognition and video


                                               Qualcomm's
 Complainant RE43,990 Patent                                             Qualcomm's Technological
                                         Technological Capability
        Dependent Claims                                                   Capability (Description)
                                              and Industry


                                                                      Snapdragon is a suite of system on a

                                                                      chip (SoC) semiconductor products

                                                                      designed by Qualcomm for mobile
   5 5 . The multi-sensor detection
                                                                      devices. The Snapdragon system on
 system of[claim 33) wherein each
                                          Central Processing Unit        chip (SoC) was announced in
 communication device includes at
                                                  (CPU)                November 2006. The Snapdragon
least one of an internet connection, a
                                                                      central processing unit (CPU) uses a
GPS connection, a radio frequency
                                         Industry for Processors          single SoC that may include
   (RF) connection, or a central
                                                                         multiple CPU cores, a wireless
       processing unit (cpu).
                                                                       modem, and software      hardware to

                                                                          support a smartphone's GPS,

                                                                      camera, gesture recognition,     video




                                                                      Qualcomm supplied LTE modem             in

                                                                           the Apple Watch Series 3.

                                                                       Techlnsights found the Qualcomm

  78. The built-in, embedded multi                                      MDM9635M, a Snapdragon X7

 sensor detection system of [claim                                      LTE modem in the 42mm sport

74) wherein the product includes at                                     band model A 1 8 6 1   with GPS +

  least one of a built-in, embedded                                     cellular. The modem was mated

    internet component, a global                                        with a Samsung K4PIG324 EH
                                           Cellular and Wireless
  positioning (GPS) component, a                                       DRAM in the watch. Techlnsights
                                           Modem: Smartwatches
 navigation component, a tracking                                     said the watch contains a Qualcomm

component, a cellular component, a                                     PMD9645 PMIC and a WTR3925
                                            Electronic Device
satellite component, a short and long                                      RF transceiver. Apple and
                                                 Industry
 range radio frequency component,                                      Qualcomm are embroiled in patent

 radio frequency (RF) sensor, radio                                     infringement disputes including

 frequency (RF) transceiver, Wi-Fi,                                      investigations at the U . S . ITC,

       antenna, Bluetooth, or                                          around baseband modems. Apple

   interface/gateway component.                                         continues to use the Qualcomm

                                                                      parts in watches. Apple discontinue

                                                                       paying Qualcomm royalties while

                                                                               court's in progress.




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                                              Qualcomm's
  Complainant RE43,990 Patent                                           Qualcomm's Technological
                                        Technological Capability
        Dependent Claims                                                  Capability (Description)
                                             and Industry




                                                                        The iPhone X A 1 8 6 5 uses the

                                                                     Qualcomm MDM9655 Snapdragon

                                                                         X I 6 LTE modem. iPhone 8;

                                                                     Qualcomm Modem Model A l 6 6 3 ;

                                                                      plus 8 0 2 . 1 l a c Wi Fi with M I M O ;
 78. The built-in, embedded multi
                                                                     Bluetooth 5 . 0 wireless technology;
 sensor detection system of[claim
                                                                      NFC with reader mode. iPhone 8
74] wherein the product includes at
                                                                       Plus; Qualcomm Modem Model
  least one of a built-in, embedded
                                                                      A I 664; plus 8 0 2 . 1 1 ac Wi Fi with
    internet component, a global
                                                                       MIMO; Bluetooth 5.0 wireless
  positioning (GPS) component, a          Cellular and Wireless
                                                                     technology; NFC with reader mode.
 navigation component, a tracking         Modem: Smartphone
                                                                     iPhone 7; Qualcomm Modem Model
component, a cellular component, a
                                                                      A l 6 6 0 ; plus 8 0 2 . 1 lac Wi Fi with
satellite component, a short and long    Mobile Device Industry
                                                                       M I M O ; Bluetooth 4.2 wireless
 range radio frequency component,
                                                                     technology; NFC with reader mode.
 radio frequency (Rf) sensor, radio
                                                                     iPhone 7 Plus; Qualcomm Modem
 frequency (Rf) transceiver, Wi-Fi,
                                                                     Model A 1 6 6 1 ; plus 802. 1 1 ac Wi Fi
       antenna, Bluetooth, or
                                                                     with M I M O ; Bluetooth 4.2 wireless
   interface/gateway component.
                                                                     technology; NFC with reader mode.

                                                                      The Qualcomm MDM9625M is a

                                                                      modem LTE chipset found in the

                                                                     Apple MG9M2CL/A iPhone 6 Plus

                                                                                  and iPhone 6.




  78. The built-in, embedded multi

 sensor detection system of [claim

74] wherein the product includes at                                   With all the devices connecting to

  least one of a built-in, embedded                                   all the things, we knew we had to

    internet component, a global                                     help ease overload. So we were the

  positioning (GPS) component, a                 Wi-Fi                   first to announce end-to-end

 navigation component, a tracking                                     commercial support for the next-

component, a cellular component, a        Wireless Networking        generation of W i - F i . What does that

satellite component, a short and long     Technology Industry           mean? It translates into faster

 range radio frequency component,                                     delivery and longer battery life for

 radio frequency (RF) sensor, radio                                   Wi-Fi devices-whether you're at

 frequency (Rf) transceiver, Wi-Fi,                                            home or on the go.

       antenna, Bluetooth, or

   interface/gateway component.




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                                               Qualcomm's
 Complainant RE43,990 Patent                                              Qualcomm's Technological
                                          Technological Capability
        Dependent Claims                                                   Capability (Description)
                                               and Industry

 79. The built-in, embedded multi

 sensor detection system of (claim

74] wherein the product includes at

  least one of a built-in, embedded
                                                                        Qualcomm quote: "Some say the
       wireless and/or wired
                                                                       modem is the most important part of
communication connection capable
                                                                     your smartphone. We couldn't agree
of sending signals and messages to a              Modems
                                                                         more. With our wireless modem
   product; receiving signals and
                                                                       inside your smartphone, you've got
     messages from a product;               Wireless Networking
                                                                        years of engineering keeping you
 interconnected to at least one of a        Technology Industry
                                                                       connected to your great big world.
cell phone, a smart phone, a PDA, a
                                                                       And isn't that why you bought that
  handheld, a laptop, a desktop, a
                                                                            device in the first place?"
  workstation, monitoring site or

 another product comprises a built-

in, embedded wireless and/or wired

    communication connection.

 79. The built-in, embedded multi

 sensor detection system of [claim

74] wherein the product includes at
                                                                               Everyone promises
  least one of a built-in, embedded
                                                                       smarter/better/faster, but with LTE,
        wireless and/or wired
                                                                       we actually delivered. We invented
communication connection capable
                                                                            the wireless standards and
of sending signals and messages to a                LTE
                                                                          fundamental technologies that
   product; receiving signals and
                                                                       mobile operators rely on to meet the
     messages from a product;               Wireless Networking
                                                                        explosive demand in mobile data
 interconnected to at least one of a        Technology Industry
                                                                         traffic. And that means you can
cell phone, a smart phone, a PDA, a
                                                                        catch up on the latest sports clips
  handheld, a laptop, a desktop, a
                                                                        without waiting for the network to
  workstation, monitoring site or
                                                                                    keep pace.
 another product comprises a built-

in, embedded wireless and/or wired

    communication connection.

                                                                       Snapdragon is a suite of system on a

                                                                       chip (SoC) semiconductor products

                                                                            designed and marketed by
  I 04. The multi-sensor detection
                                                                       Qualcomm for mobile devices. The
system of(claim    1 0 3 ] wherein each
                                                                        Snapdragon system on chip (SoC)
cell phone detector case includes an
                                           Central Processing Unit     was announced in November 2006.
     internet connection, a GPS
                                                   (CPU)               The Snapdragon central processing
 connection, a radio frequency (RF)
                                                                        unit (CPU) uses a single SoC that
 connection, a recharging cradle or
                                           Industry for Processors      may include multiple CPU cores, a
 seat, a front side, a top, a bottom, a
                                                                       wireless modem, and other software
 pair of opposed sides and a central
                                                                            and hardware to support a
        processing unit (cpu).
                                                                         smartphone's global positioning

                                                                          system (GPS), camera, gesture

                                                                              recognition and video




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                                                                               Qualcomm's
  Complainant RE43,990 Patent                                                                               Qualcomm's Technological
                                                                      Technological Capability
              Dependent Claims                                                                                   Capability (Description)
                                                                              and Ind us try


  I 08.      The      multi-sensor detection


                                                                                                         Snapdragon             is   a suite        of system         on    a
 system       of [claim           103]     wherein          the


                                                                                                         chip    (SoC)         semiconductor                products
cell   phone,         the    smart     phone,         and    the


                                                                                                                 designed            and    marketed            by
   cell      phone       detector case           can        be


                                                                                                         Qualcomm              for    mobile         devices.         The
 adapted           or   incorporated            with       cell


                                                                                                          Snapdragon             system             on   chip    (SoC)
 phone        towers        and     satellites        for   use


                                                                       Central    Processing     Unit    was     announced             in   November             2006.
        with     at     least   one    of satellite



communication, a cell tower,                            wi-fi,                    (CPU)                  The     Snapdragon             central           processing



                                                                                                          unit     (CPU)        uses    a single           SoC       that
           wi-max,        broadband,            GPS,



  navigation,            radio      frequency          (RF)           Ind us try for Processors          may       include       multiple            CPU     cores,        a



chips,       radio      frequency         (RF)        sensors,                                           wireless        modem,         and         other software



 radio       frequency (RF)               transceivers,                                                          and      hardware             to   support      a



and        radio   frequencies            for    short      and                                            smartphone's               global         positioning



           long    range        transmissions                                                              system          (GPS) ,      camera,            gesture



           interconnected            to   a central                                                                 recognition                and       video



             processing           unit (cpu).




                                                                                                         Snapdragon             is   a suite        of system         on    a



                                                                                                         chip    (SoC)         semiconductor                products



                                                                                                                 designed            and    marketed            by

   1 1 3 .   The      multi-sensor             detection
                                                                                                         Qualcomm              for    mobil e        devices.         The

 system        of [claim          103]     wherein          the
                                                                                                          Snapdragon             system             on   chip    (SoC)

cell    phone,        the    smart     phone,         and    the
                                                                       Central    Processing     Unit    was     announced             in   November              2006.

 cell      phone      detector        case      includes          a
                                                                                  (CPU)                  The     Snapdragon             central           processing

            power       connection             that   is
                                                                                                          unit     (CPU)         uses      a   s in gle    SoC       that

           interconnected            to   a central
                                                                       Industry for Processors           may       in   cl ude m u l t i p l e CPU cores, a
processing            unit   (cp    u), and wherein a
                                                                                                         wireless        modem         , and other software
       power       source        can      be   ba ttery,
                                                                                                                 and      hardware             to   support a

                 electrical      , or solar.
                                                                                                           smartphone's global                       positioning



                                                                                                           system          (   GPS), camera, gesture

                                                                                                                    recognition                and       video




                                                                                                             Samsung             Gear S2             3G    Watch

                                                                                                            (Q     u alcomm            Sna     pdragon 400

                                                                                                         Processor); Samsung Gear S Watch
                                                                       Qualcomm         Snapdragon

   1 2 6 . The multi-sensor detection                                                                       (Qualcomm                  Snapdragon                400
                                                                       P   rocessor:   Sm   artwatches
syste      m of [claim           1 2 5 ] wherein each                                                          P rocessor); LG Watch                        Spo      rt

 communication device                          incl   udes at                                            (Qualcomm Snapdragon Wear 2 I 00
                                                                       Industry for Processors
least      one   of an       inte rnet connection, a                                                           Processor)            ; LG Watch             Style



 GPS connection, a radio frequency                                                                       (Qualcomm              Sna    pdragon Wear 2 1 0 0
                                                                            Electronic Device
       (RF) connection, or a central                                                                             Processor); LG G Watch R
                                                                                 Industry
              processing unit (cpu).                                                                         (Qualcomm                 Snapdragon                400

                                                                                                            Processor); LG Watch                            Urban



                                                                                                             (   Q ualcomm             Snapdragon                400

                                                                                                                                P    rocessor).




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                                                   Qualcomm's
 Complainant RE43,990 Patent                                                 Qualcomm's Technological
                                             Technological Capability
        Dependent Claims                                                      Capability (Description)
                                                   and Ind us try

                                                                           Samsung Galaxy S8 (Qualcomm

                                                                             Snapdragon 835 Processor);

                                                                               Samsung Galaxy Note 8

                                                                             (Qualcomm Snapdragon 835

                                                                            Processor); Samsung Galaxy S7

                                                                             (Qualcomm Snapdragon 820
  1 2 6 . The multi-sensor detection          Qualcomm Snapdragon
                                                                            Processor); Samsung Galaxy S5
system of [claim    1 2 5 ] wherein each       Processor: Smartphone
                                                                             (Qualcomm Snapdragon 801
 communication device includes at
                                                                           Processor); Samsung Galaxy S4
least one of an internet connection, a        Industry for Processors
                                                                             (Qualcomm Snapdragon 600
GPS connection, a radio frequency
                                                                           Processor); LG V30 (Qualcomm
   (RF) connection, or a central              Mobile Device Industry
                                                                          Snapdragon 835 Processor); LG GS
       processing unit (cpu).
                                                                             (Qualcomm Snapdragon 820

                                                                            Processor); LG G4 (Qualcomm

                                                                          Snapdragon 808 Processor); LG G3

                                                                             (Qualcomm Snapdragon 80 I

                                                                           Processor); LG Pro 2 (Qualcomm

                                                                              Snapdragon 800 Processor).

                                                                          Snapdragon is a suite of system on a

                                                                          chip (SoC) semiconductor products
  1 3 2 . The multi-sensor detection
                                                                              designed and marketed by
 system of [claim    1 2 5 ] wherein the
                                                                          Qualcomm for mobile devices. The
internal or external remote/electrical
                                                                           Snapdragon system on chip (SoC)
 lock disabler includes at least one
                                              Central Processing Unit     was announced in November 2006.
of: a Blue tooth connection, a Wi-Fi
                                                      (CPU)               The Snapdragon central processing
 connection, a short and long range
                                                                           unit (CPU) uses a single SoC that
   radio frequency connection, an
                                              Industry for Processors     may include multiple CPU cores, a
   Internet connection, a Cellular
                                                                          wireless modem, and other software
 connection, a Satellite connection,
                                                                               and hardware to support a
 all of which are interconnected to
                                                                            smartphone's global positioning
  the ce ntr al processing unit (cpu).
                                                                            system (GPS), camera, gesture

                                                                                 recognition and video

  I 34. The multi-sensor detection

  system of [claim    125] wherein a

communication device, that of a cell                                      Every time you navigate you've got

  phone, smart phone or handheld;                                         the power of Qualcomm technology

   capable of sending signals to a                                          to thank. All the advancements

   vehicle's operating equipment                Vehicle's Operating          coming to your car, home and

 systems of at least one of, but not                  Systems             community are made possible by the

 limited to, an ignition for starting                                       mobile hardware, software and

 and stopping, a lock for unlocking            Automobile Industry        standards we pioneered. Qualcomm

 and locking, a horn for sounding;                                         invented many of the technologies

   capable of receiving data and                                           that the world's leading networks

    diagnostic information of the                                                 and devices run on.

   vehicle's operating equipment

               svstems.




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        ONE EXAMPLE OF THE ECONOMIC STIMULUS


 STRATEGY IS RESTORING THE ECONOMY: APPLE -­


                              STATISTICS & FACTS




        Technical innovation paired with minimalistic designs and creative advertisements, as


well as the leadership of the former CEO Steve Jobs, have made Apple one of the most valuable


brands in the world. The company's success translates into strong brand loyalty, as well as into


an unparalleled revenue growth, from 8 billion U . S . dollars in 2004 to more than 265 billion in


2018.




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       The company was first founded by Steve Jobs, Steve Wozniak and Ronald Wayne in


1976 in the garage of Jobs' parents. Their first product, known as the Apple I, consisted of an


assembled circuit board without many of the present-day features of a computer, such as display,


keyboard or mouse. The company started to slowly grow with the development of Apple II,


Apple III, Apple Lisa and the first Macintosh, launched in 1984.


       After a rather uneventful period, the company resurfaced in the late 1990s with a number


of strategic and technological changes: in 1997, Apple introduced the Apple Online Store,


followed by the iMac and the video editing program Final Cut Pro in 1998. The iPod was


launched in 2001, which marked the company's first venture away from computers and into


other segments of consumer electronics. With several hundred million units sold, the iPod was a


tremendous success. Its popularity however started to decline in 2008, as advanced music


functions of smartphones began to substitute MP3 players. Apple's digital media store, the


iTunes Store, was launched in 2003 and became one of the most popular online music stores in


the world, generating several billion U.S. dollars in revenue per quarter.


        In 2007, the release of the iPhone marked a revolution for the global smartphone market,


due to the introduction of the first touch screen interface. In the United States especially, the


iPhone has been a key product for the company, generating millions of unit sales and high levels


ofrevenue. The iPhone is currently contributing about 60 percent to the company's total revenue.


In total, Apple has sold close to 1.5 billion iPhones from 2007 to 2018 worldwide.


        In January 2010, the iPad was unveiled, marking yet another milestone in the industry.


The device went on to sell more than 3 million units in the first 3 months, thus setting a new


benchmark in the industry. With the launch of its Apple Watch in early 2015, Apple entered the


growing wearables market, competing with companies such as Samsung, Pebble and Fitbit.


        As of June 2018, Apple's market capitalization reached 950 billion U.S. dollars, higher


than that of competitors such as Microsoft, IBM and Google, and almost ten times more than its


own capitalization in 2006. The company's market cap topped the one trillion U.S. dollars mark


on 2. August, 2018, becoming the first public company worldwide to reach that milestone. After


hitting a record high of 1. 1 2 trillion in October 2018, Apple's market cap slowly dropped back to


the sub-trillion level.


        Apple updated its U.S. job creation web page with figures from 2016. Though Apple


refreshes the site every year, this latest update coincides with CEO Tim Cook's




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announcement during a CNBC interview that the company has formed a $1 billion fund to


promote advanced manufacturing jobs in the U.S.


          Though the fund may help the company gain favor with the current presidential


administration, Apple has already been investing in U.S. hardware manufacturing for years (for


example, its 2013 Mac Pros were built in Texas with U.S.-made components).


          In total, Apple says it has created a total of two million jobs in the U.S. so far. In 2015


Apple spent more than $50 billion with 9,000 U.S. suppliers and manufacturers and added about


90,000 supplier and manufacturer jobs, increasing the total number to 450,000 jobs from 361,000


in 2015.


          The number of people directly employed by Apple, including at its retail stores, grew


from 76,000    to 80,000 in 2 01 6 .


          On the   software side, Apple claims that 1 ,53 0 , 000 U.S. jobs can be attributed to the App


Store   ecosystem, up from     1 , 4 00 , 000 in 2 0 1 5 . Since   the App Store was launched in 2008, U.S.


developers have      earned $ 1 6 billion from sales, with 39 percent of that amount generated from


abroad.


          Apple also said that   all of its main products (the iPhone, iPad, Mac, Apple Watch, and


Apple   TV) contain materials from the U.S. or are made with equipment from U.S. suppliers). It


has reportedly asked its main manufacturing partners, including Foxconn, to open more factories


in the U.S.


          During   the CNBC interview, Cook told Jim Cramer that the company will hire


"thousands    of employees" and is "not satisfied with just two million."


          "By doing   that, we can be the ripple in the pond," Cook said. "Because ifwe can create


many manufacturing jobs around-those manufacturing jobs create more jobs around them,


because you have      a service industry that builds up around them."




          Reference: This text provides general information. Statista assumes no liability for the


information given being complete or correct. Due to varying update cycles, statistics can display


more up-to-date data than referenced in the text. Image Credits: bennymarty (opens in a new


window)/ Getty Images




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                    How Do Apple, Samsung, and LG Stack Up?



                     Leading               Smartphone             Manufacturers:


                        Device            Numbers and              Market Share




                             Number of Smartphones in      U.S.   Market, January 2018




                                                                                    83.9M




                                                                       61.5M
                   �




                   @9 L G          I 19.sM




                                            Market Share [%], January 2018




                    12%

                    Other Brands




                    10%

                    LG
                                                                                          45%

                                                                                         Apple


                    33%

                    Samsung




                                                                                                 «
                                                                                                 ver to
 Source   Vento watch (US   «tut 18+), arr 2018                                                  0oft




            Verto Analytics looked at the numbers of Apple, Samsung, and LG smartphones


currently owned by U.S. consumers, and th e equivalent market share. January 2 0 1 8 , Apple leads


the pack, with 45% market share (representing nearly 84 million smartphones), while Samsung


claims 33% of the market ( 6 1 . 5 million smartphones). These two manufacturers dominate the


U . S . sm art p ho n e market; LG, the third-place contender, has 10% market share, while all other


brands combined account for 1 2 % of the devices on the U . S . smartphone market.




This Chart o
           f the Week was created using Verto Watch.




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